Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 1 of 192




                    EXHIBIT 11
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 2 of 192




                                                                          SUBPOENA.
                                                    A FINE AND IMPRISONMENT MAY .BE IMPOSED
                                                         FOR FAILURE TO OBEY THIS NOTICE.
                                                      Office of the Orleans Parish Distric t Attorn ey
                                                                                                     S
                                                     CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEAN


      To:                                                           RETURN OF PERSONAL SERVICE
                                                                    THIS IS TO CERTIFY that on

                                                                    I received the process or Coun or which this Is a dupllcate.
      You Arc Hereby Nori~cJ pursuanr rn
      LSA-CCRP m. 66 ru appear before rho                                                                                 Rtc/pient of SttViet
      Oimi.:1 Anomcy for the l',ri.sh of Orleans, t<>
      n:scify IU the <ruth •=ruin& 1(1 your knowl.Jsc               TH IS IS TO CERTIFY Ihat on
      in such m:a~ccrs as f1!1Y be rcquin:d of you.
                                                                                                                    the hands of
      on    --.. c--- '--- ---- --                                  I made du• ~nal Servtce thmof by teavlns ume In
                                                                    the afo"'slgnod R•ciplont
      at ___ ___ ___ ___ __

                                                                    (pl,as• writ• Rocipl•nr's nornt),
      to Assistant Oist~cl Attorney:                                the perion to whom the proc•n Is din,cted.
                           ,,   ..
                                                                                                                            Sr,wr of Proc,ss
                 '.,
      phone# : _ _   _ _ _ _ _ _ _ __
                                                                    RETUR N OF DOMICILIARY SERVICE
       at 619 South White Street
                                                                    THIS IS 1'0 Cf.RTIFV that on


r      In the case of:

       State of LA vs. -✓-~ : ,         / ... . , ..
                                                                     I renlved the procHs of Court of which thl> Is • duplicate.

                                                                                                                          /lrcipirnf of Strv/cr
       Item# _ _ _ _ _ _ _ _ _ _ __

       Case# _ _ __...,_ _...;..._ _ __ _
                                                                     THlli IS TO CERTIFY that on

                                                                                                                                hands of
       Charge(s): _ ;.....-"'•a.....-   ·-i..· __.._._1·'-;....._    I made due Ptrional Service then,or by leaving same In the
                                                                     the afoieslsned Recipient


t      Instructions:
                                                                     (please write Recipient's name),
                                                                     a person of suitable age and d'scretlon, residing at the
                                                                                                                              domkJle al the
                                                                     person to whom tht said process of Court was Issued,     who was absent
        ContJct th~ ~bove named As'.".>1StJnt Cr~h,ct                                                                      pu,on  In whose•
        Attamey upon receipt of lhi<; s~bpoe11.1.                    at the tim,, which fact I teamed by lnterros1Ung the
                                                                     hands th• >aid procts> was left.
         Brtng this subpoC'r.J with you to the Ol~lnct
       , Attorney's Olfice when you op pear to lest,fy.                                                                      Server af Proctss




r


                                                                                                  CERTIFIED DA OFFICE COPY




                                                                                              1                                                   OPDA00322
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 3 of 192




                                                                SUBPOENA
                                                A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                      FOR FAILURE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To:                                                   RETURN 01' PERSONAL S£RV1CE
                                                        THIS JS TO CERTIFY that on


                                                        I received the process of Court of which this Is a duplicate.
 You Are Hereby Norified puC5uanc co
 LSA-CCRP art, 66 10 appear before the
 District A<1omey for the Parish of Orleans, 10                                                               Reclpl,nt of S•rvice
 rcsrify 10 the er.0th acamling co your knowlcdg,:
 in such mancr, as: may be required of you.             THIS IS TO CERTIFY that on
       '
 on----"
                             ,
       · ~---- · - ' - - - - - - -                      I made due Personal Service thereof by leaving same In the hands of
       ;., ~ ~
 at_~------------
                                                        the aforeslgned Recipient


                                                        (p/ean write Reclpienfs r,am!),
 to Assistant District Attorney:
                                                        the person lo whom the process Is directed.
   /i" . ,•          ,. ··' .., ,....
                                                                                                                s,rv.ro(l'roufi
 phom~ #: ·1-. ---~~r_,_,__.~·:_•~---~·~•- -
 at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                        TI-IIS IS TO CERTIFY that on
 In the case o~
                    ,·''i                               I received the proceu of Court of which this Is a duplicate.
 State orLAv!.          ,•,,vt'c·, ;e   •. ,~ '~f i

 Jtem #        C- ··~ ;'7.~; •-:"                                                                            RtelplenC of Strvf<t

 Case#_-~-~ - ---'"_·_,_ _ _ _ __                      THIS ISTO CERTIFY Illa! on

 Charge(s): ~·--·~--,_,....,.__=_-'_,·____             I mad• duo Personal Service thetoof by loavlng ,am• In the hands of
        , _.                                           the aforoslgned Roclplent


 Instructions:                                         (please wriCt Recipient's name),
                                                       a P"rson of suitable age and disc,.tion, residing at the domicile of lhe
 Contact the abov~ named Assistant District            person to whom the said process of Court was Issued, who was absent
 Attorney upon receipt of this subpoena.               at the time, which fact I loamed by lnterrogallng tho !)tr.ion In whose
                                                       hands lhe sa•d pro<ISS was It~.
 Brin!! this subpoena wilh you to the 0istrict
 Attorney's Office ~·.•hen you appc-ar to tesMy
                                                                                                               .Serwr of Proctss




                                                                                      CERTIFIED DA OFFICE COPY




                                                                                     2                                               OPDA00202
           Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 4 of 192


                                                           SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To:1 Gerald Smith
                                                    RETURN OF PERSONAL SERVICE
     New Orleans, LA                                THIS IS TO CERTIFY that on


                                                    I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.          THIS IS TO CERTIFY that on

on October 27, 2013
                                                   I made due Personal Service thereof by leaving sam~ in the hands of
at _8:30
     __  AM
          _ _ _ _ _ _ _ _ _ __                     the aforesigned Recipient


                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
 Sarah Dawkins

           (504)571-286
p hone # : _ _ _ _ _2_ _ _ _ __                                                                             SeNer of Process

at 619 South White Street                          RETURN OF DOMICILIAR Y SERVICE
                                                   THIS IS TO CERTIFY that on
                                                    '
In the case of:      ,·
                                                   I received the process of Court of which this is a duplicate.
         .LA vs. Christopher Jorden
Sta e of         _____         _ _ __
          J-07185-12
Itern #                                                                                                   Recipient of Service
          514-255                                  THIS IS TO CERTIFY that on
Case #
            14:(27)30.1
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



Instructions:                                      (please write Recipient's name),
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                             3                                            OPDA00219
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 5 of 192




         @;~ r'~
                                                             SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE tMPOSED
                                                                                    -
         { , _ (~..., \.'"! I l_,\(.-\1
         ~   . t'~::        1
                                ~:~-•-i            FOR FAILURE TO OBEY THIS NOTICE.
         I., •       ';-~'. (, \. ',
              ~ ••     ..   • v_,,.",
                                          Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Mr. Roy Brumfield                                RETURN OF PERSONAL SERVICE

     Harvey, Louisiana                                THIS IS TO CERTIFY that on


                                                      I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on

on 5/14/14
                                                     J made due Personal Service thereof by leaving same in the hands of
at _9am
     _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient    ·


                                                     (please write Recipient's name).
to Assistant District Attorney:
                                                     the person to whom the process is directed.
 Louis Russo

          504-606-6598
p hone #: _ _ _ _ _ _ _ _ _ _ __                                                                              Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA vs. Myles Dolliole

Item# D-15138-14                                                                                            Recipient of Service

Case # M544-702                                      THIS IS TO CERTIFY that on

          Aggravated Battery by
Ch a~es:
      ( ) _ _ _ _ _ _ _ _ _ __                       J made due Personal Service thereof by leaving same in the hands of
Shooting                                             the aforesigned Recipient



Instructions:                                        (please write Recipient's name),
                                                    •a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the sai'd process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                              4                                               OPDA00316
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 6 of 192




                                                                       SUBPOENA
                                                     A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR FAILURE TO OBEY THIS NOTICE.
                                                      Office of the Orleans Parish Disuict Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                                RETURN OF PERSONAL SERVICE
                                                                THIS IS TO CERTIFY lial on


                                                                I received th• protess of Court o f whkh this Is a duplkate.
    You Ne Hereby Notified pursuant to
    LSA-CCRP arr. 66 co appear bcrorc the
    Oimicr A,romcy for rhc Parish or Orleans, ,o                                                                      R,clp,ent of S,M,.
    ,estify to me UUUI ao:onling to your knowledge
    in such mau<n u may be rcquical of you.                     THIS IS TO CERTIFY that on

    on   l½\usda~. \Aru~ \:2,:7.0                               I made due ~rscnal Se,vke lhtreol by leaving same in the hands of
                                                                the afortslsncd Recipient
    at   -3:3o ~t..,\
                                                             {piton wt'itt Rtclpitn('5 n~mt),
    to Assistant District Attorney:
                                                             the person to whom the process Is dirtcted.


                                                                                                                       Sttvtr of Process

                                                             RITURN Of DOMIC ILIARY SERVICE
                                                            THIS IS TO CERTIFY that on
   In the case of:                                                               ,..., M~w,+                    31 i;--an
                                                            I   received lhe process or Courtor whith this Is a duplicate.
   State of LA vs. 'l-,\ c)u          'I ~ O . ~
   Item#    6-QSb(,,0-13                                                                        -j}.t ~                      nto/Strvic,

   Case#    SlJ,l.\ l..'.2..K..                             THIS IS TO CERTIFY 1h11 on

   Charge(s}:   ~~V~VQJf'g                                  I made du, Personal ~ce thereof by leavins same In the hands or
                                                            the aforesigned Recipient
     ~odt~
   Instructions:                                            {pita•• write Rtclpient's name),
                                                            a person or s uitable ase and dlscrttlon, residing al the domicile or the
   (o"ltac:t tre obovc -:ar.ed Ass slant D·s[oct            person to whom the said process ol Court was Issued, who was absent
   Aflor~<'Y U;J:Jn rrce ;Jt cf Hus ir.ubpornJ              at the time, which fact I learned by lnterrosatlns the pffSOn in whose
                                                            hands lhe said process was left.
   Bring 1his subpo1::na w1tl1 yot. to the District
   Attomey·s rnficr- 1·;hl'n   y011   ,1ppeJ r to t"stdy.
                                                                                                                     SttVfr of Proc,.ss




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                                                                                       5                                                   OPDA00243
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 7 of 192




                        .-----·-- --.
                                                                                                 SUBPOENA
          './(·1-- 4""·'.
           '-·.
             }~~
                                                   '
                                                                                A RNE AND IMPRISONMENT MAY BE IMPOSED
                                                                                    FOR FAIWRE TO OBEY THIS NOTICE.
                                                                                 Office of the Odcan& Parish District Attomey

               ----
   To: Michael Miller, w/m, DOB:
                                                                                CRIMINAL DISTRICf COURT FOR lllE PARISH OF ORWHS


                                                                               191       RrnJRN OP PERSONAL SER.VICE
                         t
       New Ofleans, LA                                                                  nus IS TO CEllTIPY that on

  You Are Hereby Notified purwant to                                                    I recelvtd the process of Court of which this Is a dupllcate,
  I.SA-CCRP art. 66 to appear bdore the
  Distti<c Anom;y for the Parish ofOdems. to
                                                                                                                                              Rttiplento/S.rvla,
  ttslify 10 the aud, aaxwing to your knowlcdgt:
  In such 1112,ms as may be tequitedofyou.                                              THIS IS TO Cl!llTIPV that on
  on 5121/14
                                                                                        I made due Personal Sffila lhmof by lttm11 same In 11M hands of
 at 9am                                                                                 the aforulped Recipient'


                                                                                        (pleas• ...,,. Rcdpicrrl's n,,m~.
 to Assistant o:strrct Attorney:
                                                                                       1M pel$0n to whom ~ prnws Is directed.
  Louis Russo

 phone #: 504-606-6598                                                                                                                         Sl,,wraf P,oa,ss

 at 619 South White Street                                                             RETURN OF DOMJCIUARY SBRVICE
                                                                                       THIS IS TO C£1lT!l'Y that on
 In the case of:
                                                                                                 . 5, I 1- 14
                                                                                                         -&c
                                                                                       I iecolved ~ process or Court of which this Is a duplicato.
State of LA vs.-Blake Aulhemellt
Item I D-27579-14                                                                        ..~ur4 W
case I            M544739                                                             THIS rs TO CJ!RTIFY that on

Olarge(s): 14:37.4; 14:37.2                                                                        S;fi-1' /
                                                                                      I made due Ptrsonal Servlc. tlle.-or by INV!ng same in lhe hands of
                                                                                      the .ro~snec1 11«1p1ent

Instructions:                                                                         ;;!.~ t:Z! ~
Co 1t nt 11h ,1bJ 1,1 r 1111 d A•,c, -,[.iP I D1.,·r 11                               a person of sultable age and dlsctttlon, NSldlng al the domicile of the
/1•:1,            'U,lOll •1.~( 1,•        o'" ',
                                                                                      p,!tSOn to wham the Slld pn,CIISS of Court was Issued, who was absent
           ~1                                            •i   !   ' t (•   1
                                                                                      at the Ume, which l'act I ltamtd by lnterroptln1 the person In whose
                                                                                      hinds the salcl process was left.
G o1     '--' ,   1., JU .... ;..H t 1,1   1·1   'lJ'I    ro ti,. l~I'>        r1(!
i\ttorr'lt I " 0           H( ..       "'l \ 011 tiDL)1 ,1,         :o ...... tv
                                                                                                 f 111JilJ '#A!f5                            Ser,ero/Pro cas




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                                                                                                                            6                                      OPDA00181
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 8 of 192




                                                          SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                FOR FAILURE TO OBEY THIS NOTICE.

                                           Office of the Orleans Parish District Atto rney
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: COD Y COX                       -1t{           RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on

                                                                                                             ate.
                                                   I received the process of Court of which this is a duplic
You Arc Hereb y Notif ied pursu ant to
LSA- CCRP art. 66 to appea r before the                                                                   Recipient of Service
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
                                                   THIS IS TO CERTIFY that on
in such matters as may be required of you.

on JUNE 12, 2014                                   I made due Personal Service thereof by leaving same
                                                                                                       in the hands of
                                                   the aforesigned Recipient
at _GRA
     __ NDJU _ _ _ _ _ _ _ __
         _ _RY

                                                    (please write Recipient's name), ·
to Assista'n t District Attorney:                  the person to whom the process is directed.
MAR Y C. GLAS S
                                                                                                             Server of Process
        504-234-82
              __   10_ _ _ _ _ __
pone
 h   #: ___
                                                    RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on

In the case of:

State of LA vs. AARO N JOHNSON
                                                                                                          Recipient of Service
Item # D-10383-14

         5448 78                                    THIS IS TO CERTIFY fhat on
Case #                                                          '-7-t(-/Lj
             14:64 .3 _ _ _ _ _ _ __                                                                     in the hands of
Charge (s) : _
               __                                   I made due Personal Service thereof by leavJ· n same
                                                    the aforesigned Recipient

                                                              ftT, ICoJ          JfP,J ~lhr/R
                                                    (please write Recipient's name),
Instru ctions :                                                                                                      of the
                                                    a person   suitable age and discretion, residing at the domicile        t
                                                                                          Cou was  issued  , who was absen
 Contact the above named Assistant District         person to w om the said    process of
                                                                                                                 in whose
                                                                  ich fact I learned by inter ating  the  person
 Attorney upon receipt of this subpoena.            at the tim
                                                    hands the id rocess af
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                 \                      -Jl ·17        P11
                                                                                                             Server of Process




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 9 of 192




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 10 of 192




                                                                     SUBPOENA
                                                  A FINE AND IMPRISONMENT MAY BE IMPOS  ED
                                                       FOR FAILURE TO OBEY THIS NOTICE.

                                                   Office of the Orleans Parish District Attorney
                                                                                                  S
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH OF ORlEAN


                                                               RETURN Of PERSONAL SERVICE
                                                               THIS IS TO CERTIFY that on

                                                                                                                         t.
                                                               I ~ceiwd the process of Court of which this is a dupllcal
    You A« Hereby Notified pursuant 10
    LSA-CCRJ" art. 66 m appear bcfon: chc                                                                            Rtdp~n t of ~rdct
    Oinric1 Attorney for chc l'arish of Orleans, IO
    n,117 10 1hc 1rud1 acrordin~ 10 your lcnowkdgc:            THIS IS TO CERTIFY that on
    in such m•«crs a, may be required of you.



    :wai~
     to Assistant Olstrict Attorney:
                                                               I made due P<tsonal S.rvk• thertof by leaving
                                                               lhe afo~slgned Recipient


                                                               (pltost wrill! ll•dpifn l's ..._,,,_
                                                                                                             sam• In the hands of




                                                                                         e process is dlttcted.

     \,.1 ?eivo\l'v.Vl                                                                                                  Strw,r of Proctss


                                                               RETURN OF DOMICILIARY SERVICE
     at 6l9 South Wh!t• Street
                                                               THIS IS TO CERTIF Y tllat on

     In the case of:
                                                                                                                 1 duplicate.
                                                                I received th• plO<ess ol Court of which this I•
     State of lA vs.       D<lt'\k \W                                                                                  R•dplon t of Strv/ce
     Item#      (-Z,Y,JS9. - j'1
                                                                THIS IS TO CERTIFY that on
     Case#_ _ _ _ _ _ _ _ _ __

     Charge(s):        \   v/, 1° · \                           I made due Personal Strvlce thereof by toavln1 same
                                                                the afotesl1ned Rttlpl~nt
                                                                                                                       In the hands of



                                                                (pitas• writ• lloclp/,n /'s name),
      Instructions:                                                                                                at th• domlc:11e of the
                                                                a person of suitable age and discretion, residingissued, who was absent
      Ccr.lJC l t h r- ~bOJC named Asst>l Jnt O c;tuct          ptrson to whom the said process or Court was th~ person Jn who«
      Attorney upon rc(c1p t of th,., subpaenJ.                 at lho lime, which flct I learn,d by lnlerro11ting
                                                                hands lhe said process was left.
       Bung this s ubpa c11a ,·.1th yo 11 to lht_• 01 >t11ct
       Ar.o·ney·, Off,ce 1·1hcn yo. appear to test,'y                                                                    ~rwr ofProcnr




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          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 11 of 192

                                                                                .SUBPOENA
                                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                            .          FOR FAILURE TO OBEY THIS NOTICE.

                                                            Office of the Orleans Parish District Attorney
                                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To:     lv\v-.   'POV\ tC.,\t\D\S                                       RETURN OF PERSONAL SEllVICE
                                                                         THIS IS TO CERTIFY that on



You Are Hereby Notified pursuant co
LSA-CCRP arr. 66 to appear befoce the ·
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                                                                                                                         ;
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                                                                                                            of which th;s ;, a d,plicate.


District Acrorney for the Parish of Orleans, to                                                                                ·      Recipient of Service
testify to the rruth according ro your knowledge
in such matters as may be required of you.                               THIS IS TO CERTIFY that on
                                                                                                  .::Tc., .I.) EC 'J- 7. ol o l t.{
on _      'M.on<AfAJ, J\Aru. oO                                                                                      '
                                                                         I made due Personal Service thereof by leaving same in the hands of
                                                                         the aforesigned Recipient
br           t; ·. oo      P rv\
                                                                                                De t-J         E CJ-f DL ~
I                                                                        (please write Recipient's name),
to Assistant District Attorney:
                                                                         the person to whom the proc~ecte~. / /)
     \v<'.,V\,l>\ 'Z °'1) \W6VR
                                                                                                        ~tf?d..J2lc                      Server of Process

at 619 South White Street                                                RETURN OF DOMICILIARY SERVICE
                                                                         THIS IS TO CERTIFY that on
In the case of:
                                                                         I received the process of Court of which this is a duplicate.
State of LA vs.      Mt<:.;\r\a.e. \ ~'"\"0.111\Vl')
Item #       J., 'Q~ 2-~i..-1'3                                                                                                    Recipient of Service

                                                                        THIS IS TO CERTIFY that on
Case#       &\'n- bSD

Charge(s):   Se. umc\ :=el          e.3:r:eu                            I made due Personal Service thereof by leaving same in the hands of
                                                                        the aforesigned Recipient
    'oa\t~
Instructions:                                                           (please write Recipient's name),
                                                                       • a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District                               person to whom the said process of Court was issued, who was absent
~ttorney upon receipt of this subpoena.                                  at the time, which fact I learned by interrogating the person in whose
                                                                         hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                                       Server of Process




                  o Witnc~ses                                                                   (Q.,1-,tinnchin·
                           •   _1,.T-   I   , T..... ~ M   tr C°- -•




                                                                                    10                                                     OPDA00232
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 12 of 192




                                                          SUBPOEN A
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 0
     =   DoV'\   ~ c¼o \s                          RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on


                                                   I received the process of Court of which this is a duplicate.
You Aie Hereby Notified pursuant to
LSA~CCRP art. 66 to appear before the
Dis trice Attorney for che Parish of Orleans, co                                                          Recipient of Service
testify to the cruch according co your knowledge
in such matters.as may be required of you.         THIS IS TO CERTIFY that on


on       Ju\~ 3 } 2-0\v\                           I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at       \ \ ·-oO AtJ\

                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.


                                                                                                            Server of Process

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:                                                 Tu ~   L       11 20 t Y-:
                                                   I received the process of Court of which this is a duplicate.
                   (v\\ W\Oi,e,.\    $-ttith,
                                                                            ~
 tate of LA vs.
                                                      ~l~~-1,
                                                                                                          Recipient of Service
Item#      J---3C\1J\1,-\:>                                                           .,-;--
Case#      5 \<-t-lofu ·· ~..                      THIS IS TO CERTIFY that on         .:J 1/1..'t /,   ~01lf-
                                                             Iy/[f>µµ{i -flv6-us77J2
Charge(s):   SeC'oY\a-    a,eo/ee,                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
 \o 0. \\: f,Y,)
                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I lear~ee~nterrogati g the person in whose
                                                   hands the said process w a s ~ ~                                   _ __
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             11                                                 OPDA00231
                Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 13 of 192


                  l ,               .   '


                                                -                                        .SU:BPOE:.NA
                                                  · A FIN·E,AND JMP~{SO.~MENl MAY BE :l:M~OSED
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                                                      · FOR 'fAltlfR t:. .,OB£V .:rHIS· NOl'ICE. · ·            " • ••.• '•               .!                :~,           .       .
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                                                       ·.·Office,..:.~ . m~·
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 To~       Df:~tl:'!;~4 D$Schtltter                                        ·RETURN OF PERSONAL SERVICE
       ·
                                                                                                                                                                                                                 ..·.. . . -~-:· . ....
                                                                                                                                                                                                                    '              •


           New Or1eans, LA                  '
                                                                           I received the process                          of Court of which this· is a: duplicate.
  You A.re Hereby Notified p·ursuant to
· LSA-CGRP att. 66 to appear before the
DistrictAttorneyfor·t:heJ'arish of Orleans, to·                                                                                                                                                       Recipient' of: $er'!ic.e
r&tify'tti the truth acoording to your k.qowlcdge· . T~IS                 IS;,Q-.,1;.                                                                    .
~ such-matt~rs_as may be· requiced of yo.u.. ·                        ' 'cu   :.,4' .                                             that ~n                             .                           .         .


.J11
    . Tuesday, Jury B, 2014·. ·
                                                                          ~t~·
                                                                          . the
                                                                                    ~u~:;e~on at Servic~ thereof by ~eaving same in-t~e ~a~ds of ·
                                                                                aforesigned Recipient
at _1:'0:30am
     _ _ _ _ _ _ _ _ _~ - - ~
                                                                      (




                             .                                        :. (please write Recipient's name),                                                                                 · :··
to Ass~stant Dfatri~f AU,omey~
                                                                           the person to whom the.. process is directed..
 Robert Freeman                                                                          ~--. . ...                    .
                                                                                                                                                                                                        Server of Process

                                                                           R'.E1'URN OF DOMICILIARY SERVICE
at 619;Soutf:r White.Street
                                                                     . : TI-US !S,'.fO C:ERTIFY that nn .
In- the case of:
                                                                      ·. 1!• ~eceived the process of Court ·of which this is a duplicate.

                                                                                                                                                                                                  Re.cipient of Service

                                                                          THIS IS TO CERTIFY that on
Case# ==---- ----'--- -~-'-'- --
       , .. Rape I •· ,.,.,~.                   '.II
      ( _
Charges1: · ---·-~------      '·                                          I made. due Personal Ser-vii:e thereof by leaving same in·the hands of
                                                                          the· a'foresfgnect Redpie!}t                      ·
00B10-1_7-04, Recctrd-9 00202111 ~2E

                                                                          (please write Rec(pien~•s ·name),
                                                                          a person of suitable age and dis.cretion, residing at.the·domicile of the
 Contact the above namet:i Assistant District                             person Jo whom th,e said process of Court. was issued, who was ab.sent · ·
 Attorney upon receipt of this .subpoena.                                 at the, -time,..whlch fact t learned by interrogating.the person in whose
                                                                          hands. the said process was left.                 ·
 Sring this subpoena with you to the !Jistrict
 Attorney's Office when you appear to testify.
                                                                                                                                                                                                       SeNer of Process




                                                                                           12                                                                                                         OPDA00220
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 14 of 192



                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS



To:    Josh +torn                                    RETURN OF PERSONAL SERVJCE
                                                     THIS IS TO CERTIFY that on                         J
                                                           Lad /o.> d"?J/~
                                                     I received the process of Court of which this is a duplicate.
Ydu Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
                                                           £</?Y/ZJ. c7Z)/LJ            7                   Recipient of Service
testify co the truth according co your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on

on      ~iLLY ~ ZZJ/-11
                    ____# - ' \ . , , ~ - -
           ........,4.
at--k----~-0

to Assistant District Attorney:

 IAlAffi          fu.trl11ue.
phone#:      2 gU) _ 0389
                                                     RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA vs.   l<1Arntll       Towl
Item# _ _ _ _ _ _ _ _ _ _ __                                                                                Recipient of Service


ct e#~5~1~1-~3~~~-                                   THIS IS TO CERTIFY that on


c~arge(s): ___.._14__.,_:_3     . .__1 _ _
                          . . .ool<-'                I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the d_omicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose ·
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                               13                                              OPDA00206
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 15 of 192




                                                             SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Mr. Charles Bingham, b/m,
                                                     RETURN OF PERSONAL SERVICE
     OOB        -1965
                                                     THIS IS TO CERTIFY that on
     New Orleans, LA                                                   7 -~;)..-,4
                                                     I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant co

                                                          1----f¼,.._, ✓ ~
LSA-CCRP art. 66 to appear before the
!
District Attorney for the Parish of Orleans, to                                                            Redpkmt of Ser,/
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on • /

on Friday, 7-25-14                                                     1-a1.-i"'
                                                     I made due Personal Service thereof by leaving same in the hands of
at _10am
     _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient

                                                                 CH-AALt:-g
                                                     (please write Recipient's name),
                                                                                        %,"' b-i~
to Assistant District Attorney:
Louis P. Russo                                       the pe,soa t ~ r ~

           504-606-65
p hone # : _ _ _ _ _98_ _ _ _ _ __                                                                           Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    !·received the process of Court of which this is a duplicate.
State of LA vs. Freddie Johnson

Item # F-27455-14
                                                                                                          Recipient of Service
         M545-832                                   THIS IS TO CERTIFY that on
Case #
       r.) 14:(27)30 _ _ _ _ _
Ch arge'-s: _ _ _ _Attempted Murder
                               __                   I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


                                                    (please write Recipient's name),

Contact the above named Assistant District          a person of suitable age and discretion, residing at the domicile of the
                                                    person to whom the said process of Court was issued, who was absent
Attorn ey upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                               14                                             OPDA00299
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 16 of 192




                                                                       SUBPOENA
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                           (    ', I

                                    I,
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                                             •
                                                       A °FINE AND IMPRISONMENT MAY BE IMPOSED
                      .                       '
                                                            FOR FAILURE TO OBEY THIS NOTICE.
           .,."       '·       '.            ·.
                                                       Office of the Orleans Parish District Attorn ey
                                                       CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                  ,-

  To: Mr. Terrance Watson, b/m,
                                                               RETURN OF PERSONAL SERVICE
      DOB:      1981
                                                               THIS IS TO CERTIFY that on
      New Orleans, LA
                                                               I received the process of Court of which this is a duplicate.
 You Arc Hereby Notified pursuant to
 LSA-CCR P art. 66 to appear before che
 District Attorney for che Parish of Orleans, to
                                                                                                                     Recipient of Service
 testify to che truth according to your knowledge
 in such matters as may be required of you.                    THIS IS TO CERTIFY that on

 on Friday, 7-25-14
                                                               I made due Personal Service thereof by leaving same in the hands of
 at _10am
      _ _ _ _ _ _ _ _ _ _ _ __                                 the aforesigned Recipient



to Assistant District Attorney:
                                                               (please write Recipient's name),
                                                              the person to whom the process is directed.
 Louis P. Russo

           504-606 -6598
  hone # : ___ ___ ___ ___                                                                                             Server of Process

~t 619 South White Street                                     RETURN OF DOMICILIARY SERVICE
                                                              THIS IS TO CERTIFY that on
In the case of:
                                                              I received the process of Court of which this is a duplicate.
State of LA vs. Freddie Johnson

Item # F-27455-14
                                                                                                                    Recipient of Service
         M545-83 2                                            THIS   rs TO CERTIFY that on
Case #
            14:(27)3 0 Attempte d _
                                  Murder
Ch arge (s:
          ) ________                __
                                                              J made due Personal Service thereof by leaving same in the hands of
                                                              the aforesigned Recipient


lnstructio ns:                                                (please write Recipient's name),
                                                             a person of suitable age and discretion, residing at the domicile of the
                                                             person to whom the said process of Court was issued, who was absent
                                                             at the time, which fact I learned by interrogating the person in whose
                                                             hands the said process was left.



                                                                                                                      Server of Process




                                                                         15                                             OPDA00300
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 17 of 192




                                                                 SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.

                                               Office of the Orlean s Parish District Attorn ey
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


     To: Mr. Terrance Watson, b/m,
                                                          RETURN OF PERSONAL SERVICE
         DOB:      1981
                                                         THIS IS TO CERTIFY that on
         New Orleans, LA
                                                         I received the process of Court of which this is a duplicate.
    You Arc Hereby Notified pursuant to
    LSA-CCRP art. 66 to appear before the
    District Attorney for the Parish of Orleans, to
    testify to the truth according to your knowledge                                                           Recipient of Service
    in such matters as may be required of you.           THIS IS TO CERTIFY that on
    on Friday, 7-25-14
                                                         I made due Personal Service thereof by leaving same in the hands of
    at _10am
         _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient



    to Assistant District Attorney:                      (please write Recipient's name),
                                                         the person to whom the process is directed.
     Louis P. Russo

               504-60
    p hone # : _ _ _6-6598
                      _ _ _ _ _ _ __                                                                             Server of Process

    at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                        THIS IS TO CERTIFY that on
    In the case of:
                                                        I received the process of Court of which this is a duplicate.
    State of LA vs. Freddie Johnson

    Item# F-27455-14
                                                                                                              Recipient of Service
             M545-832
    Case #                                              THIS IS TO CERTIFY that on

              14:(27)
                _ _30 _Attemp ted
                                _Murder
    Charge()
           s: _        ___        _ __
                                                        I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient


I            .                                          (please write Recipient's name),
Instructions:
I
    Contact the above named Assistant District          a person of suitable age and discretion, residing at the domicile of the
                                                        person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                        hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.

                                                                                                                Server of Process




                                                                  16                                             OPDA00301
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 18 of 192




                 ..                                          SUBPOENA
                      I
             ... ,\ '• ..
                               -
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
            .     .        ,            ·I        FOR FAILURE TO OBEY THIS NOTICE.
          ,.,\I,. \,•,,. \·',,
             ·.
             :-           -'   ,   .•        Office of the Orlean s Parish Distric t Attorn ey
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Mr. Charles Bingham, b/m,
                                                     RETURN OF PERSON AL SERVIC E
     DOB:       -1965
                                                     THIS IS TO CERTIFY that on
      New Orleans, LA
                                                     I received the process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CC RP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                                                                           Recipient of Service
 testify to the truth according to your knowledge
 in such matters as may be required of you.          THIS IS TO CERTIFY that on

on Friday, 7-25-14
                                                     I made due Personal Service thereof by leaving same in the hands of
at _10am
     _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient


                                                     (please write Recipient's name).
to Assistant District Attorney:
                                                     the person to whom the process is directed.
 Louis P. Russo

          504-606
phone # : _ ___   -6598
                    _ _ _ _ _ _ __                                                                           Server of Process

at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
State of LA vs. Freddie Johnson

Item# F-27455 -14
                                                                                                          Recipient of Service
         M545-83 2                                  THIS IS TO CERTIFY that on
Case #
              14:(27)3 0 Attempte d Murder
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


Instructions:                                       (please write Recipient's name),

Contact the above named Assistant District          a person of suitable age and discretion, residing at the domicile of the
                                                    person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogat ing the person in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             17                                              OPDA00302
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 19 of 192




                 ..                                          SUBPOENA
                      I
             ... ,\ '• ..
                               -
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
            .     .        ,            ·I        FOR FAILURE TO OBEY THIS NOTICE.
          ,.,\I,. \,•,,. \·',,
             ·.
             :-           -'   ,   .•        Office of the Orlean s Parish Distric t Attorn ey
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Mr. Charles Bingham, b/m,
                                                     RETURN OF PERSON AL SERVIC E
     DOB        -1965
                                                     THIS IS TO CERTIFY that on
      New Orleans, LA
                                                     I received the process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CC RP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                                                                           Recipient of Service
 testify to the truth according to your knowledge
 in such matters as may be required of you.          THIS IS TO CERTIFY that on

on Friday, 7-25-14
                                                     I made due Personal Service thereof by leaving same in the hands of
at _10am
     _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient


                                                     (please write Recipient's name).
to Assistant District Attorney:
                                                     the person to whom the process is directed.
 Louis P. Russo

          504-606
phone # : _ ___   -6598
                    _ _ _ _ _ _ __                                                                           Server of Process

at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
State of LA vs. Freddie Johnson

Item# F-27455 -14
                                                                                                          Recipient of Service
         M545-83 2                                  THIS IS TO CERTIFY that on
Case #
              14:(27)3 0 Attempte d Murder
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


Instructions:                                       (please write Recipient's name),

Contact the above named Assistant District          a person of suitable age and discretion, residing at the domicile of the
                                                    person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogat ing the person in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             18                                              OPDA00302
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 20 of 192




                                                              SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.

                                            Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Mr. Charles Bingham, b/m,
                                                       RETURN OF PERSONAL SERVICE
     DOB:        1965
                                                      THIS IS TO CERTIFY that on
      New Orleans, LA
                                                      I received the process of Court of which this is   a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CCR P art. 66 to appear before the
 Distriet Attorney for the Parish of Orleans, to
                                                                                                              Recipient of Service
 testify to the truth according to your knowledge
 in such matters as may be required of you.           THIS IS TO CERTIFY that on

 on Friday, 7-25-14
                                                      I made due Personal Service thereof by leaving same in the hands of
at _10am
     _ _ _ _ _ _ _ _ _ _ _ __                         the aforesigned Recipient


                                                      (please write Recipient's name),
to Assistant District Attorney:
                                                      the person to whom the process is directed.
 Louis P. Russo

           504-606- 6598
ph one # : ____      ____ ____                                                                                  Server of Process

at 619 South White Street                             RETURN OF DOMICIL IARY SERVICE
                                                      THIS IS TO CERTIFY that on
lln the case of:
                                                      I received the process of Court of which this is a duplicate.
!state of LA vs. Freddie Johnson
          F-27455- 14
Itern #                                                                                                       Recipient of Service
          M545-832                                   THIS IS TO CERTIFY that on
Case #
\Ch arge (s) : ____
               14:(27)30 Attempted
                         ____ __   Murder
                                       _             I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


Instructions:                                        (please write Recipient's name),

Contact the above named Assistant District           a person of suitable age and discretion, residing at the domicile of the
                                                     person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorn ey's Office when you appear to testify.
                                                                                                               Server of Process




                                                               19                                                OPDA00303
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 21 of 192

                                                                    I

                                                              I
                                                            SUBPOE NA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Trooper Justin Rice                              RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
     Baton Rouge, LA
                                                     I received the process of Court of which this is a duplicate.
You Arc Hereby Notified pursuanc to
LSA-CCRP arc. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on

on Tuesday, AUGUST 5, 2014
                                                      I made due Personal Service thereof by leaving same in the hands of
    9:00 am                                           the aforesigned Recipient
at _ __   _ _ _ _ _ _ _ _ _ __

                                                      (please write Recipient's name),

                                                      the person to whom the process is directed.
Robert Freeman, Jr.

      504-234-1641                                                                                             Server of Process
 h
pone #= - - - - - ; - - - - - -
                                                      RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                      THIS IS TO CERTIFY that on
ln the case of:
                                                      I received the process of Court of which this is a duplicate.
                 Nytilex Jones
Stat e of LA vs. _ _ _ _ _ _ _ __
Item# G-37565-13                                                                                             Recipient of Service

         517-806, Section C                           THIS IS TO CERTIFY that on
Case #
                            • I • • •.
                                                      I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient


                                                      (please write Recipient's name),

                                                      a person of suitable age and discretion, residing at the domicile of the
                                                      person to whom the said process of Court was issued, who was absent
                                                      at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                               Server of Pi'ocess




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                                                             20                                             OPDA00213
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 22 of 192




I
I                                                                              SUBPOENA
                                                         A FINE AND IMPRISONMENT  MAY BE IMPOSED
                                                                                          ICE.
                                                              FOR FAILURE TO OBEY THIS NOT
I                                                          Office of the Orleans Parish Dis
                                                                                            tric                  t Atto rney

I                                                        CRIMINAL DISTRICT COURT FOR
                                                                                     THE PARISH Of ORLEANS



    To, ROBERT FIELDS, DOB
                                                         /57             RETURN OF PERSONAL SERVICE
                                                                         THIS IS TO CERT IFY that on
        NOLA
                                                                                                                     this Is a duplfcate.
                                   a.nt to
    You Are Here by Nori ficd punu
                                           e the                                                                                    Rtclp ltnt of Service
    LSA-CCRP 2tt. 66 to appear befor
                                                ns, to
    Dimiet Attorney for the Parish of Orlea
                                            knowledge
    testify to rhe truth accor ding to your                              THIS IS TO CERTIFY tha~
                                                                                                 r
    In such mattcn u may be requi
                                       red of you.
                                                                                     ~v f'{- 1
                                                                                                                                           s of
    on FRIDAY, AUGUST 22, 2014                                                                              of by leaving same In the hand
                                                                         I made due l'ef>Onal Service !here
                                                                         lhe arorr slgne d Recipient
    at 10A .M.
                                                                                TZoBt:.'2Jr" E1~ ·
                                                                          (pl•• •• write
    to Assis tant Distr ict Attor ney:                                    l~e person t
     MARY C. GLASS
                                                                                                                                        Server of Process
    phon e#: 504-234-8210
                                                                                                    ICE
                                                                          RETURN OF DOMICILIARY SERV
     at 619 Sout h Whit e Stree t                                         THIS JS TO CERT IFY that on

     In the case of:                                                                                      of wtiich 1h15   rs •   duplf cat•.
                                                                          I received the process of Court

     Stat e of LA vs. KEVIN DES
                                MOND
                                                                                                                                      Rtclp/onl of S•rvl<•
     Item # G-26008-14
                                                                          THIS IS TO CERTIFY that on

I    Case # MS46600

     Ch
               14:34__
            s: __
       arge ()      AGG__     BAT_T5
                          __D__
                       RAVATE                                              f made due Pmo nal Se,vfce thore
                                                                           the alore slcne d Recipient
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I     Instructions:
       (onL ,rt th~ .lhov1 ' n.,m(•d
                                     As~•5 t.int o,-,:r1rt
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                                                                           a per1o  n of sulta blt •re and
                                                                           person to whom the sakl proce
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I      Attmr wy upon rl'rup t pf !his~

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                                  l',1 wrll1 you to thr D1~l11
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                                                                           at the time, which fact I learn
                                                                           hand s the said p1'ocess was left.

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                                                                                                         21                                                  OPDA00245
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 23 of 192




                                                                                    SUBPOENA
                                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                         FOR FAILURE TO OBEY THIS NOTICE.
                                                                    Office of the Orleans Parish District Attorney
                                                                    CRIMINAL DISTRICT COURT FOR TifE PARISH Of ORLEANS

           I         I      ..,. .,
 To:               ~11 .,.. . ,.,. '                                         RETURN OF PERSONAL SERVICE
                                                                            TtilS IS TO Cl-:!l'l'tfY Iha! on


                                                                             I rtcelv•d th• proc••• or Court or which this I• a duplicate.
 You Arc lirrcl>>· N111ifieJ p11rs11anr 1u
 lSA-CClll' arr. 66 111         before rl,c      •l'J"'"                                                                           R,clpient of Serv/c,
 Dl><rict l\rtom•1• for the l'arish nf Orl,,uu, ,n
 ,..,.ily ru d,c, tnnh ..:conlin~ 111 your knmvI..,Jb"'
                                                                             'I H l\ IS 1'() t 'l, RT IF\' thot on
 i.1 sud1 m:lJc(rs,os lt]=lf b~ n:quin.>J of )'OU,
           -I -'1· , • -
 Oil           '                  •                                          I mad• due Pf<50nDI SNvice IMreor by leavlns same In lM hands of
                                                                             lh• afottslgn•d Recipltnl
 ilt      {-'·_', \ .                     ,' I
                                                                             (pltosr writ, Rta,Mnt·i nam•J.
 !o Assistant District Attorney:                                             the ptrson 10 who,m rho proc••• Is directed.
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 phone#:_ ..:                        ~=-
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                                                                             RETURN 01' DOMICILIA RY S1'RVICE
  at 619 South White Street
                                                                             Tl US IS 1'0    Cf.9"1FY!al on
  In the case of:                                                                            1 / 3/ JI/~           LJ: 0~ Pl\1
  State of LA vs.                         /.•.{vvJ
                                                   /       J
                                                               ,~
                                                       / .. ,.. ...-
                                                                                                            or which this Is a dupticat•.
                                                                                          th• pro<••• or Court


                     ,'/ .        '
  Item#

                         ;       I~            I/; I . J                     TI-IIS ISTO C'F.lffrl'l' that on
  Case#
               1
  Charge(s): ' ,                          ,. ,..,••d   lh/-l -li'il-t         I made due Pe<5ona! S•rvlce th•reor by IHvlng same In lht hands of
                                                                              the afon,slgned Reclpltnl


                                                                              (pl•ase writ• R,clpi,nt's nam•J.
  Instructions:
                                                                              a person of sullablt    •1•
                                                                                                        and discrttlon, n,sdlns at the domicilt or th•
  •Conl.:ic.t the .1bove named A,.-.1st;;int 01~tnct                          person 10 whom tht said process or Court was Issued, who wes absent
   A1orrey upon 1cc£l1;>t oft~,~ si.;bpoenJ.
   Br,n~ th,., :JubpocnJ \',1th you to the 01s:tnct
   Attorney's OIHce when you appear to lr•st,fy.
                                                                              hands   '::::•'(
                                                                                       ~~o
                                                                                              tu
                                                                              at the time. whkh fact I l•amed by Interrogating th• pf<5on In whose
                                                                                                                ltft,     ~
                                                                                                                        B...~          Serw,r of Proet'5




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 24 of 192




                                                                           SUBPOENA
                                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                FOR FAILURE TO OBEY THIS NOTICE.
                                                           Office of the Orleans Parish District Attorney
                                                           CRIMINAL DISTRICT COURT FOR TliE PARISH Of ORLEANS


  To:               I             'j          I
            . · :l~t:· '' , ~:, .·,                                 RETURN OF PERSONAL SERVICE
                                                                    THIS IS TO CltlfflfV lhal on



  Yuu Arc Hcrchy Norifi,J puuu:mr en
  I.SA-CC:ltP m. (,6 m appc~r hdarc rhc
  Dhrrict Arrorncy for thC' Parisi, ofOd....-ins. co                                                                       Rrcip,enr o( Servicr
  u.-stify ro du: rn11h auTlnling co yuur knuwk,l~c
  in sud, m•tt~;rs_:as Jn:ay Jlc n.-c.1uLn:<I of rou.               nus IS 'J'(l C'f. RTIF\' Iha< on
  on----.~-~--------                                                I made due Personal Strvlce thereof by leaving same In the hands of
                                                                    the afori,slgnod Reclp'ont
  al       [',    I •I '       ,v/fi
                                                                    (p(ease wrilr Rtdpient'$ nam~).
  10 As~istant District Attorney:
                                                                    lhe person to whom the process Is directed.
                        '
       "/•.:.1.-•:· ': f':.•..
                                                                                                                             Strwr of Process
  phone #:                  f · ' · ~ ; ' :'.- ·
  al 619 South White Street
                                                                    RETURN OF DOMICILIARY SERVICE
                                                                    Tl IIS lS TO C1'RTII' \' that on
  In the case or:
                                                                    I received the process or Court or which this Is a dupliu1te,
  SlateoflAvs.                 :,.,{e,y</i,,,.,;""'"
                                          II
                              1
  Item#          • ,' • . , '' (11.               · I :·                                                                  Redpient af Servfce

                                                                    THIS IS TO C:1'RTIH lhal on
  Case #          J / {         I '.- 1
  Charge(s): ( 1• ,,.,,;,              ..f't-i,,..,,d,{..,,:.{ f-   I made due ~rsonal Service thereof by leaving same In the hands of
                                                                    the aroresigned Recipient


                                                                    (please write Recipient's name),
  Instructions:
                                                                    a person of suilable age and discretion, residing at the domicile or lhe
  ·contact lhe above named Ass,stant District                       person to whom the said process of Court was issued. who was absent
   Attorney upon receipt of this subpoena.                          al lhe lime. wh:Ch fact I \earned by Interrogating the per<on In whose
                                                                    hands the sa:d process was left.
   Bun~ this subpo~na with you to lhe D1stnct
   AMomey"s Office l'lhen you appear lo testify.
                                                                                                                            Servtr of Proetss




                                                                                                 CERTIFIED DA OFFICE COPY




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                                                                                             23                                                   OPDA00138
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 25 of 192

     ..
                                                                  SUBPOENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.

                                              Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To:       µ:;ya,vII~     ~e_n~                             RETURN OF PERSONAL SERV[CE
                                                       !   THIS IS Tl) CERTIFY that on
1')VJ. Or-\-e.to..v-i.J:. r L-~
                                                           I received the process of Court of which this is a duplicatt!.
You An: l-kn:hy N ,1cilicd p11rsu.1nc rn
LSA-CCRP .trc. 66 to appe~tr bdorc: chc:
Dhcri.:r Acrorne_v for che P:uish of Orlc-ans. co                                                                 R<:!Cipient of Service
ro:sri~' t0 cht: rrurh .u.:corJing co your knowledge
in sLi...h macrers :L~ m.i:v be requirc-d of you.          THIS IS TO CERTIFY that on


on        fx..r ~ b~v /.."-.            ~01._,             I made due Personal Service thereo f by leaving same in the hands of
                                                           the aforesigned Recipient
at _ _ _ _q...._:           . . _ _• - -
                     _o_o_. ~=--·.....c..\lA-
                                                           (please write Recipient's name),
to Assistant District Attorney:
                                                           the person to whom the process is directed . .


                                                                                                                    Server o; Process
phone #:         Sl--'.f- - ~ 3 t.-f D
                                                           RETURN OF DOMICILIARY SERVICE
at 619 South White Street

In the case of:

State of LA vs.    J~pn l--a.-~12.v+
Item It    If:- '],Ufa, I - /LI                                                                                   Recip,ent of Service


Case#        51q- ~gD E ~                 1




Charge(s): /If: 5~ •½ I'-/; fflf)                          I made d     Personal Ser ice thereof by leaving same in the hands of

     ir: Qr- '3
                                                           '"r;~'' "S:'tl
                                                           (p lease write Recipienr's name),
                                                                                               ~'n,l:)('\~ ' )
lnstructio ns:
                                                           a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District ·              person to whom the said process of Court 1Nas issued, who was absent
                                                           at the time, which fact I learned by interrogating the person in whose




                                                           "~'°9t
 Attorney upon receipt of this subpoena.

 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                                     Server of Process




                                                                   24                                               OPDA00139
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 26 of 192




                                                                       SUBPOENA
                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                              FOR FAILURE TO OBEY THIS NOTICE.

                                                    Office of the Orleans Parish District Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To:      T-e:ri     .SM~f-n                                     RETURN OF PERSONAL SERV[CE


IJw        !)~/~IA.4 I 1-r-J-
                                                                                                                    uplicate.
Yol1 , \re: Hc:r<.:hy Norificd pur~uJnr        to
LS.-\-CCRP :1rr. 66 co ;1ppc:ar bdiHc: rhe
Dim·kc Arcornc:y for rhe P.1ri., h of Orle:1ns. co                                                                     Recipienr of Setvice
ro:~rity co rhe rrurh Jccording co your knowledge:
in , w.:h macrer; :is may be rc:quired of.you.

on      ~~V'                    /0.. -,   2,btj                 I made due ersonal Service there
                                                                the aforesigned Recipient
                 q :tJO         d, . 11( •
                                                                ~'c\ ~ t<\i~h
at

                                                                (please write Recipient's name} .
to Assistant District Attorney:
                                                                the person to whom the process is directed.

                                                                ~ ~ ; .
 hone #:    --={...__:z~J_-_b_5_L-f--o_ __                                                                               Server of Process


at 619 South White Street                                       RETURN OF DOMICILIARY SERVICE
                                                                THIS IS TO CERTIFY that on
In the case of:
                                                                I received the process of Court of which this is a duplicate.
State of LA vs.      lbfepk          t,e,.,v,.,.-1.n!I-' I-
                            '
Item # _ _'1-.:...._...--'-~-z..._l,_C:,_1_-_I'-/
                                              _ __                                                                    Recipienr of Service


Case # _ _ _...;5'-7'--<:,-'-----c-'--c:,_o
                                          __'   E
                                                __'·_           TIIIS IS TO CERTIFY that on


Charge(s):      Ji/: 31-. 1../, I'{: 7£/{p)                     I made due Personal Service thereo f bv leaving same in the hands of
                                                                the aforesigned Recipient


                                                                (please write Recipienr's name).
Instructions:
                                                                a person of suitable age and discretion, res iding at the domicile of the
Contact the above named Assistant District                      person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena•                        _at the time. which fact I learned by interrogating the person in whose
                                                                hands the said process was left.
.Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                                         5erver of Process




                                                                         25                                             OPDA00140
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 27 of 192




                                  26
  Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 28 of 192


                                         •                             •
                                                                SUBPOENA
                                            A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                 FOR FAILURE TO OBEY THIS NOTICf.
                                              Office of the Orleans Parish Distr ict Atto,rney
                                            CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To: Mr. Bruce Harris, 8/M, DOB:                                                              ?
                                                        RETURN OF PERSONAL SERVICE
            /50
                                                        THIS IS TO CERTIFY that on
      NOLA

 You Are Hereby Notifie d pursua nt to                  I received the process of Court of which this is a duplicate.
 LSA-CCRP arc. 66 co appear before the
 District Attorne y for the Parish of Orleans , co -
 testify to the truth according to your knowledge                                                               Recipient of Service
 in such matters as may be required of you.             THIS IS TO CERTIFY that on
 on . 10/7/14
                                                        I made due Personal Service thereof by leaving same in the hands
                                                                                                                         of
 at __ 9:45 am                                          the aforesigned Recipient
                                                                                                                          ,;·   ..............
                                                        (please write Recipient's name),
 to ·Assistant District Attorney:
 Louis-Russo                                           the person to whom the process is directed.


           504-60
p hone # : _ _ _6-6598
                  _ _ _ _ _ _ __                                                                                  Server of Process

at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                       THI                            on
In the case of:

                  Travis                               I received the process   of Court-~ twhich this is a duplicate.
Stat e o f LA vs. _  __  White
                          _ _ _ _ __

Item# G-22366-13
                                                                  \/tc .,~ LlLohU-)
                                                                                                               Recipient of Service
         M547269                                       THIS   rs TO CER.TlfY that on
Case #
            14:34; 14:94
        s : ___
Charge ()           ___ ___ __                                      10 l u ))4                      l~-~4D f ""-
Aggra vated Batter y/ Illegal Discha rge


Instructions:                                          (please write Recipie nt's name),

Contact the above named Assistant District             a person of suitable age and discretion, residing at the domicile
                                                                                                                         of the
                                                       person to whom the said process of Court was issued, who was
Attorne y upon receipt of this subpoena.                                                                                 absent
                                                       at the time, which fact I learned by interrogating the person in
                                                                                                                        whose
                                                       hands the said process was left.
Bring this subpoena with you to the District
Attorne y's Office when you appear to testify.                           i\l\
                                                                          1 V\ ~- - - - - -
                                                                                                                 Server of Process




                                                           27                                               OPDA00172
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 29 of 192




                                                                   SUBPOENA
                                                 A ANE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR FAILURE TO OBEY THIS NOTICE.
                                                  Office of the Orleans Parish District Attorney
                                                 CRIMINAL DISTRlcr COURT FOR THE PARISH OF ORLEANS


     To:                                                    RETURN Of PERSONAL SERVICE

     i) 1'&11Vl tluj1vv'l                                   THIS , ~ TO CEnTIFY that on


                                                            I received the process of Court of which lhls Is a duplicate.
     Yo\, Arc Hereby Notified pmsuanc co
     I.SA-CCRP arr. 66 to appar bcfor<: rhe
     Disrricc Actomey for die l',rish of Orlcons, 10                                                                RtdpiMI of StNICe
     o:stify ta the uuth occonlini; 10 yuur kn.uwlc:dgc
     in J11,1ch m:arrcn :u maybe r~uircd of you.            TH I.~ IS TO CERTIFY that an

                                                                  I 'i                  L'I
     on       w/i:~11014                                                  'Jvtt?

     at       '.7c.O') ~W'                                  the afores;d;:c:lenl                                ~             J4:
                                                            I made due ~rsonal Sel'llce thereof by leavln1 same In the hands of
                                                                                        /J iii hL-
                                                            (pitas, writ,, Rtcipitnt's name),
                                                            the person to whom the p«1cess fs directed.

                                                                 x~~lf_::E¾LuJJt:
                                                                    t..)"7""4..          ~                             S,rvrrof Proms

     al 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                            THIS IS TO CERTl1'Y that on


                                                            I received the process   or Court of which this Is a duplicate.
                                                                                                                    Recipient of Sttvlce

     Case# _ _ _ _ _ _ _ _ _ _ __                           nirs IS TO 1.:ER'rl 1'Y that on

    Charge{s):   _+-H+·~·-~~a.......)- - -                  I made due Personal Service thereor by tHving same In the handi of
                                                            the aforeslgrted Redplent



    Instructions:                                           (please write R,c/pi,nt"s name),

     Contact the above named Ass1stant D1stnct
                                                            a person of suitable   •1• and discretion. residing al lhe domidle of the
                                                            person to wham lhe said process of Court was Issued, who was absenl
     Anoroey upon receipt of this subpoena.                 at the ~me, which fllct I learned by lnterrogallnr the person In whose
                                                            hands the said process was left.                           •
     aring this subpoena w,th ycu to the Oistmt
     Attorney's Offic.e ,·,hen you appear to t<?.st1fy.
                                                                                                                      s~rvrr of Proc~ss




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        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 30 of 192




                                                            SU BP OE NA
                                        A FINE ANP .IMPR ISON MENT MAY BE IMPO SED
                                                  FOR FAILURE TO OBEY THIS NOTICE.
                                          Offic e of the Orlea ns Paris h Distr ict Attor ney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS



To: Roy Broomfield                                   RETU RN OF PERSO NAL SERVI CE
                                                     THIS   rs TO CERTIFY that on

                                                     I received the process of Court of which this is a duplicate.
Yoµ Are Hereby Notifie d pursua nt to
LSi6i.-C CRP art. 66 to appear before the
                                                                                                            Recipient of Service
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
                                                     THIS IS TO CERTIFY that on
in such matters as may be required of you.
on Monday, Octob er 27, 2014                                                                                    hands of
                                                     I made due Personal Service thereof by leaving same in the
                                                     the aforesigned Recipient
     _ _ _ _ _ _ _ _ _ _ _ _ __
at _9:00

                                                     (please write Recipient's name),
to Assista nt District Attorne y:
                                                     the person to whom the process is directed.
 Sarah Dawki ns
                                                                                                              Server of Process
        50482 76303 _ _ __
pone
 h   #: ________

lt   619 South White Street
                                                     RETU RN OF DOMI CILIA RY SERVICE
                                                     THIS IS TO CERTIFY that on
I
In the case of:
                                                     I received the process of Court of which this is a duplicate.
                Myles Dolliol e _ __
State of LA vs. _ _ _ _ _ _ _
                                                                                                            Recipient of Service
Item# D-151 38-14

          520-31 2                                   THIS IS TO CERTIFY that on
Case #
                               battery
             14:34 Aggra vated _ _ _ __                                                                               of
         s : _______
Ch arge ()                                           I made due Personal Service thereof by leaving same in the hands
                                                     the aforesigned Recipient
 14:95.1 Felon in poss of a firearm

                                                     (please write Recipient's name},
Instruc tions·:
                                                                                                                       of the
                                                     a person of suitable age and discretion, residing at the domicile
 Contact the above named Assistant District                   to whom the said   process of Court was issued, who was  absent
                                                     person
                                                                                                                      whose
 Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in
                                                     hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.                                                                 Server of Process




                                                              29                                             OPDA00317
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 31 of 192




                                                            c~~                   ~c?f-~J
                                                               SUBPOENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                        RETURN OF PERSONAL SERVICE
                                                        THIS IS TO CF.RT!FY that on                    ;,---
                                                                                / -        12.-/ :>
   You Arc Hereby Notihcd pursu:mt ro
   LSA-CCRP m. 66 to appca, before chc
   District Acromcy for rhc P.irish ofOrleans, co
   tc::stiry ro the nuUI ;ccording co your knowledge
   in such. m::iucrs M m;.y be required of you.         THIS IS TO CERTIFY lhat on
                                                                                 ,_ 17..-/)
   on    I /1':1/15                                     I mad• du• Porsonal Sor,/te thoreof by leaving same In the hands _p(
                                                        the aforesi~ed Recipien~ 7.J,9/ ~                       /l')dAEA-..
   at   9:oo AH                                         ,c l))-11,v-;t                 . y,,i      .._,9
                                                        {pl•os• writ, Rtcipitnt'• nomt),
   to Assistant District Attorney:
                                                        the person lo whom lhe process is directed.



   phone #: ( "51~       B:Z.J:::lo002-
   at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                        THIS JS TO CERTIFY that on
   In the case o~
                                                        I received the process of Court of which this Is a duplicate.
   State of LA vs.    AH::rro &av--
   Item#E-2.Y<:il4-1'2..                                                                                       Reclpirnt of Service

                                                        THIS IS TO CERTIFY lhat on
   Case# '512- -SBI •f,'

   Charge(s): _<1..,.5....,_,.I.___ _ _ _ __            I made due Personal Ser,,ice thereof by leaving sam• In tho hands of
                                                        the aforeslgned Redphml



   Instructions:                                        (pitas• writ• Recipient's name),
                                                        a person of suitable .are and discretion. resldinr at the domicile of the
   (onlact the above 11.1med Assistant 01stnct          person to whom IP\e said process of Court was •ssued, who was absent
   Attorney upon rece,pt of this subpoena               at tho time. which ract I teamed by lntorrogatinJ lhe person in whose
                                                        hands the said process was l!rt.
    Brmr: th,s subpo('nJ. with you to 'hC' Orc;trict
   Attorney's Offae when you appc>.:.r to t1._,stify.
                                                                                                                 StNtr of Proctss




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                                                                                30                                                    OPDA00244
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 32 of 192




        .-,,--,,·-:-·~-
  { 1/·~                           \                               SUBPOENJ(
                                                 A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                      FOR FAIWRE TO OBEY THIS NOTIC~.
  '.;                            J
      --, .\ ; ., .,,.,, ..... '' ,:..
                                                  Office of the Orleans Parish District Attorney
   ~
   ·,,o ..__..A.
  •,·   ...;:: _ -·                              CRIMINAL DISTRICT COURT .FOR THE PARISH OF ORLEANS

To: Lance Lookabaugh
                                                         RETURN OF PERSONAL SERVICE
                                                         THIS IS TO CERTIFY that on


                                                         I received the process of Court of which this Is a duplicate.
You   Arc Hereby Notified pursuant to
LSA-CCRP arr. 66 co appear before the
District Aaomcy for the l'arlsh of Orlans, to                                                                   Redplent of Servla,
testify IO the truth ao=ording IO )'Out knowledge
in such mauers as may be required of7.0u.                THIS IS TO CERTIFY that on

on Tuesday, Jan 26, 2015
                                                         I made due Personal Service thereof by leaving same ln the hands of
   9:00
at _ __ am_ _ _ _ _ _ _ _ _ __                           the ~foreslgned Recipient


                                                         (pltose write Recipient's nome),
to Assistant District Attorney:
                                                         the person to. whom
                                                             -.,               the process ls directed,
Sarah Dawkins

         (504)717-7287
phone #: __________    _                                                                                          Server of Proaus


at 619 South White Street
                                                         RETURN OF DOMICILIARY SERVICE
                                                         THIS IS TO CERTIFY that on
In the case of:
                                                         I received the process of Gourt of which lh!s Is a duptlcate,
State of LA vs. Terelle lewis
Item #    J-12523-1 S                                                                                          Recipient of Serv/a,

case # 527-487                                           THIS IS TO CERTlfY that on


Charge(s): _14 34_•_
             _:_  1 _ _ _ _ _ __
                                                         I made due Personal Service thereor by leaving same In the hands of
                                                         the aroreslgned Recipient



Instructions:
                                                         (please write Recipient's name),
                                                          a person of suitable age and discretion, residing at the domicile of the
Contact the above named Ass,stanl D1st11cl                person to whom the said process of Coutt was Issued, who was absent
Attorney upon receipt of th15 subpoena.                   at the time, which fact I learned by Interrogating the person In whose
                                                         ·hanijs the said process wn left.
Bnnr: this subpoena 1°11th you           to the o,stmt
Attorney's Office 1•,hen you appear lo testify.
                                                                                                                 SM1er of Process




                                                                                      CERTIFIED DA OFFICE COPY




                                                                                      31                                              OPDA00144
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 33 of 192




                                        r.....
                                                         SUBPOENJ(
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAIWRE TO OBEY THIS NOTICE.
                       1:1-  - - - - - - - - - - - - - - - - "t'1
                          Office of the Orleans Parish District Attorney
                                                                         '
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS                                    -.:J
---------------------------- \
To: Stephanie Lookabaugh                          RETURN OF PERSONAL SERVICE
                                                  THIS IS TO CERTIFY that on                                                 ~
                                                                                                                             0,
                                                  I received the process of Coun of which this Is a duplicate.
You Arc Hereby Nodlicd pursuanc co
LSA-CCRP an. 66 to appear before chc
                                                                                                                             ,l
Discrict Attorney for chc Parish ofOrleans, co                                                          Rrdplrnt ofSrtvfa
«stify to <he trulh accotding co your knowledge
in such macccrs as may be required of you.        THIS IS TO CERTIFY that on

on Tuesday, Jan 26, 2015
                                                  I made due Personal Service thereof by leaving same In the hands of
   9:00
at _ __ am_ _ _ _ _ _ _ _ _ __                    the aforeslgned Recipient


                                                  (please writ• Rrclplrnt's name),
to Assistant District Attorney:
                                                  the person to whom the process ls directed.
Sarah Dawkins

          (504)717-7287
phone # : _ _ _ _ _ _ _ _ _ __                                                                            Srrwr a{ Procrss

                                                  RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                  THIS IS TO CERTIFY that on
In the case of:
                                                  I received the process of Coun of which this Is a duplicate.
State of LA vs. Terelle Lewis

Item# J-12523-15                                                                                       Redp~nt of Setvfct

Case # 527-487                                    THIS IS TO Cl!RTJFY that on

  arge,s    14:34.1
     . , ): _  _ _ _ _ _ _ _ _ __
Ch                                                I made due Personal Service thereof by leaving same In the hands of
                                                  the aforeslgned Recipient


                                                  (please write Reclplrnt's name).
Instructions:
                                                  a person of suitable age and discretion, residing at the domicile of the
ContJct the above named Assistant District        person to whom the said process of Court was Issued, who was absent
Attorney upon rQce1pt of this subpoena.           at the Ume, which ract I leamrd by lnterrogaUng the person In whose
                                                  hands the said process was !eft.
Bring tl1is subpoena ,mth you to the District
Attorney's Off1ce ,·,hen you appear to testify.
                                                                                                         Serwr.of Procrss




                                                                                CERTIFIED DA OFFICE COPY




                                                                               32                                                   OPDA00145
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 34 of 192




                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: BETTY JACKSON                                    RETURN OF PERSONAL SERVlCE
                                                     THIS IS TO CERTIFY that on
     DOB/         /1967                                                       ,,, - (p ....   I:;
You Are Hereby Notified pursuant co
LSA-CCRP arc. 66 co appear before che                 j
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS JS l O CERTIFY that on

on FRIDAY, MARCH 6th 2015
                                                                      ,3-6     --1:;-
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
at _3:00pm
     _ _ _ _ _ _ _ _ _ _ _ __
                                                                 13,.:rry         .:!,a c. K. Jv rJ
                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process is directed.
PAYAL PATEL

         5042342429                                                                                           Server of Process
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __
                                                     RETURN OF DOMICILIARY SERVlCE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
                   ROLANDO MARTINEZ
                               _ _ __
Sta t e o f LA vs. _ _ _ _ _ _
Item# A-33749-15                                                                                            Recipient of Service

Case# _ _ _ _ _ _ _ _ _ _ __                         THIS IS TO CERTIPY that on


Charge ()  Attempted
        s :_
                     Forcible Rape
             _ _ _ _ __ _ _ __                       I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                           33                                             OPDA00214
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 35 of 192




                                                                 SUBPOENA
                                                A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                     FOR FAIWRE TO OBEY THIS NOTICE.
                                                   Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTltlCT COURT FOR THE PARISH OF ORLEANS


   To: Danle!le Smith, b/f, dob:             /91          RETURN OF PERSONAL SERVICE
        NOLA                                              THIS IS 1'0 CERTIFY lhot on


                                                          I received the process of Coun or which lhis Is a duplicate.
   You Ar• Hereby Norilied punuam 10
   LSA·CCRI' art 66 to appear before rhe
   Disaia Attorney for the P:irish ofOrleans, to                                                                 Recipient of Service
   u:mfy ro <he truth according 10 your knowledge
   in .such man:rs u may be required of )'OU,             ii-Hrs JS TO CERTIFY that on
   on March 27, 2015
                                                          I made due Personal S•rvlc• thereof by leaving same lo the hands of
   at 10 am                                               the aroreslgned Recipient


                                                          (please write Rtdpltnr·s name),
   to Asslstan1 District Attorney:
                                                          the person 10 whom the process Is directed.
    Louis Rus,o
              5()4-606-6598                                                                                        Server of Process
   phone #:

   at 619 South White Street                              RETURN OF DOMICILIARY SERVICE.
                                                          THIS ISTO CERTIFY Iha! on
   In the case of:
                                                          I rocelved the pro<ess of Court or which this Is a duplicate.
   State of LA vs. Bernette Dalby

   Item# 80~35415                                                                                               Recipient of Service

   Case # M549858                                         THIS IS TO CeRl'fFY that on

   O,.,rge(s): 14:64.3; 14:66
                                                          I made due Pe<sonal Service thereof by l•avlng same In th• hands of
                                                          the aforeslgned Redplenl


   Instructions:                                          (please write Recipient's nomt).
                                                         • person of suitable age and discretion, residing at lh• domldle of the
   Contc1ct lhC ~Jbove named Ass1st.1nt 01str1ct         p,rson to whom the said p,ocess of Court was Issued, who was absent
   Attome:y upon n;c~1rit of ttus subpoena               at the time, which fact I team•d by Interrogating the person In whose
                                                         hands lhe said process w.. leR.
   Bung this 54.ibpoen,1 vnlh you to the D1slrrct
   AttornC'y s Olhce v.tlf n you i1ppr,1r to lt::sllfy
                                                                                                                  Server of Process




                                                                                    CERTIFIED DA OFFICE COPY




                                                                                 34                                                     OPDA00318
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 36 of 192




                                                               SUB POE NA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED.
                                                     FOR FAILURE TO OBEY THIS NOTICE.
                                            Office of the Orleans Parish Oistrict Attorne y
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

  To: Antoine Thomas
                                                        RETURN OF PERSONA L SERVICE




 You Are Hereby Notified pursuant to                                                      f which this is a duplicate.
 LSA-CCR P art. 66 to appear before: the
 District Attorney for the: Parish of Orleans, co
                                                                                                               Recipient of Service
 testify to the truth according to your knowledge:
 in such matters as may be required of you.            THIS IS TO CERTIFY tha_y0n

 on April 6, 2015                                           ;#/Jn, -/            r<'     ,=;l.t::f/   r
                                                       I made due Personal Service thereof by leaving same in the han
 at _1:00
      __  PM
           _ _ _ _ _ _ _ _ _ __                        the aforesi ned Recipient

                                                                        ~~/
                                                       (please write Recipient's name), I(
 to Assistant District Attorney:
 Brittany Reed

 pone     504-822-2 414
  h   # : _ _ _ _ _ _ _ _ _ _ __

 at 619 South White Street                             RETURN OF DOMICIL IARY SERVICE
                                                      THIS   rs TO CERTIFY that on
IIn the case of:
                                                      I received the process of Court of which this is a duplicate.
IStat e of LA vs. Brandon
                  ____Daggs
                          ____ __
          F-41017- 13
Itern #                                                                                                       Recipient of Service
          517-559                                     THIS IS TO CERTIFY that on
Case #
              Second Degree Murder
Ch arge (s) : _ _ _ _ __ _ _ _ __                     I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient


Instructions:                                         (please write Recipient's name),

 Contact the above named Assistant District           a person of suitable age and discretion, residing at the domicile of the
                                                      person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                Server of Process




                                                               35                                               OPDA00208
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 37 of 192




                                                             SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT .FOR THE PARISH OF°ORLEANS


 To: Elli'sria Ellison
                                                     RETURN OF PERSONAL SERVICE



                                                     I received the rocess of Court of which this is a duplicate.
 You Are·Hereby Notified pursuant to
 LSA-CCRP arc. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                       )( CfZ'30•               Q,c   QJJ,• IDYl               ..           ,
                                                                                                           Rec,p,ent of Service
 testify to the truth according co your knowledge
 in such matters as may be required of you.          THIS IS TO J¥:RTIF) that on                -....,J

 on April 7, 2015                                               ft/?r·/ (        <;- o2. d d1
                                                     I made due Personal Service thereof by leaving same in the hands of
 at 9:00 AM                                          the aforesi    Recipient
                                                                       "" ........
 to Assistant District Attorney:
                                                     the person to whom the process is directed.
 Brittany Reed

pone     504-822-24 14
 h   # : _ _ _ _ _ __ _ _ _ __                                                                               Server of Process


at 619 South White Street                            RETURN OF DOMICILIA RY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:

                 Brandon Daggs                      I received the process of Court of which this is a duplicate.
Stat e of LA vs. _ _ _ __ _ __ _ _
Item# F-41017-13
                                                                                                          Recipient of Service

         517-559                                    THIS   rs TO CERTIFY that on
Case #
              Second Degree Murder
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


Instructions:                                       (please write Recipient's name),

Contact the above named Assistant District          a person of suitable age and discretion, residing at the ~omicile of the
                                                    person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the per:son in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             36                                              OPDA00209
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 38 of 192




                                                             SUBPO ENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR 'FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Antoine Thomas
                                                     RETURN OF PERSONAL SERVICE
                                                     THIS I ~ CERT?}that j.n
                                                          /.//2,..., {           /I     o) ~ /        r
                                                     I received th   process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CCRP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                                                                                   Recipient of Service
 testify to the truth according to your knowledge
 in such matters as may be required of you.                                                                   r---
 on April7,2015                                               fi     /?
                                                     THIS IS TO_J¥,RTIFY t!J.at on/?
                                                                      e f             -<-;
                                                                                                 _, -,f /
                                                                                             01'\<f/         ~
                                                     I made due Personal Service thereof by leaving same in the hands of
 at _9:00AM
      _ _ __ _ _ _ __ __ _ _                         the aforesigned Recipient    (    --;--7
                                                           L    0- Q.   <:YfJ,    (          I    l//. ,::;)fr1 (?'/ .f'
                                                     (please write Recipient's name),
 to Assistant District Attorney:
 Brittany Reed
                                                                                                                      ~          d,.0/-J,1-
 pone     504-822-2414                                                                                               server of Process
  h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street                           RETURN OF DOMICILIAR Y SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
State of LA vs. -Bra nd0n Daggs

Item# F-41017-13
                                                                                                                  Recipient of Service
         517-559                                    THIS IS TO CERTIFY that on
Case #
           Second Degree Murder
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


•nstructions:                                       (please write Recipient's name),

Contact the above named Assistant District          a person of suitable age and discretion, residing at the domicile of the
                                                    person to whom the said process of Court was issued, who was, absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                    Server of Protess




                                                             37                                                      OPDA00207
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 39 of 192




                                                            SUBPO ENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To: Lyntrell Mays
                                                     RETURN OF PERSONAL SERVICE
                                                     T~I~O CERTIFY jhat on                        ~
                                                    /.., /_;,6      G      ~ 2          cV"5
                                                     I received the process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CCRP art. 66 co appear before the
 District Attorney for the Parish of Orleans, co
 testify co the truth according to your knowledge
                                                                                                   ~ ~pie~           c:! Service
 in such matters as may be required of you.          T~TOCERT IFYthatoa                       .       ~ Jtt{cf"
 on April 7, 2015                                      &rc? t;: z~rj'
                                                     I made due Personal Service thereof by leaving same in the hands of
 at _9:00AM
      _ _ _ _ _ _ _ _ _ _ _ __                       the afor signed Recipient

                                                             ·,-z: '         ~; \\            n-v
                                                     (please write Recipient's name),
 to Assistant District Attorney:
                                                     the person to whom the process is directed.
 Brittany Reed

 pone    504-822-2414
  h   #: _ _ _ _ _ _ _ _ _ _ __                                                                              Server of Process


 at 619 South White Street                          RETURN OF DOMICILIAR Y SERVICE
                                                    THIS IS TO CERTIFY that       011
 In the case of:
                                                    I received the process of Court of which this is a duplicate.
 State of LA vs. Brandon Daggs

 Item# F-41017-13                                                                                         Recipient of Service

ICase # 517-559                                     THIS IS TO CERTIFY that on

        l ) Second Degree Murder
 Ch argels : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


                                                    (please write Recipient's name),
                                                    a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District
                                                    person to whom the said p_rocess of Court was issued, who was absent
 Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                    hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             38                                             OPDA00210
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 40 of 192

                           '

                 AdOO 301:1:10 'v'O 031.::HH:130




                                                                              SUBPOENA
                                                             A FINE AND IMPRls'ONMENT MAY BE IMPOSED
                                                                  FOR FAILURE TO OBEY THIS NOTICE.

                                                              Office of the Orleans Parish District Attorney
                                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                    To: ()b.a..jl.1              loj..._

                           t-.)e._o   C>VLG.ClJ"'I, (.A
                            1

                    You Are Hereby Norified pursuant ro
                    LSA.CCRP arL 66 ta appear before the
                    Disrrict Attom<:y for rhc l'arish of Orkans, to                                                           Rtrlpltnt of Strvlct
                    testify 10 the rruth according to your knowkdg,c
                    in such manen., moy be tcqUlml of you.             THIS IS TO C ERTIFY tha! . ,            {, 8-
                                                                                                           1
                    on     M~          ll I Z.01$'                     1 made due Personal Service
                                                                       the aforesigned Reclpitnt
                                                                                                     ,l,..,   by leaving same In tho hands of

                    at   '1· oo At-I
                                                                         Ob;~v,lu 1A1~,,
                                                                       (pltost wte Roclpitnt•s~.
                    lo Assistant District Atlorney:
                         \                                             the ptrson 10 whom the process Is directed.
                      SaYa..v, 'Do.w'k..i~ s
                                                                                  ~,i'=                                          Strvtr of Proass


                    at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                                       THIS IS ·ro CER'rffY thal on
                    In the case of.
                                                                       I received the process of Court of which this Is a dupllcale.
                    State of LA v s . ~...~ Arv:Jf:\09Y\

                    Item   t    1>-i!;~~--i:_o_-~1_4~-----                                                                    Rtt.lpltnl of Strv#Ct

                                                                       THIS IS TO CERTIFY thal on
                    Case # !2:ZCV"t:f>B
                    Charge(s): ~             <4f" veiaht,,,,. i        I made due Personal Service thtrear by leaving same In the hands of
                                                                       the aforesl1nod Reclpltnt


                                                                       {pt~as~ writt Rec/pfent•s namd,
                    lnstruct'ons:
                                                                                                                                          the
                                                                       a pe,$,On or suitable age and disttetlon, resldlns •t the: domicile of
                     Cont~ct !t'-e above named As.s1s?3nt 01-:,tut     petson lo whom the said proass of Court was Issued. who wu abstnt
                     Attoiocy uµoe receipt of th,s subpoena.           at the time. which lad I learned by Interrogating lhe p,rson In whose
                                                                       hands the said process wu ltft.
                     Brin~ this s.ubpoena 1.11th you to th~ D1stnd
                     Atlo(,cy's Olfi,e ,·.hen you appear to testofy.
                                                                                                                                 Strver of Procrss
                           [!

                                                                                                       )




                                                           39                                                                     OPDA00257
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 41 of 192



                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: DR. ANGELA N. TRAYLOR
                                                   RETURN OF PERSONAL SERVICE
     NEW ORLEANS, LA                               THIS IS TO CERTIFY that on
                                                     :S\JtJE,. \2. I 20 l'~                 t::>'-20     eM
                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
                                                    '™o:Tt,urma.k                                         Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

on 6/15/2015
                                                     :rvtJE \'2. . , 2.C~S                   't>',20 pM
                                                   I m de due ersonal Seivice thereof by leaving same in the hands of
    9a.m.                                          th            Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __


t9 Assistant District Attorney:
                                                                        the process is directed.
Arthur Bernard Mitchell IV
                                                                                C..-T R        (2..Tl-
          (504)
phone # : _ __  508-8530
                  _ _ _ _ _ _ __                                                                            Server of Process

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
                George Wells
State of LA vs. ____-_ _ _ __
          F-07836-13                                                                                      Recipient of Service
Itern #
      517-340
Case# _ ___   "F"
                _ _ _ _ _ _ __                     THIS IS TO CERTIFY that on

            Second Degree Battery
      ( ) : _ _ _ _ _ _ _ _ _ __
Charges                                            I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the _said process was left.
Bring this subpoena with you to the District
1'ttorney's Office when you appear to testify.
                                                                                                            Server of Pro~ess




                                                         40                                              OPDA00126
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 42 of 192




                                                                                                                             •


                                                            SUBPOENA.,.
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                FOR_FAILURE TO OBEY THIS NOTICE.
                                            Office of the Orleans Parish District Attorney
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Todd Bergeron                                    RETURN OP PERSONAL S.ERVJCE
             /69
                                                      THIS IS TO CERTIFY that oo
                                                       April 28, 2015

 You Arc Hereby Notified pursuant tn
 l.SA-CCRP art. 66 tO appear before the
 Dimict Attorney for <he P>.rish o( Orlaru. 10                                                             R•dpitnt of S•A'i«
 restilj, 10 <he tnuh oa:ording ro )'O\lt knowlcdg,
 in such matters u may be required ofyou.             THIS JS TO CERTIFY that on
                                                        7--.Ac.. ;3 · ·                                                      '
 on June 24. 2015
                                                      I made due Personal ~rvlce thereof by luvlng same In the hands ol
  9:00am                                              the aforesl1ned Recipient
 at_~------------                                        Tot,b "&.e~e,.t oN
                                                      (p1-osr writ• Rtdp~nt•s nam«).
 to Assistant District ,Attorney:
                                                      th1 person to whom th1 procoss 1, directed.
 Jeff Hall
                                                          ~.-,l..-£S'.
                                                                                                              Srrvrr of Pmctss
 phone #: 504.822.2414

                                                      RETURN OF DOMICILIARY SERVICE
 at 619 South White Street
                                                      THIS IS TO CERTIFY that on
 In the case of:
                                                      I re-celved tht proun of Court of whlch lhfs Is a duplicate.
 State of LA vs. _1rv_e_n_L_a_rs_e_n_ _ _ __

 Item# B-28321-14                                                                                           Recipient of Servict


 Case# 520-889                                        THIS JS TO CERTIFY that on

 Charge(s): _T_he_fl_ _ _ _ _ _ __                    I made due Personal Sttvlt t thereof by leavlnc same In the hands of
                                                      the afor•slsned Recipient


                                                      (pleas, write Rtcipltnt's nomt),
 Instructions:
                                                      a pe,son of sultabl• 111 and discretion, resl<lln1 at the domkftt of th,
  Contact the Jbove r.imed Assistant Distrill         p~rson to whom the said process.of Court WIS issued. who was absent
  Attorney upon rec eipt of lhis subpoen.1.           at th• time, which lact I learned by Interrogating the person In whose
                                                      hands the said process was left.
  Br,n!; lh1s subpoena,., th you to the D1str1ct
  Atto~n~y·~ Olt.c<! wtwn you ;,pp ear to testify.
                                                                                                              Sttvtr of Proctss




                                                                                                                            It



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                                                                                  41                                               OPDA00256
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 43 of 192




  ln such   rt         nuy be    .,c:d ofyore·                     THIS IS TU L:EKI lfY Illa! on

  on   j/3o/~15.> <Ject,bw •,-                                     I m1de due Personal Service thereof by leavtnr same in the hands or
                                                                   th• afa,esl&ntd Redplonl
  at   9:oooo
                                                                   {ploau wnre Recl,mn/~ name),
  ro Assistant District Attorney:
                                                                   the pmon to whom the process Is directed.
    Jetr /kif
  phone #:      (-,411) 3711- f "?{;t)                                                                                     S.rv,r of Process

  at 629 South White Street                                        RETUB,N OF DOMICILWlY SERVICE
                                                                   THIS IS l'O C:t.:11.'J"IFY t~ot on
  In the case of:
                                                                   I receiwd th, proce$S or Court or which this Is .i dupllcale.
  State of LA vs.      '1,,,.'11 tHl
  Item# _ _ _ _ _ _ _ _ _ __                                                                                             R1clpl1nt ofS.rvfc•

                                                                   THIS IS TO Cl::R11PY that on
  Case#     SiS-o':i~
  Cha,xe(s):       ib;v.,..,u bzw.f                                I m.ide due Pe1SOnal Service lhtntcf by luvlnc same In Iha hands of
                                                                   the aforHl111ed Rrcipient

                                                                   (plnse write Redpl,m's nam,),
  lnstn11:tions;
   Concc1tt the .,bow~ 11Jmnf A--s1~tant District
                                                                   a pt1Son of sullable  •J•  and di~lon, residing al the domlCII,, of the
                                                                   person to whom tile said precess or Court was Issued, who wa5 absent
   Attorney upon     ,c~e1f)l of lh1~   SlJbpoena                  ~t the !lme, which faCI I teamed by Interrogating the person in whose
                                                                   hands the said proc... was left.
   Brlll!1 (hi(_, '>llbpo,•na 1."1th you lo thr D1::.t1tct
   J\ttorncy'o;. O!hc:e t· t1Pn you apprJ.r to t... ~,,rfy
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       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 44 of 192

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                                                                               SUBPOENA
                                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                    FOR FAIWRE TO OBEY THIS NOTICE,
                                                               Office of the Orleans Puish District Attorney
                                                               CRIMINAL DISTRICT COURT FOR TH£ PAAISH Of ORLEANS


             To:   ~Jlh            ~uree/1, LSf                         RETURN OF PERSONAL SERVICE
                                                                       THIS JS TO CERTIFY that on


                                                                       I n,telved th• P1Dtl!Ss of Court of which this Is I duplltate.
             You Arc Hcn:by Notilic:J pursuant 10
             l.SA-CCRP m. 66 ID oppcar bcfo,., the
             Di,trict AtlD<n<-y for chc Parish ofOrlcam, to
                                                                                                                               R,ciplfnt of ~rvltt
             tmify to the rrurh 11t:a11ding ID you, knowledge
             in such   Attcrs .. may be rcqulrcd 0     ~~-
                                                                       THIS IS TO CERTIFY that on

            on     I  ~17.• Wim
                                                      0


                                                          'f           I made due Pt!Sonal Servfco theffl>f by leavtn1 same In the hands ol
            at     9:cc .;,,                                           the aforesl1ned Redplent


                                                                       (ploau wrlfe Recipient's nomc),
            to Assistant District Attorney:
                                                                       th• person to whom th• protess Is dlre<ltd.
              Jetr J-h//
            phone#:       {s;'I) 517-1?6C                                                                                        s,rwr o( Proass

            at 619 South White Street                                  RETURN OF DOMICILIAR.Y SERVICE
                                                                       THIS tSTO CERTI~'Y that on
            In the case of:
                                                                       I rtetlvetl th• process of Court of which this Is I duptltalo.
            State 0( LA vs.     '1,,it-)1 tf. ii
            Item# _ _ _ _ _ _ _ _ _ __
                                                                                                                              Recipient of ~rvtcc

            Case#      ':l J.S··O'.i~                                 THIS IS TOC:eRTJFY that on

        Charge(s):         1/:1:iwt'llte«   im;...I                   I mad• due Pt,sonal Strvlc• then,or by leaving same ln th• hands or
                                                                      tht afOttSl1ned Retlplent


            Instructions:                                             (pleas, write Rulplon/'J nom,),

        '   Con:act t >-e aho•Je 11,1med Asc-,1c-,t;rnt O s:uct       a flfflOO or wl!abtt ag,, and discretion, mldin1 at the domRite or the
                                                                      person to whom the said plOCHS of Court was Issued, who was absent
            Anorncy upon tecc1pt of th,s ~ubpocr,a.                   at the time, whlth ract I learned by lntem,gatlng the ptrson ,In whos,
                                                                      hands the said process was lel'L
            Buris tlu-. •,ubp oe11J v,,th you to the O stnct
            Atto•ncy·~ 0'fite :,i en ;:ou appe.1r to tc?l•fv.
                                                                                                                                Suwr of Procoss




                            "




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                                                                                                   43                                                OPDA00136
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 45 of 192



                                                              SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                            . FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 Tp: DR. ANGELA N. TRAYLOR
                                                       RETURN OF PERSONAL SERVICE
        METAIRIE, LA                                THIS IS TO CERTIFY that on


                                                       I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                              Recipient of Service
testify to the truth according co your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

on 8/4/2015
                                                   I made due Personal Service thereof by leaving same in the hands of
at _9a.m.
     _ _ _ _ _ _ _ _ _ _ _ __                      the aforesigned Recipient


                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
 Arthur Bernard Mitchell IV

pone
            (504) 508-8530                                                                                     Server of Process
 h   #: _ _ _ _ _ _ _ _ _ __

at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I
                                                       . :IuL½             ze        zatS            Lf~25eµ
                                                       received the process of CoGrt of which this is a duplicate.
 J
Suate o
       f LA vs. GEORGE
                _ _ _ _WELLS
                       _ _ _ __
  I
Itern
        # F-07836-13                                   :f\vlu.rf~ •Ji,U'I- ~ ~~n;                                      of 5eNi

 I _
Case# 517-340
        ___   "F"_ _ _ _ _ _ __                    THIS IS TO CERTIFY that on

             Second
Charge (s) : _ _ _ Degree
                    _ _ _Battery
                          _ _ _ __
                                                          :ruL':{
                                                          d
                                                                        2B,       z.o 15
                                                                     sonal Service thereof by leaving same in the hands of
                                                                      Recipient


Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time,~fact learned by interrogating the person in whose
                                                   hands the s,id tJcess as le
I Bring this subpoena with you to the District

· Attorney's Office when you appear to testify.            ~\ \ .                                              Server of Process




                                                              44                                           OPDA00125
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 46 of 192



                                                          SUBPOENA
                                       · A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DIST~ICT COURT FOR THE PARISH OF ORLEANS


To; Roy Brumfield




                                                   I received the process of
Yo~ Are Hereby Notified pursuant to
LS.(\-CCRP arc. 66 to appear before che
Diitrict Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTJFY th/ on

on 8/25/15
                                                          .        ' 'j/;;).4   15
                                                   I made due Personal Service thereof by leaving same in the hands of
   8:30 am                                         the aforesigned Recipient
at _ __  _ _ _ _ _ _ _ _ _ __




                                                                    w~t:Jl~is dB~
                                                   (please write Recipient's name),
to Assistant District Attorney:
Sarah Dawkins                                      the pe,son to

           504-571-2862
ph one # : _ _ _ _ _ _ _ _ _ _ __                                                                           Server of Process


at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
                 Myles Dolliole
State o f LA vs. _ _ _ _ _ _ _ __
Item# D-15138-14                                                                                         Recipient of Service

         520-312J                                  THIS IS TO CERTIFY that on
Case #
   .. () 14:34, 14:95.1
Ch arge s : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipjent's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
, Contact the above named Assistant District       person to whom the said process of Court was issued, who was absent
  Attorney upon receipt of this subpoena•          at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
. Bring this subpoena with you to the District
! Attorney's Office when you appear to testify.

                                                                                                            Server of Process




                                                              45                                        OPDA00218
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 47 of 192

       ...


                                           (_

                                                                SUBPO~NA
                                                A FINE ANO IMPRISONMENT MAY BE IMPOSED
                                                     FOR FAILURE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT fOR THE PARISH OF ORLEANS


   To: Jeffrey Fosler

        New Orleans, LA


   You Att Hcreby No1ifi<d punuani 10
   LSA.CCRP an. 66 10 appar bcfott 1hc
   Oisiria Altormy for !he 1':,rtsh of Orlans, 10                                                              Redpienl, of Ser,ice
   iestify 10 the cnoth according IO your knowledge                      '
   in sud, manmas maybe iaiuircd of you.                 THIS ISTO CERTIFY that on
   on August31,2015
                                                         I made due l'l!rsonal Servltt thereor by leaving same in lhe hands of
   at _10:00am
        _ _ _ _ _ _ _ _ _ _ __                           the aforesls.ned Recipient


                                                         (pl••~ wrllt Redpitnt'• name),
  to Assistant District Attorney:
                                                         the person to whom the proctss Is directed.
   Autumn Cheramie

  phone#: 827-6004                                                                                               Server of />roan

  at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                        THIS IS TO CERTIFY I/oat on
  In the case of:
                                                        I received the process of Court al whlch !his Is a duplicate.
  State of LA vs. Kyron Lolldon

  Item# G-39496-15                                                                                            Recipient of~•Nie,
  case , M52·507                                        THIS IS TO CERTIFY that an

  Charge(s): 14:64.3, 14:95, 14:34
                                                        I made due ~rsonal Service th•real by leavlns same In lhe hands of
                                                        the afoteslped Recipient


  lnstroctions:                                         (plea.. writ• R<dplent's nom",

  Cont.Jct the above nJrnc d As,~1stant Or!>lnct
                                                        a person of suitable ace and dlscreUon, resldlnr at the domldte of the
                                                        person to whom the said process of Coutt was issued, who was absent
  Attorney upon receipt of this subpc.n•nJ              at the time, which fact I loamed by Tntenogatlnr the person In whose
                                                        hand• the ,.1d process wos l•ft.
  Brn: g tt-1s subpcl'n,1 ;;1th ;:cu to the J,-.t•,ct
  A:tcrney·s O'hct! ~·,ten )rOJ ilPP(liJr lo tc!>:,fy
                                                                                                                Server of Pro<tu




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                                                                                   46                                                 OPDA00193
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 48 of 192




                                                                 SUBPOENA
                                                 A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                      FOR FAIWRE TO OBEY THIS NOTICE.
                                                  Office of the Orleans Parish District Attorney
                                                 CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To: Jawanna Par1<er                                     RETURN OP PERSONAL SERVICE
       New Orleans, LA                                    THIS IS TO CERTIFY that on
                                                           August 28, 2015
                                                          I received the process of Court of which this Is a duplicate.
  You A,e Hcrchy Nod6ed pursuanc to
  l.SA-CCRr arc. GG 10 appear before the
  OistriaA11orney for the Parish of Orleans, ,o                                                                  R•dpl•nt of s,rv1,.
  testily to die truth =rding to your knowledge
  in sud, marrcrs as may be ~uired of you.                THIS IS TO CERTIFY that on
                                                           August 28, 2015
  on August31,2015
                                                          I mad• due l'l!rsonal Service lhereor by leaving sam• In the hands of
     '.10:00AM
  at _  _ _ _ _ _ _ _ _ _ _ _ __                          the aforeslgned Recipient
                                                           Jawanna Par1<er
                                                          (pl.au write Rrclp/rnf's nomd.
  to Assistant Ofstrict Attorney:
                                                          the person to whom the: process Js dfrected.
  Zachary Popovich
                                                              ~~~·
  phone#: 504.822.2414                                                                                             Serwr of Process


  at 619 South White Street                               RETURN OF DOMICILIARY SERVICE
                                                          THIS IS TO CERTIFY that on
  In the case of:
                                                          I recelW!d the process of Court of which this Is a dupllcate.
  State of LA vs. Toriano GHlam

  Item# J-29196-15                                                                                              Redplenl of StrYlct

  case# 518262                                            THIS IS TO CERTIFY that on

  Charge(s): R.S. 14:37.4                                 I made due l'l!rson1I Service thereor by l,avlng same In the lgnds of
                                                          the aroreslgned Recipient


  Instructions:                                           (pleas• write Redpl•nl's nam,).
                                                          • person of sultable age and discretion. residing at the domfdle of the
   ContJtt thl ,1bove n,,mr>d As-;1stant 01str1c.t        p<!rson to whom the said pro,:ess of Court was lssu•d. who was absent
   At1orney urrnn rPce1 p t ol this sullpoen.i            at the lime, which fact I learned by lntem,gatlnr the person In whose
                                                          hands the said process was left.
   Brin~ this subpot.:na •,11th you lo l11e 01!>tr1ct
   Attnrnr-y·s Ofhce \'Jhen   yOLi   .1ppear to tesl1ty
                                                                                                                  Serwr of Prnass




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                                                                                      47                                               OPDA00259
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 49 of 192


                                                          SUBPOE
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

I
r   o: Ms. Kellie Diggs

       New Orleans, LA
                                                   RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on


                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP arr. 66 ro appear before rhe
District Attorney for the Parish of Orleans, to                                                          Recipient of Service
testify to the truth according co your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

on September 2, 2015
                                                   I made due Personal Service thereof by leaving same in the hands of
at _10
     __a.m._ _ __ __ _ _ _ __                      the aforesigned Recipient


                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Loui~usso

         504-606-6598                                                                                       Server of Process
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street
                                                   RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
Jn the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Calvin Blanks

Item# D-21251-15                                                                                          Recipient of Service

         M551-855                                  THIS IS TO CERTIFY that on
Case #
            Aggravated Assault/FRM
Ch arge (s) : _ _ _ _ _ _ _ _ _ _ __               I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, resi ing at the domicile of the
 Contact the above named Assistant District        person to whom the said proces_s of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                           48                                              OPDA00305
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 50 of 192



                                                          .SUBPOE
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Mr. Anthony Jones                              RETURN OF PERSONAL SERVICE

       New Orleans, LA                             THIS IS TO CERTIFY that on


                                                   I received the process of Court of which this is a duplicate.
You Arc Hereby Notified pursuant to
LSA-CCRP arr. 66 to appear before che
bistrict Attorney for the Parish of Orleans, co                                                          Recipient of Service
testify to the truth according to your knowledge
m such matters as may be required of you.          THIS IS TO CERTIFY that on

bn September 2, 2015                               I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient         ....._
at _10
     _a.m.
       _ _ _ _ _ _ _ _ _ _ __

                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Louis Russo

         504-606-6598                                                                                       Server of Process
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                · ;/,.-
                                                   THIS IS   TO dE~Y that on
1n   the case of:
                          .....,.......
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Calvin Blanks

Item# 0-21251-15                                                                                         Recipient of Service

          M551-855                                 THIS IS TO CERTIFY that on
Case #
              Aggravated Assault/FRM
Ch arge (s) : _ _ _ _ _ _ __ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                             49                                            OPDA00306
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 51 of 192

..


                                                                       SUBPOENA
                                                    A ANE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.
                                                       Office of the Orleans Parish Distri ct Attorn ey
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEAN
                                                                                                  S

     To: Cynthia Ramsdell, BF, DOB
            /19fi7                                             RETURN OF PERSONAL SERVICE
                                                               THIS IS TO CERTIFY that on


     You /Ire Hcrc,y Notified pursu1n1 ro                      I <ecffied tht process of Court or which this Is I dupllule
                                                                                                                          .
     LS/1-CCRP ar1. 66 to appear before the
     Disrritt /\t<omcy for the Parish ofOtlcans, 10
    testify to the tncth according 10 your knowledge                                                                 Rtc/pltnl of Sttvlct
    in such mmcr. as may be required gf you.                  THIS IS TO CERTlr-Y that on
    on Friday, September 4, 2015
                                                              I m•de due Personal Service thertor by leaving same In the
   at 3:00pm                                                  lhe aroreslgned Recipient                                  hands or


   to Assistant District Attorney:                           (please wrllt Rttlplcnl 's no~.

   PayalPatel                                                the person to whom the process Is directed. ·

  phone#:504_-2_34_·_24_2_9_ _ _ __
                                                                                                                     Strvcr of Proces<

  at 619 South White Street                                  RETURN OF DOMICILIARY SERVICE
                                                            THIS IS l 'O CERTIFY that on
  In the case or:

 State or LA vs. _v_a_n_Wh_l_te_ _ __ __                    I rtceived the process of Court of which this Is a dupllcate
                                                                                                                        .
 Item # ().0161_9_-1_s_ _ _ _ _ __
                                                                                                                  Rttfp/en / of Sttvlc,
 Case# M55218
            _4 _ __ _ _ __ _                                THIS IS TO CERl'IFY that on

 Charge ()
        s:
              14:(27)42.1/14:37/14: 35                       Sepre,,ci!...,         '3 8 t6JS
                                                           I made due Personal Sen,lte lhertof leaving same In the
                                                           t~ 1fomlgned Recipient                                  hands of

                                                               -ro~E
Instructions:
 Cont;icl !he Jbcjvr n:1med Ac.c;istJnt • ,strict          a person or sul11ble 11e and discretion, rtsld/ng 11
                                                           p<!rson to whom the said process ol Court was lss~.   the m/dle of the
 A'torr.ry upon rrc r ,pt cf th1c; subn.ien ,,             at the time, which facl I leorned by lnlerrora           who was absenl
                                                                                                         llnc the per,on In whose
 Brin{! this q1bppcr,,1 \·i1lh you 10 thf' 01<.trict
                                                           h a n d ~ process was I~.
 Artornry 's Of(1cb when you i1ppC',1r to fPst1fy                 t :.,..J:. -g
                                                                                                                   Server of Process




                                                                                        CERTIFIED DA OFFICE COPY




                                                                                        50                                                  OPDA00179
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 52 of 192




                                                                              SUBPOENA
                                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                FOR FAILURE TO OBEY THIS NOTICE.
                                                            Office of the Orlean s Parish Distric t Attorn ey
                                                          CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEAN
                                                                                                          S

          To:
                                                                      RF.TURN OF rERSONALSERVTCE



          Yuu Arc Hc:rcby Notified pur.suant tu
         LSA-CCR P art- 66 10 appear before 1he
         District A1romey for the Parish of Orleans, 10
         testify ro the truth oaonling to your knowledge                                                                     R~clp~nt of ~rv,a
         in such mom,rs as may be required of you.                    THIS IS TO C Elffll'Y that on

         on _ _            C\........,,1~'-1-'--'\r(..___             r mad• du• P,rsonal St,vlco rh<ereof by ltavlns . _ in the
                                                                                                                                 hands of
                                                                      the aforeslgn ed Recipltnt
         at_+\O....,_·
                   . \)=o""-----'1_--i,__,~!_Z-ipl'--
                                                                       is:1t1f\N µBZ:D&s:
         lo Assistan t District Attorney:                            (pl•••• wril• Rr<lp/enl'< nomt),
                                                                     the person to wMlm lhe p rI o
           ::D:Xoo.ld Qrut 1\                                                                    directu, s~
                                                                                                           · s

         phone# : _ _ _ _ _ _ _ _ _ __
                                                                     ~%( 1/"\           v?r~ --- --- -= =-                    ~ - , a( Proct<s

        at 619 South White street                                    RETUR N OF DOMICI LIARY SERVICE
                                                                     THIS IS T O C:ERTIFY that on
        In the case of:
                                                                     I recth1ed the prnress of Court c( which this I$ a duplicate.
        State of LA vs.     A)~<u) C?u:dt&:
        Item #   __,D""--_¢.......,~<-=~:;..\._\._-__,\'-''3,.___                                                          Rtclpi,nt of s,Mct
        Case# _       s~,. .~...o.--
                      _     . --3~\o~G.~--                          THIS IS ·ro CERTIFY thar on

        Charge(s):          \~'6 . a,             > 3M-c--          I mad• dut Porsonal So,vlc, lhertor by l•••lng samt In lht
                                                                    the aforHigned Redpli!nl                                   hands or


       lnstruClions:                                                {pltast writ~ R~cipl~nl'J nom~).

        Contact the ;:ibov~ named Assistant D sine!                 a ptrson of sullabl• ac• and dlscrttion, ~sldin1 al th• domlcllt
                                                                    ptrson to whom !ht said pr0<oss of Court was issued,              or tht
                                                                                                                             who
,       Attorney Lpon receipt of th1s subpoena
                                                                    at tht time, which fact I learntd by Interrogating th• person was abstnt
                                                                    hands the s.Nd proces~ was left.                              In whose
-...    8r,ns- th,s ~ubpor-n a \".1'h you to the O. sturt
        Attorney's   omce when you appear to tes1,fy.
                                                                                                                            Strv,r of Procus




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                                                                                                  51                                             OPDA00211
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 53 of 192




                                  52
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                                  53
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 55 of 192




                                                                                         SUBPOENA
                                                                   A FINE AND IMPRISONMENT
                                                                                             MAY BE IMPOSED
                                                                        FOR FAILURE TO OBEY Tlfl
                                                                                                S NOTICE.
                                                                   Office of the Orleans Parish
                                                                                                District Anomcy
                                                                   CIUMIHAl. OISTRJCr COURT
                                                                                            FOR THE                PARISH Of ORLWS

           To:   /U rf" th ,~ H6 Nf l.-j /
                                                                                RETURN OF PERSONAL
                                                                                                   Sl!RVICE


          You Jue Hcn:by Notified purs
                                            uant to                             ;;:celved the proces illo ~ of which this is a dupllcate
          I.SA-CCRP an. 66 to appear
         Dinrict A'.nomcy for the Paria
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         tSif y to the ouch at:aJCding to
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        on     'f-1$ - I~                                                         9- /e >> )$
                                                                               I made due Personal SelYfce
        at   'j: 3a J1 M                                                       the aforeslsned Recipient        thfle of by leaving same In
                                                                                                                                              the hands of
                                                                                 J<-AfHLGtJ;MJ ~
        to Assistant District Attorney:                                       (plfase write lled ~nt 's nom._J,
         & ti< t:r rfi-v,um~L-                                                the person to whom the
                                                                                                     process is directed.

       pho ne#:         '50 'f -         ~~>...-'Z. '-I' I          cJ
      at 619 South White Slre et                                              RETURN OF 0OMIOLIAl
                                                                                                  tY                SERVJCE
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      In the case or:                                                                                an

     State of LA vs. Hnl, >{LI../J                                           1 rcm ved lhe process of Cou
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                                  V                                                                      rt of which this Is a dupOcate
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     Item #         tl -" IY 9* - 1.6
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    Case#           5'-190Ck::a                                              THIS IS TO CERTIFY that
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    Instructions:                                                        (pl~ ~ wriR    Rttlpirnrs nom t),
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                                                                                                                                       was absent
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                                                                                                                                 COPY




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                                                                                                            54                                                  OPDA00134
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 56 of 192




                                                            SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR .FAIWRE TO OBEY THIS NOTICE.
                                                                                               '
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Jawanna Parker                                   RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
     New Orleans, LA
                                                      August 31, 2015

You Aie Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                            Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                      August 31, 2015
on September 17, 2015
                                                     I made due Personal Service thereof by leaving same in the hands of
    10:00AM                                          the aforesigned Recipient
Iat _ _ _ _ _ _ _ _ _ _ _ _ __                        Jawanna Parker
                                                      (please write Recipient's name),
to Assistant District Attorney:
                                                     the person t o whom the process is directed.
Zachary Popovich
                                                        ~73                                                   Server of Process
  h  # 504.822.2414
1pone : _ _ _ _ _ _ _ _
                        _ __

                                                     RETURN OF DOMICILIAR Y SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA vs. T oriano Gillam

Item# J-29196-15                                                                                           Recipient of Service

         518262                                      THIS IS TO CERTIFY that on
Case #
        s: _
Ch arge ()   _14:37.4
           R.S. _ _ _ _ _ _ _ __                     .I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient


                                                      (please write Recipient's name),
Instructions:
                                                      a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena .             at the t ime, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
. Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                             55                                            OPDA00260
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 57 of 192




                                                         SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


to:   Ola James                                    RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTrFY that on
                                                   IHv(§De,'1             q· /1 · /5
You Are Hereby Notified pursuant to
:tsA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on
                                                   tHOfl60A'{              Cf·[]~ IS
c)n September 30, 2015                                                1
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
M     8:30 AM
                                                         OLA TAME$
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                                          t e process is directed.
~arah Dawkins

.h     504-717-7287
     #:_                                                                                                    Server of Process
pone     _ _ _ _ _ _ _ _ __

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Alvin James
                  ------- --
            J-27688-13                                                                                    Recipient of Service
1tern   #
            518-444J                               THIS IS TO CERTIFY that on
Case #
            14:78.1
         s :_ _ _ _ _ _ _ _ _ __
Ch arge ()                                         I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                            56                                              OPDA00124
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 58 of 192

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                                                                      SUBPOENA
                                                     A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR FAILURE TO OBEY THIS NOTICE.
                                                     Office of the Orleans Parish Distrlct Attorne y
                                                     CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


       To· ,./'        0
            · urc.     I\'f 4M   Mc {}$·t                     RETURN OP rrutsONA L SERVICE.
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            l ~ ~l~Ot,ft.
       You J\r1.· lf1.-rt.•hy Nudlii·d pursu~nt cu
                                                             t 1ecelv1d the prot«s ol Court of which this Is a dupllcolo,
       l.'iA-<:CRr orr. 66 to "Pl'""' bcrc,re rhc
       l>inrkt Anumcv for the l',ri,h nfOrl,,:uu, tu
       tL-uify 111 the ,ni;h :K'C\Wing ml""" konwkJgc
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       in (U(h mom:n: ~ 111:1.y l"M: n-quin..J or you.       THIS ISTO Cf.ltTlfY that on

       on    Oc&w ~,               hri                       I mad• duo Personal S1tvlco thor,of by loovlns 5'1me In lh• hands ol
       at   CJ:3o     ~"1                                    rhe aforeslKnod Rec(piont


                                                             {p/,aS<! wrilf R,c/p/tnt'S "°""'),
       to Assistant District Attorney:
                                                            th• porson to whom th• proc.ss Is dlrectod.


    phone #:      (So'I] 317 -           '??fb
    at 619 South White Street                               Rl: ruRN OF DOMICILIARY SERVICE
                                                            THIS IS TO C:1'.lt111'Y lhal on
    In the case of:
                                                                                        /D /nL/3g 1f
                                                            I ~elved th~ process or Co~ or _,t;h this Is a dupllcatl!.
   State of LA vs.         ff e'Sf~ et. a,(,
   Item,       B- 1,rn~,y                                                         /-, Qo      0<1'r,4tt ..,:z::
                                                                                                                        R,c/pltn/ of S,rvlct

   Case#       5'/'t- '?Sf
   Charge(s): _ _ _ _ _ _ _ _ __
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   Instructions:
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   ContJct p·e above r aTcd Assii;!ant o:s.trict           .i person of suit~     •t• an illscrotlon, residlnc or lhe domlcll• of the
                                                           person 10 whom the said prouss of Court wos lssu1d, who was ~bsonl
   Attorney upari receipt of this !.UbpornJ.
                                                           at tho limo, which fact I lcilfncd by ln1011ogallng tho pc,son In who\•
                                                           hands the sold procoss was left.
   Bu~~ lh s subpoena \';1th you to 1hr C,stnct
   Attornct•'s Office when vou .ippear to testify

                                                                                                                         Servrr of rrocrn




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 59 of 192




                                                                 SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS' NOTICE,
                                                Office of the Orlc:i.ns Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To:   I(-,   O{l,w       St,..,e.. 1/w,ell,              RETURN OF PERSONAL SERVTCF.
                                                          THIS IS 'fll C:Ell"ril'V that on
        l1t"'itw      R,l,u flu¥.
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  You Ah• ltc.•n.•hy Nmili,•d rursuant 10
  l.~t\-CCIU' •n. 66 ,., appcor bcfon, rhr
  DistriL1 Artunw.-v r.,, the l'i,.ri...h ufOrl..,u. IU                                                          //t~n/    of-~tvl<•
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  in ,uch m•ncrs ._, m•y he rrquin:J of you.              nns IS TO CHltlll'Y Iha! on
  on    Oc-low $~ Pl$                                     I mad• dut Ptrsonal Strvlce thereof by leaving same In lhe hands of
                                                          lht aforoSIKned Reclplenl
  at   c:no AM
                                                          (pleas• wt/It 1/,c/pknt•s namd.
  to As5istant District Attorney:
                                                          lht p•rson to whom the process Is directed.


  phone #:     ('s"oc,)   ~?'I· T   J(p                                                                            s~rwr of Process

 at 619 South White Street                                RETURN OF DOMICILIARY SERVICE                      •
                                                          nns 1s TO cmr11r-v that on
 In the case or:                                                              Io   /o G ,/ 2:0,.,-
                                                          I JC"teivtd lhe procas of Court of whkh ltws Is a duplkare.
 State or LA vs.     /Jg~ u. af.
 Kem#      Ii'- 1611,-/'f
                                                                               /., :?<>   >e-tflbtt&~v,
 Case#    f)t- '1C!
 Charge(s): _ _ _ _ _ _ _ _ __




 Instructions:
                                                          • person of suitable a1e and dlSCll!tlon. rnldln~ at th• domlcilt ol lh•
  Contact t~e ~bave named Assist,1nt District             person to whom the said proctS5 of Court was ls.sue-d1 who w15 abnnt
  Attain<'}' upon receipt of this subpnLnJ.               at the tlm•, which f.Kt I leamod by lni.nogallng 1he person in who"
                                                          hands me said process was left.
  Buns: this s1ibpocnJ ,·J1th you to the DJstrict
  A"ornC"y's Office \'1t-rr1 you appc;ir to tes1,fy.
                                                                                                                  SttVtr-o/ Ptoc,"




                                                                                             CERTIFIED DA OFFICE COPY




                                                                                      58                                               OPDA00142
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 60 of 192




                                                                 SUBPOENA
                                                 A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                      FOR FAILURE TO OBEY THIS NOTICE.
                                                  Office of the: Or!CU1s Parish District Attorney
                                                 CRIMINAL DISllllCT COURT FOR THE PARISH OF ORLEANS


  To:   (kf. Ask       •        &..'bias                  RETURN OF PERSONI\LS ERVICE
        Ci,etN fc11tit          Dtll.                    THIS IS TO CliRTll'Y that on


 Y..,u An· 11,•n.-hy Ncniti1., J punu.tnl co             I 11!Celvcd lhe process or Court of which this Is a dupl~1e.
  I.SA.CCRP on. (,(, 10 •Jlll<'2' hcfon: tho
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                                                         th• afO<Hlgntd Recipl,nt
 at _ _    CJe._:'"""~- "-'""'"'----------
                                                         (p/,as, ,..,,. Rec/pirnl's name),
 to Assistant Dillrict Attorney:
                                                         the person 10 whom th• pro<ess " dlrt<ttd.
  Jrfr     lhlf
 phone#,      {50<() 3'1? ·17'0                                                                                 Sffrwr ~( Procru

 at 619 South White Street                               Rl!TURN OF DOMICILIA RY SERVICE
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 In the case of:
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                                                         I r«elvtd the process of Caurt or which this is • dupHcatc.
State of LA vs. ff,sff('          e.f. ctf,
Item#      8• /{'71-llf                                                                                       Rttlpknl of Sffvlct

Case #    S' f'I· '?~S                                  Tl It$ I.~ TO l:l'.ll"rll'Y 1h31 on

Cha11e{s): _ _ _ _ _ _ _ _ __




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                                                        person lo whom th, said proctss of Court wM lssu,d, who was abs•nt
 Attorrwy upon receipt of Hns subpoena.                 ot the time, which fact I learned by lntcrro1at1ng the person In whoso
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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 61 of 192




                                                                           SUBPOENA .
                                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                              · FOR FAIWRE TO OBEY THIS NOflCE.
                                                           Office of the Orleans Parish District Attorney
                                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                                   R£TURN OF PERSONAL SERVICE
                                                                   THIS IS TO CERTIFY that on
                                                                     9- lc,-1 5
   You Arc Hereby Nod6ed pursuan t to                              I received the J)fCcess of Court of which this Is a dupUcate
                                                                                                                               .
   LSA-CCRP art. 66 to appear bcfon: the
  Oisuict Arr.omey for the l'uish ofOrleans. to
  testify to the cruth IIXDiding to your knowledge
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  in such maltffl as may be rcquin:d <>f)'Ou.                     THIS IS TO CERTIFY that on

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                                                                  I made due PelSOl)ai Senke lhfflof by leaving same In the 'l\ands
  at     Y; '30/J M                                               the •~sign ed Redpltn t                                             of

                                                                    l4ft '/ll- lf~ tt~ "-Y
  to Assistant District Attorney:                                 (p~on writ, Rttlpknt 's no,,,.J,
                                                                  the p1rson to whom the process Is directed.
  /?J f'l~tr --f'/l,tr.),ti /It G' L
                                                                 ~~ fiit &/ ~"' P
 phone t:      ~'f 8J-2 ..-~y I 'I                                                                                        Serwr of Ptaass

 at 619 South White Street                                       RETURN OF DOMICILIARY SER.VICE
                                                                 THIS ISTO CERTIPY that on
 In the case of:
                                                                 I recelwd the process of Court of which this Is a duplicate
 State of lA vs. H u6 J./ l- y&} I                                                                                          .

Item#       A ..;,l'/9<;«-!5                                                                                           Rtdplent of SeMa
case, .5't"i'. '7>y:Q                                            THIS IS TO CERTIFY that on

Charge(s): /        SI : 6":z 3                                 I made due Personal Setvlce threof by leavlnf same
                                                                the aforeslgned Recipient                          In the hands <>f


Instructions:                                                   (p/eQSe write Rtdplen t's nDffld,

 (1,n!.ic: tht• ,ibo•.•f' n,,m{ d A<--.1s tant D1.-.h1rt        a person of suitable •I" and dlsaetlon, resldln,:
                                                                person to whom th@ said J)fCcess of Court was •t thewho d<>mklle of the
At•c:-nl'l' ur~n rc•ce·;>t 0 1 1•l1<, <..11!,;p >t>r.,1
                                                                at the tkM. which fad I learned by tnteno1a tlngIssued,     was absent
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        ti,.,.~                                                 hands tht Hid process WU lelt.
B,w~              ~po,_nJ ~.    •h )!OIi lf"I l !ac   O,q; c?
Atrorncv " O!lt(C \',h( n you ,1pp1:,1r to t r•<;!Jty

                                                                                                                        Semr of Proass




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     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 62 of 192




                                                                    SUBPOENA
                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                         FOR FAILURE TO OBEY THIS NOTICE.
                                                      Office of the Orleans Parish District Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


      To: Fe Medina                                          RETURN OF PERSONAL SERVICE
                                                             THIS IS TO CERl"IFY 1h11 on
                                                              TtJ~SOA't'.            !0-2,1-lS             (o'.3Df,,1
                                                                                 ss 1r Court or which this ls a duplicate.
      Ynu Arc Hereb)· Norlficd pursuant tu
      !SA. CCR!' arr. 66 to appear before the
      District Anornc:)' for du~ Parish ofOrlans, ro                                                                  Rtclp/tnl of Setvic,
      rc.uify to the uurh occording to your knowlcdg,:
      in .,uch 1nancrs ~~ may he required you.or
      on November 2, 2015
                                                                                       rvlce thereor by teav!n1 same In lhe hands of
      at _8:30am
           _ _ _ _ _ _ _ _ _ _ __                                                  lell'.I                                  , / t
                                                                                                                              dJlt~
                                                             (pl•••• wrltt Rtclpionl'S nomt),
      to Assistant District Attorney:
       WIiiiam Dieters

                                                                                                                        Sen,e, nf P ~ "
      phone II, (504) 827 6334

      at 619 South White Street
                                                             RETURN OF DOMICILIARY SERVI ~ ~ : I{f
                                                                                                 fL
                                                             nus IS TO CERTIFY that on
      In the case   or:
                                                             1 received the process ol Court or which lhl ~ ( _
                                                                                                                      ·w({:? Q
      State or LA vs. Antonio Gamez-Arguldo

      Item # 1-39745-13                                                                                        -     K,C/plt•l of   s,,;;;
      Case# 521·430 J

      Charge(s): Second-Degree Battery                                                                             n• In lh• hands of



      lnstrU(tions:
'                                                                                                              1t I~•   domlcllt or lhe
I     Contact the JbovP. named l\sslstont Distr1c.t                                                           ;ued. who was absent
I.    Attorney upon rcce,pt of this s:.ibpoc-m1

      Brin.'.! Urn. sub;,oeniJ ,·.,th you to lh'! r,stf1ct
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I     A•torncy's Olhce whf'n you ilppc,v to IE>!.l1fy
                                                                                                                        Strv,r of Process




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     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 63 of 192


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                                                                     SUBPOENA
                                                   A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.

                                                    Office of the Orleans Parish District Attorney
                                                   CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


      To: Alma Arauz                                          R£TURN OF PERSONAL SERVICE
                                                              THIS IS TO CERTIFY lhal on


                                                              I received the preens of Court of which this is a duplicate
      You Arc Hereby NorilicJ punu;1,n{ tu
      LSA-CCRP orr. 66 ro •pptar before ,he
                                                                                                                     R,c/plent of Serv,ct
      Diurict Anorncy for ch~ ft3rish ofOrlt>:tnr. co
      n:uify ,n th(: rruth ;u.:cnnJin8, tu ~•tktr knowltJgc
      ii. such m.1m:,s as m:sy be rcquircJ of )'O\l.

      on November 2, 2015

          11:00am
      ~'--- ----- ----- -
      to Assistant District Attorney:
       WIAlam Dieters
                                                                                                                       StNtr of Proc,ss
      phone#: (504) 827-6334
                                                              RETURN OF DOMICILIARY SERVICE
      al 619 South White Street
                                                              TfllS IS TO C.:~RTIFY 1h11 on
      In the case of:
                                                              I received the process of Court of which this Is a dupllca1e.
      Slate   or LA vs. Antonio Gamez-Arguido
                                                                                                                    Recipient of Strvlet
      Item # 1-397 45-13
               521 -430                                       THIS IS TO CER'l'lfY    that on
      Case •----- ------ -
      Charge(s): Second Degree Battery                        I made due Personal Service thertor by leavln1 safflt In the hands of
                                                              the aloiesisned Reclpl•nl


                                                              (pleost writt Rteipitn/'s namt),
      Instructions:
                                                              a person of suitable age and discretion, residing at the domlclle of the
       Contact the above named Assistant Dislnct              pen;on 10 whom the said process of Court was lssutd, who was absenl
       Attomey upon receipt of !hrs sabpoena.                 al th• lime, which fact I leemed by Interrogating lhe person In whose
                                                              hands lht said process was left.
       Bring th1.., s ubpoena with you to the Dii.lrict
       Attorney's Oftice v,hcn you appear to tesr.fy.                                                                  Strver of Process




                                                                                            CERTIFIED DA OFFICE COPY




                                                                                          62                                                OPDA00131
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 64 of 192




                                                                                  SUBPOENA
                                                                 A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                      FOR FAIWRE TO OBEY THIS NOTICE.
                                                                  Office of the Orleans Parish Distri ct Attorn ey
                                                                 CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                                          RETURN OF PERSONAL SERVICE
                                                                          THIS IS TO CER:TIFY that on
                                                                          WfotJeSPA'i lb ·Zl~IS
    You Ar< Hereby Notified pursuant to
    l.SA-CCRP art. 66 to appear before the
    District Atromey for the Parish ofOnca,u, to
   ,csdfy t0 me 1rud, aa:ordin g t0 )'OIIC knowledge
   In such mattett a, may be r<,qUired ofyou.                            THIS IS TO CERTIFY that on
                                                                         wtt>NES(B( /()·ZN S
                                                                        ::=?':(~~!
   on Monday, November 9, 2015                                                                                       2:wM
                                                                         I made duo Personal Seovfce tlten,of by leavln1 same In
   at 9:00a.m.                                                                                                                     tht hands of

                                                                        ~~ frn. kd 411:vtA:P
  to Assistant District Attorney:                                       (pl•••• wrltt Rtclp~nr•s nom~.
   Joseph 0. Zanetti

  phooe ,, 504-822-2414
                                                                                                                                 ~,.,., of Proctss

  at 619 South White Street                                            RETURN OP DOMICILIARY SERVICE
                                                                       THIS IS TO CERTIFY that on
 In the case of:
                                                                       I received the procKS of Court of which tlils Is t dupllcate.
 State of LA vs. Joe Alen
                    --- --- --
 1t em# G-37406-15
                                                                                                                             llttlp~nl of SIMClt
 Case # 526..051 I                                                     THIS IS TO CERTIFY lhll on
 Charge(s): Poss. of Cocaine
                                                                       I made due Personal StMa! lherwof by luvlng ,ame In
                                                                      the aforeslgned Roclplent                                 the hands of


Instructions:                                                         (please write R1c/pl1nt•• no~.
 (onlJc! Pu~ .1~:1:;r n1mPd /1...,c,               n .,,. r.:I        a person of suitable ise and discretion, residing at the donildle
                                        .;;';1"'
                                                                      person to whom the said process of Court was Issued, who          of the
 A:!urm ,,, upcn r('rP1pl of t/1   ~   'i Jbpnen,1                    at the time, which fact I leamed by lnterro1atln1 the person was absent
                                                                      hands the ,aid process was left.                             In whose
 o,,n!: 1111~ ~.1hpocnJ w1tt1 yod to the Oi-.trrct
 A•torr: f', s 0 11 er Ll•0n \P ,ippP,H •o trd
                                                             'y
                                                                                                                              s,,.,., of Proc,u




                                                                                                    CERTIFIED DA OFFICE COPY




                                                                                                   63                                                OPDA00132
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 65 of 192




                                                             SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.

                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                       RETURN OF PERSONAL SERVICE
                                                       THIS IS TO CERTIFY that on


                                                       I received the process of Court of which
You Are Hereby Notified pursuanr to
LSA-CCRP m 66 rn appear be(orc the
Oisrricr Anorn<y for the P.rish of Orleans, ro                                                               Recip~nt of StMet
rcslify ro rh• mi:h aca,rdlng ro your knowledge
in such minm u may be required of you.                 THIS IS TO CERTIFY that on

on     .S'l"W.v 2.1...,                   1..cJJS-
at ________ ______ __ _ __
         q: $0 "".,,,...._                             the aforeslgned Recipient                       k
                                                       I made due Personal Service i£reof by leaving same In the hands or
                                                                                        , /

                                                                  N/i\.J..u)a-,            VorM           ove
                                                       (pltase writ• Recipi,nt's nom,),
to Assistant District Attorney:
                                                       the person 10 whom 1he process Is dlrect•d.


                                                                                                               S,rvtr of Prot,ss
phone#:
                                                       RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                       THIS IS TO CERTffY th•t on
In the case of:
                                                       I received the process or Court of whith this Is a duplicate.
State of IA vs.   -~~-0_\¾-+-~A~v_\_1".)~
Item# _ _ _ _ _ _ _ _ _ _ __                                                                                 R,clp/tnt of s,rvict


Case#       si.·-s- z. 7s- "A'                         THIS IS TO CERTIFY that on


Charge(s):   _,.,_3_,-j_.\,______                      I made due Personal Strvke thereof by leaving same in the hands of
                                                       the aroresigned Recipient


                                                       (please write Redpient's name),
Instructions:
                                                       a person of sullable age and dlscn,tlon, residing at 1ht domicile of tht
 Contact lh,• ,ihov(' naml'c1 Ass1st.1nt D1str1rt      person to whom the said process of Court was Issued, who was absent
 Attorney upnn ,cce1pt of th,s sLibrirwn.1.            at the time, which facl I learned by Interrogating the person in whose
                                                       hands the said process was left.
 Br 11~ t111s c,11bpoen,t \'Hlh yoJ to th:~ O,slrict
Attornt'V s Offrce wlwn you Jµpear 10 le!>t1fy.
                                                                                                                S<rvt!r of Process




                                                                                      CERTIFIED DA OFFICE COPY




                                                                                      64                                             OPDA00187
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 66 of 192




                                                              SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY nus NOTICE.
                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To: Gregory Mewman                 /1977             RETURN OF PERSONAL SERVICE
                                                       THIS IS 'fO CERTIFY that on
                                                                         11·,1-   J·
                                                       I received the process of Court or whith this Is a duplicate.
  You Are Hcrcb" Notified punuanr to
  LSA-CCRP m . 66 ro appear before the
  Dlmic1 Auornc,• for rhc Parish ofOrlcaru, 10                                                                Re<lpirnt of Ser,/<c
  1c:srify 10 the ,ru;h according to your knowledg,:
  in such nunttt ;15 may be rcquin.-d of you.

  on Tuesday (lctober 6, 2015
                                                       I made due Personal Service thereof by leaving same In !he hands or
      9:30am                                           the afon,signed Rttlpienl
  at _______ ________
                                                               GA...-y, "f /'✓~"'               A.J
                                                       (pl•••• wrltt Rtcipitm's nomtJ.
  to Assistant Dl:;trict Attorney:
                                                       the person to whom the process Is direcied.
  Payal Patel
                                                                                                                Sttvtr ofPrGctSS
  phone#: 504-._?3_4_-2_4_2_9_ _ _ __
                                                       RETURN OF DOMICILIARY SERVTCE
  at 619 South W1ite Street
                                                       THIS IS TO Cl!RTIFY that on
  In the case of:
                                                       I received the proce,s of Court of which this Is a duplicale.
  State of LA vs. DameU Bullock

  Item# H-378i8•15                                                                                           Rtclpient of s,,vice
                    ------- ---
                                                       THIS IS TO Cclffll'Y that on
  Case#
  Charge(s): Attempted F0<cible Rape                   I made due Personal Service thereof by leaving ume In lhe hands of
                                                       the afortSlgned Recipient


                                                       (pleos, write Rccipltnt·s name),
  Instructions:
                                                       a person of suitable age and discretion, residing at !he domicile of the
  Conlacl the ab    r named Assis!Jnl D1slrict         person to whom !he said proctSs of Court was Issued, who was absenl
  Attornr1 upcn ;Nt:1pt of thls subpoena               al the lime, which fact I learned by lnterrofatina the person in whose
                                                       hands the uid process was leh.
   811n~ this subp C!na v.,:h yc.u to the 01strict
  AttornPy's Othc when you apprar to tt:sl1fy.
                                                                                                               Strwr of Pro,~ss




                                                                                       CERTIFIED DA OFFICE COPY




                                                                                65                                                   OPDA00197
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 67 of 192

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                                                                SUBPOENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


     To: laron Brc>wn                                    RETURN OF PERSONAL SERVICE
                                                        THIS IS TO CERTJFY that on
                                                                oc.::zr ?!!> 0 ,., :s-
                                                        I received the process of Court of which this is a dupllca1e.
     \'oo Arc Hereby Notil\~d pursuant to
     LSA-CCRP arc 66 to appear bcforc the
     Distncc Attornc y for chc Parish of Orlons, 10
                                                          ./d¥iaJ;,< lu ~                                      Rrcipient of Service
     tesufy ro the rru h according 10 your knowlcdg,,
     in ,uch n1a11crs ,s may be required of you.        TH IS JS TO C EI\Tll'Y that on

     on October 1_s,_2_0_1_s_ _ _ _ _ __
                                                        I made due Personal Service thereof by leaving same in the hands of
         10:30                                          the afores,gned Recipient
     at _ _ _am_ _ _ _ _ _ _ _ _ __


                                                        (pleost writt Rtc,p1tnt's numt),
     10 Assistant District Attorney.
                                                        the person lo whom the process is directed.
     Autumn Che1amie

     phone #:   827•_60_0_4_ _ _ _ _ __                                                                          S,rver of Process

     at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                        THIS JS T O C:ERTlfY that on
     In the case of,
                                                        I received the process of Coun of which this is a dupl"cate.
     State of LA vs. A
                     __ra_n_M_c_c_o_y_ _ _ __

     Hem# 1-1529_,-_1_5_ _ _ _ _ __

     Case#                                              THIS ts TO CERTIFY that on

     Charge(s): 14:1_
                    2_
                     7)_3_0._1_ _ _ _ __
                                                        I made due ~rsonal Service !hereof by leaving same in 1he hands of
                                                        1he aforesigned Recipient


     Instructions:                                      (please write Recipient's name),
                                                        a perscn of suilable age and d,si retioo, residing at the dom"cile of the
     Contact the abo11c named Assistant D1stnct         person to whom the said ~rocess of Court was issued, who was absent
     Attorn~y upon rt:ceipt of this svbpaen.1           at thf! time, which ract I learned by interrogating the person in whose
                                                        hands lhe said process was left.
     Brmg this subpoena with you to the D1shict
     Attorney"s Office when you appear to test,Jy.
                                                                                                                StrYtr of Proctu




                                                                                       CERTIFIED DA OFFICE COPY




                                                                                           66                                         OPDA00155
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 68 of 192




                                                                    SUBPOENA
                                                   A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.
                                                    Office of the Orle:llls Parish District Attorne y
                                                   CRIMINAL DISTIUCT COURT FOR THE PARISH Of ORLEANS

   To: Rosalind Brown

       Newfrlua ns, LA


  You Ar< Hcr,l,y Nouficd pursuan, to
  LSA-CCRP an. 66 to appear bd"ore 1hc
  District Auomo:y for the l'orish or Orleans, ,o
  <fflify ,o du: nuth xwrding ro your luiowfcdgc
  in such maue,s as m•y be r,qulred of you.                THIS IS Tp CERT IFY that on
  on October 2_
              e ,_2_0_1!,
                       _ _ _ _ __                            uho11£
                                                                I    I
                                                           I m1clt clue Ptrsoral ServlGt thereof by leaving ••m• In tho hands of
  at ____
     8:30AM ____ ____ __                                   the afOA!Slgned Recipient
                                                            ::RoS4- Ll 111..ef       '.6::mµt,\,
                                                           (p/•o•• wrlr, U cip~nt's nomf),
  to Assistant District Attorney:
  Sarah Dawkins                                            th• ~rson       h m the process Is directed.
                                                                                             SC-7 -MoPJ>               I b •~,.IS °'
  phone#: 504-5_7_1_·2_8_62
                          _ _ _ _ __                                                                               s,,.,,, of Procfll
  at 619 South White Stn!et                                RETURN OF DOMJCIL IARYSE~ VICE
                                                          THIS IS TO CERTIFY 1ha1 011
 In the case of:
                                                          1 rKeiYed the process of Court of whldl thb is a dupllute.
 State of LA vs. Frederlci< Anderson
 Item # J•27692·1 4
                   ---- ---- -
 case, 522-734_ _ _ _ _ _ __                              THIS IS TO CERTIFY that on
                                                                                                                Recipl•nl of ~,vice


 Charge(s): 14:e2_._2_ _ _ _ _ __
                                                          I made due Personal Ser,lce thereof by leaving same In the hands of
                                                          tho aroreslsned Recipl,nt


 Instructions:                                            (pt,ost writ, Rrcipient's namt),
 Cor.tact l'ie J~ct,e 11,rncd As!.i">tant 01str,ct       1 ptrs011 of suUable •ll•  ancl discretion; resldinc at the domlcRe or the
                                                         person to whom the said process of Court was Issued. who
 Attorn('y upon rhcipt of this subpornJ                  at the lime, which ract I learned by lnterrosatlnc lhe person was   absent
                                                                                                                         In whose
                  I
 8r1r ~ ths subpt,c:1r1
                                                         hands lht said process was ltft.
                          \'111'1   yo~ !o !h~ O slHct
 Attorney's 0th{' \·,h~n you Jppear to testify
                                                                                                                 Sfflltt   of Procns




                                                                                         CERTIFIED DA OFFICE COPY




                                                                                       67                                               OPDA00194
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 69 of 192




                                              , .                                           ,.
                                                               SUBPOENA
                                               A FINE ANO IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                                 Office of the Orlean s Parish Distric t Attorne y
                                                CRIMINAL DISTRICT COURT FOR THE PARISH DF ORLEANS


 To: Deandre a Lagarde




 You Arc Hereby Notified pursuanr ,o
 LSA-CCRI' •r • 66 to oppcar before rhc
                                       or
 Dirrria Arrorn ;y for the Parish Oricons. 10
                                                                                                                Rtclplenr of s,rv1c,

 cemfy 10 ,he u,,d, acconirng to your knowledge
 in such marten as may be required ofyou.
 on Novembor 2, 2015
       _ _ _ _ _ __ _ __ _ __
 at _ 8:30am



 to Assistant District Attorney:
 William Olet~rs
                                                                                                                   Server of Proctss
             (504) 827-6334
 phone #:

 at 619 South White Street
                                                         THIS IS TO CERTIFY that on
 In the case   o ':
                                                         I rec.lved the process of Court or which this Is a dupllc.ate.

                      --- --- ---
 State of LA v,;. Dillon Percy

 Item# A-34!1_·0_1_-1_s_ _ _ _ _ _ __
                                                                                                                Reclpienr of S~n,,lc~

                                                         THIS 15 TO CERTIFY lhat on
 Case # 524-175
                --- ---_---             -
                                     Batt.:
              Aag. Batt.; Dom. Abuse
                                 __   __                                                                                 of
 chargc (s:) _·_ _ _ _ _                                 I made due Personal Service Utereof by loving same In lhe hands
                                                         the aforeslsned R•<iplent
 Dom. Batt. involving Strangul ation

                                                         (pitas• wr//t Rtdplent's nam~.
 Instructions:
                                                         a person of suitable •1•   and discretion, , ..iding at the domicile or the
                                                                                                                        was absent
  Contact the above named Assistasl o:s111ct             pe'5on lo whom the said process of Court was i.s~d. who
                                                         ot the llmt, which facl I learned by lnterrogatln1 lhe person In whose
  Attorney   upoh     receipt   ar lhis subpo('nJ.
                                                         hands lh" salct process WH len.
  Brin!!' th\S subpoE>na with you to the 01'itrict
  Attorney's od,ce when you appear to test,ry.                                                                     Strver of Proc,ss
                 I
                 I




                                                                                      CERTIFIED DA OFFICE COPY




                                                                                    68                                                  OPDA00180
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 70 of 192




                                                                         SUBPOENA
                                                      A FINE AND IMPRISONMENT       MAY BE IMPOSED
                                                           FOR FAILURE  TO   OBE Y THIS NOTICE.
                                                                                                      y
                                                                   Orl ean s Parish District Atto rne
                                                       Office of the
                                                                                    THE PARISH OF ORl(ANS
                                                      CRIMIN,t.L DISTRICT COURT fOR


                                                                                         VICE
          To:
                                                                   RETURN OF PERSONAL SER
                                                                   1 MIS'I~ ·ro Cl!R"l1FY lhal on

                                                                                                     whl1 11,1,1s a dupllcalo.
                                                                   I raalved the process of Court of          .,
          You Arc Hcre b, Notified purs u>nr
                                             10
                                                  « the                   -~·           t.                                 Rtclpltnt of Strv/c,
          l.SA-CCRI' .,. 66 10 appc•r hcfo
          Dlnr ict Anomcy for th< l'2ris
                                            h or Orleans, to
          rmif y 10 1he <ru :h a«on .ling ,.,
                                              your knowledge
                                                     you.          nns IS TO CERTIFY !hat on
          in such mnn m :u may be required of
                                                                                                      of by leavlnr same    In the hands ol
          on Nov emb er 5, 2015                                    I m•d• dut Porsonal Str•l ct there
                                                                   the 1foreslgnod Reclpltnl
                    _______
                   am                         _ _ _ __
          at _8:30
               __

                                                                    (pleas• wrllt Recipltn/'J nom,),
           to Assistant District Attorney:                                                           ss Is directed.
                                                                    the person 10 whom !he proce
           WIHlem Olel<!fS
                                                                                                                              Stm r of Proc,SJ
           phone # , _(50-$
                         __) 827- _ _ _ _ _ __
                             _ _6334
                                                                                          SERVICE
                                                                    RETURN OF DOMICILIARY
           at 619 South \Vhlt e Stree t
                                                                    nus IS TO CERTIFY that on
           In the case o ':                                                                            whkh !his Is • d~pliclle.
                                                                    I received the process of Court or
           State of lA v ;,                                                                                                 Rtclp/,n/ a{ S•rvlct


           Item     &__
                _____
                                    --_--
                    r-Jl••••• I- --__   _                           THIS IS TO Cf.llTll'Y thal on
    ,--    Cas e,.
                                             a 4th; (Jx)                                               of by loavln1   same In the hand s of
            Char ge(s) : Pos s. ol Mar ijuan                         I made due Personal Serv kt thtrt
                                                                     the aloreslgned Reclplenl
                                                   rs
            Con  t. lo the Oellnquency ol Mino

                                                                     (plto.<e wrlle Rtclpient's nom~
                                                                                                       .
                                                                                                                                           of the
            Instructions:                                                      of sulta bl• 11e  and discr etion, resldlns 11 th• domicile abnn t
                                                                     a ~•o n                            ss of Cou11 was lssut d, who was
                                                lanl Oislrlcl        person 10 whon, !he said proce                                  n In whos e
                Conlact the bovc name d Assis                        at lho lime, which fatl I
                                                                                                l~arned by lnlerrogat' nc the  perso
                                                   oena.
                A1tomcy up n receipt of Ihle; subp                   handi the sild process w• s
                                                                                                    tett
                                               lo lhe  Oislrict
                Bring !his s bpoe na 1•uth you
                                                  ar to lcst,ry.                                                                Strv, r of Proctss
                Altomey's Olfrce 1·1hen you appe
                             I




I                                                                                                  CERTIFIED DA OFFICE COPY

I
I




                                                                                                  69                                                 OPDA00178
            Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 71 of 192

        '   ..




                                                             SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.

                                               Office of the Orleans Parish District Attorne y
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: JUNNA BROWN                                       RETURN OF PERSONAL SERVICE
                                                      THIS IS TO CERTIFY that on

                                                       '
                                                        J/-5r- 15
You Are Hereby Notified pursuant co
LSA-CCR P art. 66 co appear before the
                                                                                                             Recipient of Service
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
in such macrers as may be required of you.            THIS IS TO CERTIFY that on
                                                       //-5-I S               !tr         Io~ 5o ,:f-,m .
on 11/6/2015
                                                      1 made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __
    9am
                                                           :So,Jd k1- 64,A.J,J.
                                                      (please write Recipient's name),
to Assistant District Attorney:
                                                      the person to whom the process is directed.
    Arthur Bernard Mitchell IV
                                                       ;f;k;k_64                   /Z              G~r-- ~
               (504)
    p hone # : _ __  508-8530
                      _ _ _ _ _ _ _ __                           7 -----                                 ~.;ef roru,
                                                       RETURN OF DOMICIL IARY SERVICE
at 619 South White Street
I
                                                       THIS IS TO CERTIFY that on
11n the          case of:
                                                       I received the process of Court of which this is a duplicate.
                     SEVERIN, ET AL __
    State o f LA vs. ____ ____
                 L-16980- 14                                                                                  Recipient of Service
    Itern #
                 523514                                THIS IS TO CERTIFY that on
    Case #
                     Illegal Possessi on of Stolen
          ( ) : _ _ _ _ _ _ _ _ _ __
    Charges                                            I made due Personal Service thereof by leaving same in the hands of
                                                       the aforesigned Recipient
    Things

                                                       (please write Recipient's name),
    Instruction s:
                                                       a person of suitable age and discretion, residing at the domicile of the•
     Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
     Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
     Bring this subpoena with you to the District
     Attorney's Office when you appear to testify.                                                              Server of Process




                                                               70                                              OPDA00215
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 72 of 192




           ,. _,.,.,. -·- -
                                                                            SUBPOENA
                                                         A ANE AND IMPRISONMENT MAY BE IMPOSED
                                                             FOR FAILURE TO OBEY THIS NOTICE.
  !. ...                      ;       ·,
  Y .                                 -.,
                                                         Office of the Orleans Parish District Attorney
   ·~~ .-. :. /
   1\-1 •....__ .. •.•--:,                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Tammy R chard                                                    RETURN OP PERSONAL SERVICE
                   t                                                                                            .-
                                                                         I TO CERTJPY that on
                                                                      TH~IS
      New Orleans, LA
                                                                          - ~                         · Zc/~
                                                                         '
                                                                      I rwcelved the process or Collft or which this ls a duplicate.
 You Ace Herth:' No1ified pursuant to
 LSA-CCRP an. 66 to appear before the                                                                                        Rtdpltnt of Sttvl«
 Di1triaA11ome, for die Parish ofOrlans, ID
 =l(y to the uuoh aa:o,ding to )'OUr knowledge
                                                                      THIS ISTO CER.TIFY that on
 in=-~ ~,. may be required of you.
 o n ~ 9, 2015                                                        I made due Personal Service therwol by leaving same In the hands of
                                                                      the aloreslrned Rldpltnt
      _ _am
 at _10:30 ___ _ _ _ _ _ _ __

                                                                      (pltoH writt Rtdpknt's nomt),
                                                                      the person to whom the process ts directed.

                                                                                                                                s,,..,.,.of Proetss

                                                                      RETURN OF DOMICILIARY SERVICE
 at 619 South White Street
                                                                      THIS IS TO CERTIFY that ~"/
 In the case of:                                                          Aht/e;<,R fh              ,...    Z,::,,, , -
                                                                      I received the procus of Courf of which this Is a duplicate.
 State of lA vs. Charles KenneU
                                                                       r...7'YJ12...2  i~
 Item# 1-194:39-15                                                    R,411;( ~,t/(A."L ~.                                    R,dp/ent of ~rvlce

 Case# _ _ _ _ _ _ _ _ _ __                                           THIS IS TO CERTIPY that on

                :64_._3_ _ _ _ __
  Charge(,s): 14_                                                     I made due Personal ~rvtce thereol by leavlnr HIM In lh• hands of
                                                                      the aforeslped Recipient


                                                                       (pitas• write RecipltM's nomc).
  Instructions:                                                                                                                           the
                                                                       a person of suitable age and dlsaetlon, residing at the domklle or
   (ontJct lhe ~bn:~ nJml!d A<is1c.t;;rnt D1St(1f l                    peoson to whom the said pro~ or Court was Issued,peosonwho was absent
                                                                       at the time, which fact I learned by lnterroptl ng the     In whoso
   ,'\'lo 1cy ~por: 'l.CL,f'' ur !h1~ -.ub:w"n.i
                                                                       hands the said pmcess was left.
   Bnn::; 'ti    C,   r,ut>pOr>r',l   \, l'h ),OU In t'1e Die,!• ct
   Al!1;rney·s Ulht•• :,lll'll ynu ,1ppe,1 r l o !r::ih'y                                                                        Strver of Procw




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                                            ...




                                                                                                    71                                                OPDA00170
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 73 of 192



                                                                                                                                      ...




                                                                  SUBPOENA
                                                  A FINE AND IMPRISONMENT MAY B£ IMP8SEO
                                                       FOR FAIWRE TO OBEY THIS NOTICE.
                                                   Office of the Orleans Parish District Attorney
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To:
(}/2,R1·s//,v6-                    1,vJ,,' /-6
                                                                                                           dupU<ott.
  You Are Her,:by Noc16ed pursuant 10
  LSA-CCRP 1rt. 66 10 appear before ihe
  Oiscria Anorney for the Pati,h oF Orleans, ro
                                                                                                             V ll•clpltnt of Strvkf
  tesrilyto the t:llth acconllng 10 your knowlcdgc
  in such matters u may be required oFyou.                THIS ISTO CERTIFY th~ on

 on_//- f- IS                                                            JI-         &r        I~
                                                          I o,adt du• ~rsonal Servi« thereof by leaving nme In the hands of
 at _ __,_,/~--·_3_o~p_.m_.__                             th~fun!sJcned ~•dpleot                •

&J 'J ~?. .w/2,-rc ~,;-:                                  u '/2.Bdi<,..,f
                                                          (pl,,,., wrlre 11,cJpi,nl's name),
                                                                                               J&d,,fp
  to Assistant District Attorney:
                                                          the person to whom the procus Is directed.
  ,/,:!&,;v t!r,_,,//J,PA ~                                INVESTIGATOR M. J. AUDIBERT
                                                                                                                 S•Mr of Prot!.ss

 at 619 South White Street                                RETURN OF DOMICILIARY SERVICE
                                                          THIS JS TO CERTIFY that on
 In the case c,f:                                                                     X

 State of LA ~s.     NA+ h A., I &!k 'Sc/<ws,.i
 1tem #   ....f:- z. z. S'i'l-11
 Case #_,So~ -             Cf'(?-£                       THIS IS TO <;:~RTIFY that on
                                                                     It,- 6-1s
 Charge(s):       /j'. S. /J/ ." 3       0               I mad• du• Ptrsonal Service thereof by leavlnr same In th• hands of
                                                         the aforesl1n•d Redp/ent
                                                            e 111<,·5/,,,ve
                                                         {pt,..,, writ• R,c/p/tnt's nomt),
                                                                                           wLte
 Instructions:
 CorllJct the abo~t• nJmr. d A';s1slan! D1stmt
                                                         • person of sultabl• are and discretion, residing at the domldle or the
                                                         person to whom the Rid process of Coun was Issued, who was absent
 Anormy upon 1cu·1pt of thi s subpo~n.1                  al the time, which fact I learned by (nterrogatlng the person In whc,se
                                                         han~ the s1/d proct5s was left.
 Bw1!! l111s subpoc>ria \'.'1th you lo Ilic C1'>I 1Ct
 A:tcrn~y·s 0!'1 ce ~. ht'n ;mu Jp,:::e;;ir to (('~•Jy
                                                         INVESTIGATOR M.J, AUDIBERT
                                                                                                               Serwr of Ptoceil




                                                                                          CERTIFIED DA OFFICE COPY




                                                                                           72                                               OPDA00123
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 74 of 192

           I   I   I   r




                                                           SUBPOENA
                                         A FINE AND IMPRISON,MENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: MS. EGENA PAYTON                                RETURN OF PERSONAL SERVICE
 '
    NEW ORLEANS, LA



You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
                                                    x                                                     Recipient of Service
tcfstify to the truth according to yow- knowledge
in such matters as may be required of you.          THIS IS TO CERTIFY that on

on 11/18/2015
                                                     /1-/1-L 5
                                                    I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __
    9am
                                                     {?-, f b&Jtl            fA•'{TD "{
                                                    (please write Recipient's name), .
to Assistant District Attorney:
                                                    the person to whom the p
Arthur Bernard Mitchell IV
                                                    C,
        (504) 508-8530                                                                                       Server of Process
                          __
pone
 h   #: _ _ _ _ _ _ _ _ _
                                                    RETURN OF DOMICILIA RY SERVICE
at 619 South White Street
I                                                   THIS IS TO CERTIFY that on
1/n the case of:
                                                    I received the process of Court of which this is a duplicate.
                _KEVIN PAYTON _ __
Sta te of LA vs. _ _ _ _ _ _
          H-02040-15                                                                                       Recipient of Service
Itern #   s:z.:~~
      525-899
        ___   "C"
               _ _ _ _ _ _ __                       THIS IS TO CERTIFY that on
Case# _

            Unauthoriz ed Use of a
      ( ) : _ _ _ _ _ _ _ _ _ __
Charges                                             I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient
Motor Vehicle

                                                    (please write Recipient's name),
Instructions:
                                                    a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                    hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.                                                               Server of Process




                                                             73                                              OPDA00205
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 75 of 192

     ..

                                                                                                .,,
                                                                   SUBPOENA
                                                A ANE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR FAILURE TO PBEY THIS NOTICE.

                                                  Office of the Orleans Parish District Attorney
                                                 CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                            RETURN OF PERSONAL SE.R.VICE
                                                            THIS ISTO CERTlfY lhat on


                                                            I rcttlved the process or Court or whlth this is • duplkate.
 You Arc Hcrcl,y Norlfied pursuant to
 l.SA-CCRP arr. 66 10 appear ~fore the
 District Attorney for the Parish of Orleans, to                                                                  Redp/enl of Suvice
 1e,t1ry 10 the 1n,d1 aa:ording to your knowledge
 in such ,narrcn a, may be n:quimi of you.                  THIS rs TO CERTIFY that on

 on DECEMEIER 15, 2015
                                                            I madt du• P<rsonal St,vl,;e thertof by teavln1 same In lht hands of
                                                            the afortslfned Recipient
 at 3:30pm

                                                            (pl,as• writ• Reclplrnl's na,po),
 to Assistant C•istrlct Attorney:
                                                            !he penon   10 whom   the process Is dlrttted.
  PAYALPATEL

         504-234•2429
           _ _ _ _ _ _ _ _ __                                                                                       Ser,er of Proc•ss
 phone#: _

                                                            RETURN OF DOMICILIARY SERVICE
 at 629 South White Street
                                                            THIS 1S TO CERTIFY that on
 In the case Ol:
                                                            I received the proctss of Court of whlth this Is • duplkate.
 State or LA vi.. _ _ _ _ _ __ __ _
                                                                                                                  Roclpl,nt of Strvlco
 lt'1n #
                                                            THIS IS TO CERTlfY th1t on
 Case#

                                                            I madt due Personal Setvlte thereof by leaving same In the hands ol
                                                            the aforeslgned Rtclplent


                                                            (pl•a•• wt/tr R,c/pi•nl's namo),
 Jnstruclions:
                                                            1 person or sultable •ft and dlscrtllon, rtsldlnf at tht domlclle of lhe
 CoflJJCI lhe J ov(' n,1med flss1stJnt District             person to whom th• uld process of Court was Issued. who was abstnl
 A\lp111cy upo,l ,ere,pt or this subpoena                   al the lime, which ratt I learned by lnlerrogatlns the person In whose
                                                            hands the said process was left.
 B1fo!! Hu~ su~poC'r:ci ~·.,th ',Ot. to 1hc- c,strict
 At tornt!y'S O'llu:~ \'/h('r, vou appC1 ar to t<'sllry
                                                                                                                   Servrr of Pro«U




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                                                                                         74                                              OPDA00319
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 76 of 192



                                         -               SUBPOEN#
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Verkeicher Thomas




You Are H ereby Notified pursuant co
LSA-CCRP art. 66 to appear before che
District Attorney for the Parish of Orleans, to                                                          Recipient of Service
testify t9 che truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

on Wednesday, January 6, 2016                                   1-      LJ-J L,
                                                   I made due Personal Service thereof by leaving same in the hands of
     9:00                                          the aforesigned Recipient
· at _ __AM
          _ ____;_ _ _ _ _             _ _.,_

                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the pe,son to whom the ~o~••}./5 ~
 Sarah Dawkins

           (504)717-728
phone #. : _ _ _ _ _7_ _ _ _ __
                                                                     /IL~                                   Server of Process


at 619 South White Street                          RETURN OF DOMICILIAR Y SERVICE
                                                   THIS IS TO CERTIFY that on
 In the case of:
                                                   1 received the process of Court of which this is a duplicate.
                 Darrius Copelin
State o f LA vs. _ _ _ _ _ _ _ __
           E-14626t5
 Itern #                                                                                                  Recipient of Service


 Case #
           525-035   r                             THIS IS TO CERTIFY that on

              simple
 Charge (s) : _  _ _assault
                     _ _ _ _ _ _ __                I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



 Instructions:                                     (please write Recipient's name),

                                                   a person of suitable age and discretion, residing at the domicile of the
  Contact the above named Assistant District       person to whom the said process of Court was issued, who was absent
  Attorney upon receipt of this subpoena.          at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
  Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                         75                                           OPDA00150
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 77 of 192



                                                                SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.
                                              Office of the·Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To:   Anjanielle Henry                               RETURN OF PERSONAL SERVICE
                                                         THIS IS TO CERTIFY that on
                                                          December 21, 2015

    '.\'ou Are Hereby Notified pursuant to
    LSA-CCRP art. 66 to appear before the
    bistrict Attorney for the Parish of Orleans, to                                                             Recipient of Service
    ~estify to the truth according to your knowledge
    in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                          December 21, 2015
    on January 6th & 7th, 2016
                                                         I made due Personal Service thereof by leaving same in the hands of
    at _9:00AM
         _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient
                                                         Anjanielle Henry
                                                         (please write Recipient's name),
    to Assistant District Attorney:
                                                         the person to whom the process is directed.
    Zachary Popovich
                                                                r---l~c,o..-·-
              504.822.2414
    phone # : _ _ _ _ _ _ _ _ _ __                                                                                Server of Process


Iat 619 South White Street                               RETURN OF DOMICILIARY SERVICE
                                                         THIS IS TO CERTIFY that on
    In the case of:
                                                         I received the process of Court of which this is a duplicate.
    State of LA vs. George Minor

    Item # G-14984-14                                                                                          Recipient of Service

    . # 522 791                                          THIS IS TO CERTIFY that on
Case
               R.S.14!64.3
Ch a~es:
      () _ _ _ _ _ _ _ _ _ __                            I made due Personal Service thereof by leaving same in the hands of
                                                         the aforesigned Recipient



Instructions:                                            (please write Recipient's name),

                                                         a person of suitable age and discretion, residing at the domicile of the
i Contact the above named Assistant District             person to whom the said process of Court was issued, who was absent
' Attorney upon receipt of this subpoena.                at the time, which fact I learned by interrogating the person in whose
                                                         hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                                 Server of Process




                                                                76                                             OPDA00261
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 78 of 192




                                                                   SUBPOENAY BE IMPOSED
                                                                      ENT MA
                                              A ANE AND IMPRISONM          THIS NOTICE.
                                                   FOR FAILURE TO OBEY
                                                                                                 y
                                                                     Parish Di str ict At tor ne
                                               Office of the Orleans                                       HS
                                                                   URT FOR              THE PARISH Of ORLEA
                                               CRIMINAL DISTRICT CO

                                                                              NAL SERVICE
                                                               RETURN OF PERSO
    To: OanleUe Smit,
                                                                                  that oo
I       New Orleans LA
                                                               THIS IS TO CERTIFY
                                                                                      I •5 · I k
I                                                              ]t)B,Df:\'f            of Court or whkh this
                                                                                                            is a duplicate.
                                                               I received the process
I   You Are Hereby Notifie
    LSA-CC     RP  arr. 66  to app
                                  d pur sua nt ro
                                   ear before the               .,_~                          ~                           Red pkn t of ~tv ic•
I   District   Attorney  fer the  Parilh ofOrle:uu, to
                                   g co )'OU t knowledge                                that on
I   ,..,il'y {O me uut  h  xco nlin                            THIS IS TO CliR'nl'Y
                                           l of you.
    in such matters     as may  be ceq uim
                                                                  To~WA'!               l -S · I &              ing same In the han
                                                                                                                                   ds of
                        ry 7. 20 16                                                  Service thereof by leav
I    on Thursday, JE1nua                                        I made due Personal nt
                                                                the aforeslgned Rtciple
                               _ _ _ _ _ __
I           _M_ _ _
          _0P
        2:3
     at _
                                                                J)an,Jd\t,                      ~
                                rney:
      to Assistant District Atto
      Sarah Oawklm,                                                                                                           StM !fO { Pro cm

                         329
      phone #: 504-829-6                                                                 IARY SERVICE
                                                                 RETURN OF DOMICIL
      at 619 South White Street                                      IST O CERTIF
                                                                 TH IS
                                                                                  Y tha t on

                                                                                                                   Is a dupllcat•.
       In the case of:                                                                      of Court or Which this
                                                                  I re<el\led the process
                                  tte Darby
       Sta te of LA vs. Berne                                                                                                Red pie nt of s,r, ;cr
                        15
        Item # B-03J!l4-                                                                    Y tha t on
                                                                   TH fS IS TO CERTIF
        Case # 524-407 'I'
                                                                                                                         same In the ~ands of
                                           79__
                                        14:_                                        al Ser     vice thereof by leaving
                         64._
                      14:_     14:_
                            3, _     1, _
                                  95._                             I made due Person
        Charge,.,s) , _                                            the aloreslgnedRecipient


                                                                                                nomd),
                                                                    (pleas, writ• Rtc lpiM t's                                            of the
                                                                                                                     ding 11 the domicile abs
                                                                                                and dlstretlon, resiwas                       ent
         Instructions:                                              a person  of suitable  are               Cou  rt    Issued, who was se
                                                                                           said  pro cus  or                  person in wllo
                               n,l med Ass1o;tar.t
                                                   O str, ct        person to whom the        I lea mtd  by Interrogating the
          Con t act the abo ve                                      at the time, whi  ch fact
                                  of this su~  pom J                                       was left    .
          Attorney upO'l recc,pt                                    hands the said process
                             na -..,th vou to the Dis tric t                                                                      Server of Process
          Brin~ this sub poe
                                    yeJ aµpear t•> rest,ty
           Attorr.ey·~ Office ~.:--en
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                                                                                                 77                                                   OPDA00149
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 79 of 192




                                                             SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO ·oeEY THIS NOTIC£.
                                          Office of the Orleans Parish Dist rict Atto rney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Gerald Wineski
                                                      RETURN OF PERSONAL SERVICE
     Metairie, LA                                    THIS IS TO CERTIFY that on
     LADL :                                           Tot~CA1 ' 12·2 '2-\$                          2·.~seM
You Arc Hereb y Notifi ed pursu ant to
LSA-CCRP art. 66 to appea r before the
District Attorney for the Parish of Orlea ns, co
testify to the truth according to your knowledge                                                             Recipient of Service
in such matters as may be required of you.           THIS IS TO CERTIFY that on
on Thursday January 7, 2016                           TDf:SOI>':(         l2.·2'2.- 15
                                                     I made due Personal ·service thereof by leaving same
                                                                                                          in the hands of
at 9:00am                                            the aforesigned Recipient

                                                     trze.>co..XcJ. v:)~, ~        Jt   ~\½·
                                                     (please write Recipient's name),
to Assistant District Attorney:
Zackary Popo vich                                    the person to   h ~is directed.

           504-8
ph one # : _ __  22-24
                   __  14_ _ _ _ __
                                                                                                               Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplic
State of LA vs. George Minor                                                                                   ate.

          G-14 984-1 4 / I-294 24-14
Itern #
                                                                                                            Recipient of Service
          522-7 91                                   THIS IS TO CERTIFY that on
Case #
         , _
Charge (SJ: Arme
              _d _Robb
                   __ ery
                       _and
                          __Simple _
                              __
                                                     I made due Personal Service thereof by leaving same
                                                                                                         in the hands of
Burglary                                             the aforesigned Recipient


Instructions:                                        (please write Recipient's name),

Contact the above named Assistant District           a person of suitable age and discretion, residing at
                                                                                                           the domicile of the
                                                     person to whom the said process of Court was issued
Attorney upon receipt of this subpoena.                                                                      , who was absent
                                                     at the time, which fact I learned by interrogating the
                                                                                                            person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.

                                                                                                              Server of Proces'




                                                          78                                              OPDA00190
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 80 of 192



                                                                SUBPOENA
                                           A FINE AND IMPRISONMENT /MY
                                                                         BE IMPOSED
                                                FOR FAILURE TO OBEY THIS NOTIC
                                                                              E.
                                            Office of the Orleans Parish Di str
                                                                                               ict At tor ne y
                                           CRIMINAL DISTRICT COURT FOR
                                                                       THE PARISH OF ORLEANS

  To: Gerald Wineski
                                                       RETURN OF PERSONAL SERVIC
                                                                                E
          Metairie, LA                                 TH IS IS TO CERTIFY tha t on
       LADL:
                                                        Tve&Pttl'             11- 2 ~     IS          2:3sp.cr
 You fue Hereby Notified pursuant                                                 Court of which this is a duplica
                                          to                                                                       te.
 LSA-CCRP art. 66 to appear before the
 District Attorney for the Parish of Orl
                                         eans, to
 testify to the truth according to your kno                                                                    Recipient of Service
                                            wledge
 in such matters as may be required of
                                         you.          TH IS IS TO CERTIFY that on
 on Friday January 8, 2016                              Tv~SPA'{          12- 22- 1s
                                                      I made due Personal Service ther
 at _9:0
       _0am
         _________                                    the aforesigned Recipient
                                                                                       eof by leaving same in the han
                                                                                                                     ds of
                                          __
                                                      ~eYaulo\ Q ,~ ~                      .Q-i::--
 to Assistant District Attorney:                      (please write Recipient's nam
                                                                                    e),
 Zackary Popovich                                     the person to wh


          504
 ph one : _ _-82
              _2-2
                 _414
                   _ _ _ _ _ __
                                                                ~
       #
                                                                                                                 Server of Process
 at 619 South White Street                            RETURN OF DOMICILIARY SER
                                                                               VICE
                                                     TH IS IS TO CERTIFY tha t on
In the case of:

State of LA vs. George Minor                          I received the process of Court
                                                                                      of which this is a duplicate.

           G-14984-14 / l-29424-14
Itern #
                                                                                                             Recipient of Service
Case # 522-791                                       TH IS IS TO CERTIFY tha t on
         , Arm Robbery and Simple
Charge (SJ: _ _ed
                _ _ _ _ _ _ _ __
                                                     I ~ad e due Personal Service ther
Burglary                                                                               eof by leaving same in the han
                                                     the aforesigned Recipient                                       ds of


Instructions:                                        (please writ e Recipient's nam
                                                                                    e),
Contact the above named Ass                          a person of suitable age and disc
                              istant District                                           retion, residing at the domicile
Attorney upon receipt of this                        person to whom the said proc                                        of the
                              subpoena.                                              ess of Court was issued, who
                                                     at the time, which fact I learned                             was absent
                                                                                       by interrogating the person in who
Bring this subpoena with you                         hands the said process was left.                                      se
                             to the District
Attorney's Office when you app
                               ear lo testify.

                                                                                                              Server of Process




                                                           79                                               OPDA00191
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 81 of 192



                                                                 SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAIWRE TO OBEY THIS NOTICE.
                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


     To: Larry Bagneris Jr.                              RETURN OF PERSONAL SERVICE
         New Orleans, LA                                 THIS IS TO CERTIFY that on
                                                          January 11, 2016

    You Aie Hereby Notified pursuant to
    LSA-CCRP art. 66 co appear before the
    District Attorney for the Parish of Orleans, to                                                             Recipient of Service
    testify to the truth according to your knowledge
    in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                          January 11, 2016
    on January 11 , 2016
                                                         I made due Personal Service thereof by leaving same in the hands of
    at _2:00
         __  PM
              _ _ _ _ _ _ _ _ _ __                       the aforesigned Recipient
                                                         Larry Bagneris Jr.
                                                         (please write Recipient's name),
    to Assistant District Attorney:
I Zachary Popovich                                       the person to whom the process is directed:

!
                                                               ~..J--Z..;;...--
l pone
   h      504.822.2414
       #: _ _ _ _ _ _ _ _ _ _ __                                                                                  Server of Process

    at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                         THIS IS TO CERTIFY that on
    In the case of:
                                                         I received the process of Court of which this is a duplicate.
    State of LA vs. Aletha H. Bryant

    Item# G-19159-14                                                                                           Recipient of Service
             522-697                                    THIS IS TO CERTIFY that on
    Case #
                  RS. 14:67
    Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient


    Instructions:                                       (please write Recipient's name),
                                                        a person of suitable age and discretion, residing at the domicile of the
    Contact the above named Assistant District
                                                        person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                        hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                                 Server of Process




                                                                80                                             OPDA00285
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 82 of 192


                "
                                                                SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.
                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Jeffrey Palmquist                                RETURN OF PERSONAL SERVICE
         New Orleans, LA


    You Are Hereby Notified pursuant to
    LSA-CCRP art. 66 to appear before the
    District Attorney for the Parish of Orleans, to                                                             Recipient of Service
    testify to the truth according to your knowledge
    in such matters as may be required of you.           THIS I TO CERTIFY that on

    on January 12, 2016                                     '°I"A-.JV ~ /       l3 1 ? 0/J
                                                         I made due Personal Service thereof by leaving same in the hands of
                                                         the aforesigned Recipient
    at _11:00AM
         _ _ _ _ _ _ _ _ _ _ _ __
                                                              Ji:;:-,-2 £'{      rA   L MG-1.>r\7
                                                         (please write Recipi~nt's name),
    to Assistant District Attorney:
                                                         the person to whom the process is directed.
    Taylor Gray

    pone     504.822.2414                                                                                         Server of Process
     h   # : _ _ _ _ _ _ _ _ _ _ __

    at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                         THIS IS TO CERTIFY that on
    In the case of:                                      January 8, 2016
                                                         I received the process of Court of which this is a duplicate.
State of LA vs. Aletha H. Bryant

    Item# G-19159-14                                                                                           Recipient of Service

            522-697                                      THIS IS TO CERTIFY that on
Case #
                                                         January 8, 2016
             R.S. 14:67
Charge (s) : _ _ _ _ _ _ _ _ _ __                        I made due Personal Service thereof by leaving same in the hands of
                                                         the aforeslgned Recipient


                                                         (please write Recipient's name),
Instructions:
                                                         a person of suitable age and discretion, residing at the domicile of the
I   Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                         hands the said process was left.
  Bring this subpoena with you to the District
· Attorney's Office when you appear to testify.
                                                                                                                 Server of Process




                                                               81                                              OPDA00282
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 83 of 192




                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE. ,.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Tim Wilson                                     RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on
     NEw Dttlf>.,t-lr.1 \..I\                       January 8, 2016

You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of Service
testify to the truth according to your knowledge                                                            /

in such matters as may be required of you.         THIS IS TO CERTIFY that on
                                                    January 8, 2016
on January 12, 2016
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at 9:00AM
                                                   Tim Wilson
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Taylor Gray
                                                        T~ 15._ _
           504.822.2414
p hone # : _ _ _ _ _ _ _ _ _ _ __                                                                           Server of Process


at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
                 Aletha H. Bryant
Stat e of LA vs. _ _ _ _ _ _ _ _ __
Item# G-19159-14                                                                                         Recipient of Service

Case # 522-697                                     THIS IS TO CERTIFY that on

            R.S.
              _ 14:67
Ch arge ()
         s: _    _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I teamed by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                                                                                   ,

                                                          82                                             OPDA00283
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 84 of 192



                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                                                                        -
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Verkeiche          mas ~                         RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
 M.o, la.                                             Wednesd ay January 6, 2016


LSA-CCRP art. 66 o appear before the
District Attorney for the Parish of Orleans, to
                                                                                                           Recipient of SeNice
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                     Wednesd ay January 6, 2016
on Wednesd ay, January 13, 2016
                                                     I made due Personal Service thereof by leaving same in the hands of
at _10:00am
     _ _ _ _ _ _ _ _ _ _ _ __
                                                     -//e4C!~-a~~,
                                                     the a!o~igned : c : : 1


                                                     (please write Recipient's name),
to Assistant District Attorney:
Sarah Dawkins

        504-71-7-7
phone#: _ _ _ _287 _ _ _ _ _ __                                                                               Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:

                 Darrius Copelin                     I received the process of Court of which this is a duplicate.
Stat e of LA vs. _ _ _ _ _ _ _ __
Item # E-14626- 15
                                                                                                           Recipient of Service
         525035 I                                    THIS IS TO CERTIFY that on
Case #
            Simple Assault
Charge (s:
         ) _ _ _ _ _ _ _ _ _ __                      I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient



Instructions:                                        (please write Recipient's name),

Contact the above named Assistant District            a person of suitable age and discretion, residing at the domicile of the
                                                      person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.               at the time, which fact I learned by interrogating the person in whose
                                                    · hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                          83                                             OPDA00151
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 85 of 192


     '.                 ....
                                                                   SUBPOENA
                 - ~\
              ,✓,-,,I\,                --
                                      f.·•\         A FINE AND IMPRISONMENT MAY BE IMPOSED
              ,, ': \                , I,, '
          (                  ,''               I
                                                         FOR FAILURE TO OBEY TH IS NOTICE.
          ,I"                                  ,'
                ' s;:
              . _.
                        f
                            .-
                                 '
                                     ---·.,
                                        '
                                                    Office of ~e Orleans Parish District Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Monique Andrews                                         RETURN OF PERSONAL SERVICE

     New Orleans, LA                                        THIS IS TO CERTIFY that on
                                                             Monday 01-11-16

You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                                    Recipient of Service
testify to the truth according co your knowledge
in such matters as may be required of you.                  THIS IS TO CERTIFY that on

on January 13, 2016
                                                              MDrJ l>~'f     1-11-1 ~
                                                            I made due Personal Service thereof by leaving same in the hands of
at _9:00AM
     _ _ _ _ _ _ _ _ __ _ __                                the aforesigned Recipient

                                                              Mo,sr::~u~          A,tJ<)il2.EwS
                                                            (please write Recipient's name),
to Assistant District Attorney:
                                                            the person to whom the process ls directed.
 Taylor Gray
                                                                   ;-d;_ 0-
pone     504.822.2414                                                                                                SeNer of Process
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street                                   RETURN OF DOMICILIARY SERVICE
                                                            THIS IS TO CERTIFY that on
In the case of:
                                                            I received the process of Court of which this is a duplicate.
State of LA vs. Daniel Ruffin

Item# B-24436-14                                                                                                  Recipient of SeNice

          519929 B                                          THIS IS TO CERTIFY that on
Case #
              Simple Battery - Domestic
Ch arge (s) : - - - - ~ - - - - - -                         I made due Personal Service thereof by leaving same in the hands of
                                                            the aforesigned Recipient
Abuse


Instructions:                                               (please write Recipient's name),
                                                            a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District                 person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.                    at the time, which fact I learned by interrogating the person in whose
                                                            hands the said process was left.
' Bring this subpoena with you to the District
  Attorney's Office when you appear to testify. :
                                                                                                                    Server of Process




                                                                   84                                             OPDA00275
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 86 of 192

                                                                                                                                       5'L 7   ~~4?
                                                                                                                                          \\/t4/t1


                                                                    SUBPOENA
                                                   A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.
                                                    Office of the Orlean s Parish Distric t Attorn ey
                                                  CRIMINAL DISTRICT COUllT FOR THE PARISH OF ORLEANS

    To: BRITTANEE PHILLIPS
                                                            RETURN OF PERSONAL SERVICE
                                                            THIS IS TO CERTIFY that an

                                                                                            I
                                                                                                /:1-1-IS
   You Ate Hereby Noti6ed pursuant to                               d th• process of Court of whleh this ls a dupllcate.
   LSA-CCRP u1. 66 10 •ppear beforo tho
   OisulctA ttarney for me Parish ofOrlc:w , to
   tcStify to the tn1dt occording 10 your knowledge
   in such mattOB :u may be required of you.               THIS IS TO CERTIFY that on
   on 01/22/2016
                                                           I made due Peisonal Service thereof by leaving same In the hands
   at _9am
        _ _ _ _ _ _ _ _ _ _ __                             the aforeslsned Recipient                                        of


  to Assistant District Attomey:                           (pl•••• writ• Rrdpltnt's nomd,

   Arthur Bernard Mitchell IV                              the per>on ta whom the p,ocess Is directed.


  phone #: 504-827 -6316
                                                                                                                   Strver of Practss

  at 619 South White Street                               RETURN OF OOMICJLIARY SERVICE
                                                          THIS IS TO CERTIFY that on
  In the case of:

 State of lA vs. TELVIN MITCHELL                          I received the process of Court of w~lch this Is a duplicate.

 Item# _ _ _ _ _ _ _ _ _ __
                                                                                                                Recipient of Servia
 Case # 527146 •c•                                       THIS IS TO CERTIFY Iha! on

 Charge(s): Domest ic Battery
                                                         I made due Personal Servke thereof by leavinr same In the hands
 (Strangulation)                                         the aforesl1ned Recipient                                       of


 lnstnictlons:                                           (p/tast wrilt Rtdp/ent 's name},
 Conf,lll lhe .ibovc> named As sis tant OJ~t11 c(        a peison of suitable are and discretion, resldlnr at the domicile
                                                         person to whom                                                    of the
 A~3f"('Y up:1~ rt-Ce p! or t •11s subpot n .i                             tht said process of Court was Issued, who was abstnt
                                                         at the time, which fact I lumed by lnttrropt lnr !he p•rson
                                                         /lands the said process was lefl.                           In whose
 Brin!; th1c; ~uboorr,a ~·- lh ynL to th!.' D•c,111ct
 Ano111e ,, ~ Oll1re when ynu ;ipprar lo tec,1,ry




                                                                                        CERTIFIED DA OFFIC E COPY




                                                                                       85                                               OPDA00148
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 87 of 192



                                                            SUBPOENA
                                         A FINE' AND IMPRISONMENT. MAY BE IMPOSED
                                                   FOR FAIWRE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Brianne Harris                                   RETURN OF PERSONAL SERVICE
     New Orleans, LA                                 THIS IS TO CERTIFY that on
                                                      January 26, 2016
                                                     I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required ofyou.            THIS IS TO CERTIFY that on
                                                      January 26, 2016
on January 26, 2016
                                                     I made due Personal Service thereof by leaving same in the hands of
at 3:00 PM                                           the aforesigned Recipient
                                                      Brianne Harris
                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process Is directed.
Taylor Gray
                                                         -F~ r5,_...._ __
pone     504.822. 2414
 h   # : _ _ _ _ _ _ _ _ _ _ __                                                                               Server of Process


· t 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
                  Gregory Newman
.Stat e of LA v s . - - - ~ - - - - -
Item # K-14195-13                                                                                          Recipient of Service
         518-891                                     THIS rs TO CERTIFY that on
Case #
           R.S. 14:68
Charge (s:
         ) _ _ _ _ _ _ _ _ _ __                      I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient



Instructions:                                        (please write Recipient's name),
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact th e above named Assistant District          person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time. which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                             86                                              OPDA00276
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 88 of 192




                                                         SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish Distric t Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                   RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on                /
                                                                     d:- ?-- /~
                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
Disrricc Attorney for che Parish of Orleans, co
                                                   :£ ?f 2~                                               Recipient of Service
testify to the truth according to your knowledge
                                                   TH IS IS TO CERTIFY that on                   / /
in such matters as may be required of you.
                                                                               ;).- - _5'-' /~
     ,::2_-__)___J_---L.-..-'/~=---
on ______                                          I made due Personal Service thereof by leaving same in the hands of

at ~JC/ S ,Jpj ,/6
                                                   the aforesigned Recipient

                                                                /)$r[J /24     ·v          /J'AMv lf
                                                   (please write Recipient's name),
to Assistant District Attorney:

j:;;p,✓ 'aJ @u /'lloll i
phone#: }..r3tg- 57 f O'
                                                                                                            Server of Process

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs;So    µL)~Att.J ALf'/A,.ID
                                                                                                          Recipient of Service
Item # - -- ------ -,=-- -- - -

C~e  #_,5~/~'~_3_3_ _                              THIS IS TO CERTI FY that on


Charge(s): _/1--:  . . .,,_3____0_ _ _ __
               . . /_                              I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
            11 : 2r2- Jo
                                                   (please write Recipient's name),
 Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the erson in whose
                                                   hands the said process was left.
  Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.




                                                           87                                              OPDA00147
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 89 of 192




                                                               SUBPO ENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                                Office of the Orleans Parish District.Atto rney
                                               CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                        RETURN OF PERSONAL SERVICE
                                                        THIS IS TO CERTIFY _t_h_at_o_n_ _ _ __


 You Arc Hereby Notified pursuant to :
 LSA-CCRI' art. 66 to appear before the
 Oistria Attorney for the Parish of Orleans, to                                                                Recip,~nt of Serv,ce
 testify co the truth aa:ording co your knowledge
 in such matters as may be required ofyou.              THIS IS TO CERTIFY that on

      •1.(,s\,u                                                                       r
fon

       '.,:oo('"" - (. ·.6 0 ,,_.
                                                                                              by leaving same in the hands of



                                                       (please write Recipient's nomd,
to Assistant District Attorney:

~n--d
 I


                c:C   G-r:C:';r
phone #: /        S"lD -   f l.f 7 l . .-·                                                                      Server of Process

at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                       THIS IS TO CERTIFY that on
In the case of:
                                                       I received the process of Court of which this is a duplicate.
State of LA vs.    Po<> Lt. .,_+- ...l
                                 ;


Item#     ~-Ojo')S -- t<-\                                                                                    Ruipient of Service

Case #  S 14' - 8' I ~                                 THIS IS TO CERTIFY t hat on


Charge(s): ~ L\ ·':>                                   I made due Personal Service thereof by leaving same in the hands of
                                                       the aforeslgned Recipient


Instructions:                                          (please write Recipient's name),
                                                       a person of suitable age and discretion, re!iiding at the domicile of the
'Contact the abo'le named Assistant District-          person to whom the said process of Court was issued, who was absent
 Attorney uporr receipt of this ~ubpoen~-              at the time, which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
Bnng this subpoena wilrr you to the District.
A:tomey's Ofli ce when you appear to         tesW'y.
                                                                                                               Server of Process




                                                                                       88                                             OPDA00160
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 90 of 192


           ..
                                                             SUBPOE·NA
                                         A FINE AND IMPRISONMENT MAYtBE IMPOSED
                                                    FOR FAILURE TO OBEY THIS ·NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Charles Shifflett IV                             RETURN OF PERSONAL SERVICE
                                                      THIS IS TO CERTIFY that on
      New Orleans, La
                                                       February 12, 2016
                                                       I received the process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA-CCRP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to                                                             Recipient of Service
 testify to the truth according to your knowledge
 in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                       February 12, 2016
 on February 15, 2016
                                                      -I made due Personal Service thereof by leaving same in the hands of
      _ _ _ _ _ _ _ _ _ _ _ __
 at _9:00AM                                            the aforesigned Recipient
                                                       Charles Shifflett IV
                                                      (please write Recipient's name),
 to Assistant District Attorney:
                                                      the person to whom the process is directed.
  Zachary Popovich
                                                            ~~-
           504.822.2414                                                                                         Server of Process
 phone # : _ _ _ _ _ _ _ _ _ _ __

                                                      RETURN OF DOMICILIARY SERVICE
 at 619 South White Street
                                                      THIS IS TO CERTIFY that on
 In the case of:
                                                      I received the process of Court of which this is a duplicate.
 State of LA vs. Timothy Conerly

 Item # B-9035-14                                                                                            Recipient of Service

 Case# 519 812                                        THIS IS TO CERTIFY that on

              R.S. 14:64.3
 Charge (s) : _ _ _ _ _ _ _ _ _ __                    I made due Personal Service thereof by leaving same in the hands of
                                                      the afore.signed Recipient

                                                            J.. E F"1" /fT )>oo~
                                                      (please write Recipient's name),
I Instructions:
                                                      a person of suitable age and discretion, residing at the domicile of the
  Contact the above named Assistant District          person to whom the said process of Court was issued, who was absent
  Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
  Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.
                                                                                                                Server of Process




                                                              89                                             OPDA00289
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 91 of 192



                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Joseph Gianetta                                  RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
                                                      February 15, 2016

You Aie Hereby Notified·pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on
                                                      February 15, 2016
on February 16 &17, 2016
                                                     I made due Personal Service thereof by leaving same in the hands of
at _9:00AM
     _ _ _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient
                                                     Joseph Gianetta
                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process is directed.
Zachary Popovich
                                                          -;:::---1_'15--
pone     504.822.2414                                                                                         Server of Process
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA vs. Timothy Conerly

Item# B-9035-14                                                                                            Recipient of Service
         519 812                                     THIS IS TO CERTIFY that on
Case #
            R.S. 14:64.3
Ch arge (s:
          ) _ _ _ _ _ _ _ _ _ __                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient



Instructions:                                        (please write Recipient's name),
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact J learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                            90                                             OPDA00287
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 92 of 192




                                                         SUB POE NA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                         Office of the Orleans Parish District Attorn ey
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Charles Shifflett IV                           RETUR N OF PERSON AL SERVICE
                                                   THIS IS TO CERTIFY that on
                                                    Februar y 15, 2016
                                                                                 rt of which this is a duplicate.
You Are Hereby Notified pursuant to
l.SA-CCRP art. 66 to appear before the
                                                                                                          Recipient of Service
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
                                                   THIS IS TO CERTIFY that on
in such matters as may be required of you.
                                                    Februar y 15, 2016
on Februar y 16 &17, 2016
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at _10:00A
     ___   M_ _ _ _ _ _ _ _ __
                                                   Charles Shifflett IV
                                                   (please write Recipient's name),
to Assistant District Attorney :
                                                   the person to whom the process is directed.
Zachary Popovic h
                                                      -}- ~~ ---
                  .2414                                                                                      Server of Process
           504.822
ph one # : _ ___     _ _ _ _ _ __

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Timothy Conerly

Item # B-9035- 14                                                                                          Recipient of Service


         519812                                    THIS IS TO CERTIFY that on
Case #
            R.S.
              _14:64.3
                 _ _ _ _ _ _ _ __
         s: _
Ch arge ()                                         I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient 's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                         91                                              OPDA00288
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 93 of 192



                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY TH IS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Jeremy Johnson                                 RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on
                                                    February 15, 2016

You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIF
                                                    February 15, 2016
on February 17, 2016
                                                   I made due Personal Service thereof by leaving same in the hands of
    9:00AM                                         the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __
                                                   Jeremy Johnson
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Zachary Popovich
                                                       ~~
         504.822.2414
phone #: _ _ _ _ _ _ _ _ _ _ __                                                                             Server of Process

at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Timothy Conerly

Item# B-9035-14                                                                                          Recipient of Service
         519812                                    THIS IS TO CERTIFY that on
Case #

Charge(s):   R.S. 14:54 .3                         I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient ·



Instructions:                                      (please write Recipient's name),
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                          92                                             OPDA00286
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 94 of 192


                                                           SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                    RETURN OF PERSONAL SERVICE


                                                                 1
                                                    THIS IS TO     ER~FY that on
                                                               2--llZ..Lf lP
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
                                                              o__
                                                    I received the process of Cou     of which this is a duplicate.


                                                                                                            Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.

on    2 J1q.      {1u                              I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at~·.        oo AH
                                                      LD-Vv;i..tS            HevLV:,
                                                   (please write Recipient's namei
to ~ sistant District Attorney,
                                                   the person t~whom the~-,,.,,.a
 ~tl.h             Do.wk.J a.t.S                             V           ¾           r-.!~:;;;...,.,..

phone #:     lSD-9 3:: 11: - :z.zg--=1-                                                                       Server of Process

at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs.    T::µ:>;j\,\.,-   ~lf\V~
Item #    ~ ... D 8~ ID- I L-f                                                                              Recipient of Service

Case #   5'23--0~f>                                THIS IS TO CERTIFY that on

Charge(s):       lD-t(BXJ)                         I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



lnstructi ans:                                     {please write Recipient's name),
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                            93                                             OPDA00152
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 95 of 192


                                                               SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                     FOR FAILURE TO OBEY THIS NOTICE.

                                            Office of the Orleans Parish District Attorney
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To:\)~ HtrnO A..R...
                                                       RETURN OF PERSONA L SERVICE
                                                       THIS IS TO CERTIFY that on


                                                       I received the process of Court of which this is a duplicate.
 You Are Hereby Notified pursuant to
 LSA~CCRP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                                                                             Recipient of Service
 testify to the truth according to your knowledge:
 in such matters as may be required of you.            THIS IS TO CERTIFY that on

 on Wed., Feb. 17, 2016
                                                       I made due Personal Service thereof by leaving same in the hands of
 at _8:45
      __  AM
           _ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient


                                                       (please write Recipient's name),
 to Assistant District Attorney:
                                                       the person to whom the process is directed.
 Sarah Dawkins

           504-827-6
p hone # : _ _ _ _329_ _ _ __ _ __                                                                             Server of Process

atj619 South White Street                             RETURN OF DOMICILI ARY SERVICE
                                                      THIS IS TO CERTIFY that on
lnl the case of:

                Dwight Henry                          I received the process of Court of which this is a duplicate.
State of LA vs. _ _ _ _ _ _ _ __
  I
Item# _K-08810-1
         _ _ _4_ _ _ __                 _ __                                                                Recipient of Service
         523-888                                      THIS IS TO CERTIFY that on
Case #

Charge ()  14:67(8)(3
        s :_ ____     ) ___
                            _ __                      I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient



Instructions:                                         (please write Recipient's name),
                                                      a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District
                                                      person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.               at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                              94                                           OPDA00313
            Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 96 of 192

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                                                         SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: NATASHA AMBO                                   RETURN OF PERSONA L SERVICE
       NEW ORLEANS , LA                            THIS IS TO CERTIFY that on
                                                          :)-/'1- Iv
                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the               1/t'C-rl wi 'S Mlart!Ge. !£--llt/<r✓ -J
District Attorney for the Parish of Orleans, to    r-ir 11,c.:r; M Is RBst' OGJ<!.£::- Recipient of Service
testify to the truth according to your knowledge
                                                   THIS IS TO CERTIFY that on
in such matters as may be required of you.

on 2/18/16
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at _9AM
     _ _ _ _ _ _ _ _ _ _ _ __
                                                   ~ l,m, T9-J{6(.L.
                                                   r;i;;writeReci/ient's name).
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Arthur Bernard Mitchell IV

       (504) 827-6316                                                                                       Server of Process
                      _
pone
 h   #:___________
                                                   RETURN OF DOMICILI ARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
                 WESLEY BROADEN _
State o f LA vs. _ _ _ _ _ _ _ _ _
                                                                                                          Recipient of Service
Item# _ _ _ _ _ _ _ _ _ _ __

C1      # 522-989                                  THIS IS TO CERTIFY that on
  ase
   1
              DOMESTI C ABUSE                      I made due Personal Service thereof by leaving same in the hands of
Ch arge (s) : _ _ _ _ _ _ _ _ _ __
                                                   the aforesigned Recipient
 BATTERY (STRANGU LATION)

                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which~fact I learned by interrogating the person in whose
                                                   h~nds the said pfcess was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.                                                              Server of Process




                                                           95                                           OPDA00216
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 97 of 192




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                                                                        SUBPOENA
                                                      A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                           FOR FAIWRE TO OBEY THIS NOTICE.

                                                        Office of the Orleans Parish District Attorn ey
                                                       CRIMINAL DISTRICT COURT FOR TffE PARISH OF ORLEANS


    To: Alton Barber                                              RETUR N OP PERSON AL SERVICE
                                                                  THIS IS TO CERTIFY lhat on
         New Orleans, LA
                                                                  I received 1M process of Court of w'11ch this Is a dupltcate.
    You Arc Hcrcb:,r No116cd pursuan t to
    LSA-CCRP m. 66 to appear bcfotc the                                                                                  Rtclplenl of Sttvlce
    Dimict Attomev for the Parish ofOrleans, to
    rcsti(y <0 the ,ru;h occordlng to )'OU< knowledge
                                                                  THIS JS TO CERTIFY Iha! on
    in such manm •• may be ~uircd of you.

    on Tuesday March 1, 2016                                      I made due Personal Service then,of by leavln1 same In
                                                                                                                         the hands or
                                                                  the aforeslgned Reclplenl
    at 3:00PM
                                                                  (pleas• write Rtdplent's name),
    to Assistant District Attorney:                               the peBon to whom the process Is directed.
    Joseph Zanetti
                                                                                                                            Strvcr of Procen
    phone f: 504-432-8372
                                                                  RETURN OF DOMICILIARY SERVICE
    at 619 South Whit• 5trHt
                                                                  THIS ISTO CERTIFY that       orf        /_
    In the case or:                                                                        d:?a S//J.
                                                                  I n,celved the process of Co~rt of which this Is a dupllcale
                                                                                                                               .
    State of LA vs. _J_ess_e_T_a_t_e___ __
                                                                                                                         Redpl,nt of Service
    Item# K-31191-13

    Case # 523-036 0                                              THIS IS TO CERTIFY that on /           ! ,.,.
                                                                                               ~/:J.S°/_!_..l
    Charge(s): RS 14:34 AND RS 14:37                              I made due ~rsonal Servke t.:;;;o, by leavtnc same In the...,
                                                                                                                                . or
                                                                                                                          .boa,t..
                                                                  the aforeslgned Recipient
                                                                               AcroAI g1Me a'L
                                                                  (please write Rtclplent's name),
    Instructions:
                                                                                                                     al th• domicile of the
                                                                  a person of suitable ace and discretion, n,sidlngIssued,
     Cc11ta{I II ( ,liJO\if' n,l:TIC'C 1V,S1',',1,f U1~t•1 t      person to whom the said process or Court was             who was absent
                                                                                                                                  In whose
     l\!'o•nf y ,,po1 tr'Cf'lfll of 1!11<, .,11brorr1 J           11 !ht time, whlcl, fact I learned by Interrogating the per.son
                                                                  hands lhe said process wu left. ~
     Orm!! !IH., s11bporn,1 \ .nt1 ~•011 to 1hr n,stuct
                                                                                          Jt-{bL t::.ytt --
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     Al:ornr;.. , Off., ,, v.t11•1 you ,1r-·111,11 'C IC'">'lly
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                                                                                                    96                                          OPDA00192
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 98 of 192



                                     -                      SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                                                                        -
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                     RETURN OF PERSONAL SERVICE




You Are Hereby N o tified pursuant co
LSA-CCRP arc. 66 to appear before the
Discrict Attorney for the Parish of Orleans, co                                                             Recipient of Service
cescify co the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on          ./


on~gp/r                                                #~ij                    ,/4/P
                                                     I made due Personal Service thereof by leaving .same in the hands of
                                                     the aforesigned Recipient
at_.:..J_.·&_&__,,.~A'---'--~-----
                                                      ~ d&:t51&4✓
                                                     (please write Recipient's name),
to Assistant District- Attorney:
                                                                      o   the process is directed.
  /'J~0           rz,,t'✓ ,,2tfrC
                                                                                                              Server of Process
phone#: _ _ _ _ _ _ _ _ _ _ __

                                                     RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     1 received the process of Court of which this is a duplicate.
Stre of LA vs.
lte:m # _ _ _ _ _ _ _ _ _ _ _ __                                                                            Recipient of Service

Case# _ _ _ _ _ _ _ _ _ _ __                         THIS IS TO CERTIFY that on


Charge(s): _ _ _ _ _ _ _ _ __                        I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name).
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time. which fact I learned by interrogating the person in whose
                                                     hands the said process was left.                                   ·
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                                97                                              OPDA00146
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 99 of 192


                                                                 SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.

                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                          RETURN OF PERSONAL SERVICE
                                                          THIS IS TO CERTIFY that on
                                                                s- S,.- I ft:,
                                                          I received the process of Court of which this is a
You Are Hereby Notified pursuant co
LSA-CCRP arc. 66 co appear before che                          ~ A, D ~ £             l   c,(.   >I   iJ
D '5trict Attorney for the Parish of Orleans, to                                                                 Recipient of Service
terufy to the truth according to your knowledge
in such matters as may be required of you.                THIS IS TO CERTIFY that on
                                                                 3- ~ - I
on      -a/ 9   J l lO
                                                                                (o.
                                                          I made due Personal Service thereof by leaving same in the hands of
                                                          the aforesigned Recipient
at _
                                                                 Q.-"' J> Jt (. J)v . ., .,J
        ___;a;;.;_:_;:_-3_0_A....:..;;M___,___ _ _ __



                                                          (please write Recipient's name).
to Assistant District Attorney:

               D::uu\L~
       So..va.JA
phone#: / so'-+) B 2':l- -l.o3 7-8
                                                                                                                   Server of Process

                                                          RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                          THIS IS TO CERTIFY that on
In the case of:
                                                          I received the process of Court of which this is a duplicate.
State   of LA vs~iJvd: Hc:;:)\v1
Item# ~-- OCo'ol0-\4                                                                                            Recipient of Service

                                                          THIS IS TO CERTIFY that on
Case#      523-06€,

Cr rge(s)' I '-I: !J!+-                                   I made due Personal Service thereof by leaving same in the hands of
                                                          the aforesigned Recipient



Instructions:                                             (please write Recipient's name),
                                                          a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District                person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.                   at the time, which fact I learned by interrogating the person in whose
                                                          hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                   Server of Process




                                                                  98                                           OPDA00153
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 100 of 192

                                          _,,.....,__



                                                                  SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                        FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To: Loma Small                                           RETURN OF PERSONAL SERVICE




You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                                  Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.

on Friday, March 18, 2016
                                                                                                 y leaving same in the hands of
at 2pm


to Assistant District Attorney:
                                                          the person to whom the process is directed_.
 Diana Netterville

         504-822-2414                                                                                              Server of Process
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __
                                                          RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                          THIS IS TO CERTIFY that on
In the case of:
                                                          I received the process of Court of which this is a duplicate.
State of LA vs. Tomeca Newman
Item# A-40852-13                                                                                                Recipient of Service

         518639 H                                         THIS IS TO CERTIFY that on
Case #

        s :_
Ch arge ()   _30.1
           (27)     _ _ _ _2nd
                _ _Attempted _ __                        I made due Personal Service thereof by leaving same in the hands of
                                                         the aforesigned Recipient
Degree Murder

                                                         (please write Recipient's name),
Instructions:
                                                         a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District               person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.                  at the time, which fact I learned by interrogating the person in whose
                                                         hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                  Server of Process




                                                                99                                             OPDA00246
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 101 of 192




                                                                                        I

                                                                                   SUBPOENA
                                                              A FINE AND IMPRISONMENT MAY
                                                                                            BE IMPOSED
                                                                   FOR FAILURE TO OBEY THIS NOT
                                                                                                ICE.
                                                              Office of the Orl ean , Parish Db
                                                                                                                tric t Attorney
                                                              CRIMINAL DISTRICT COURT FOR
                                                                                          THE               PARISH OF ORI.EANS
          To: ~f\ l e.:ra A            Ou p~ RT
                                                                          RETURN OF PERSONAL SER
                                                                                                VICE.
               Alf i.)     ota 1,..E AIJ S' LA                            THIS rs TO CERTIFY tNt on

         You Arc Hereby :>loti~,d purruant                                I received th• process or Court
                                                to                                                        of which this Is • duplicate.
         LSA-CCRP arr. 6S 10 appear bcfur
                                             e the
         District Attorney 1<1r me Parb
                                       h of Orlcint, to
        tatify 10 <he nud, •a:onling 10
                                        your knowledge                                                                          R•dp ltnl of s,rvk•
        in such nimcrs u may be required
                                            of you.                      T!flS.IS TO CERTIFY that on
        on      3/a./it,
                                                                        t mad• due Personal Servi
       at      9 ·oo AM                                                 the afor nlgned Recipient ce thereor by leavlnr same In tht hands of


       to Assistant Olstr•ct Attorney:                                  {pita s, ..,,,,, R•dp/enl'< nom
                                                                                                       d,
                                                                        the ptrson to whom the process
        ror llE Tl2 UM AU l                                                                                 IS directed.

      pho ne#:       30 7· t,'49- :l'i l,;I
                                                                                                                                s,rver of Proc w
      at 619 South White Street                                        RETURN OF DOMIOUARY
                                                                                                  SERVICE
                                                                       THIS ISTO CERTIFY lll•t on
     In the case of:

I
I    Item #     F- :,q 17 '4- 1:[
    case• 5a!S- 't9 3 "A "                                            THIS IS TO CERTIFY !hat on
                                                                                                                             Redplent of s,rv1,,




I   Charge(s):       I 't: 'Z 9                                       I m1dt due.Personal Sorvke
                                                                      rho arorosl1ned Recipient thoreor by loavlnr same In the hands or

I   Instructions:                                                 (p/oos, wrltt RecJp~nl"s nam
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I
    Co ntact lhc ,1bo-.'t- rJ:nc d Assis                          a person of sulrable are ••d discretion
                                         :,,nt o;-.tr iH
    Attorn ey upor, rl'Ce;pt cf                                  •person 10 ""1om the said proce          , residing 11 th• domicile or th•
                                !his '>1.,bpoC'r.;1.
                                                                  at the time, Which fact l leamedss of Court was Issued. who was absent
                                                                                                   by lntemiraUnr the person
    Brin;:: tlli'> 5-ubp ocna ~·11th you                          hands the Did process wu left.                                In whose
                                         ru lhC' 01-,tr ict
    Attou1ey·s Offret.-' \·;hen you
                                    <'>PP<'Jr fo wslify

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        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 102 of 192




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                                                                             1
                                          A FINE.ANo·,1:M·PR·JSON'MENl MAY BE .IMPOSED
                                               FOR FAll!ORE To~·()BEY THISN'OTtcE.

                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                           RETURN OF PERSONAL SERVICE
                                                           THIS IS TO CERTIFY that on


                                                           I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant co
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                                  Recipient of Service
testify to the truth according co your knowledge
in such matters as may be required of you.                 THIS   rs TO CERTIFY that on

Ion (}'\,!.,i6 30, 70/C,,                                  I made due Personal Service thereof by leaving same in the hands of
                                                           the aforesigned Recipient
1·' q:w A/l'1
                                                           (please write Recipient's name),
to Assistant District Attorney:
                                                           the person to whom the pro.cess is directed.
M1cb1tt l
t
                   ~~Ml- (

phone     #:3 6   ]-f,p &q- ~ ~ 'J..                                                                               Server of Process

at 619 South White Street

In the case of:
                                ~                          I received the process of Cou · o which this is a duplicate.
State of LA vs.     H(· t A.M     ltAt/ce r
                                                                                                     m      I

Item #     1':-\ I I Ot/ . /t,f                                                                                  Recipient of Service

Case #     5~a - f d f-                                    THIS IS TO CERTIFY ~ n
                                                              3 ~;>q-ll.e·
                                                                                                ,
                                                                                              3 i36£
                                                                                                     .


Charge(s):    q(. J j qt} ( P')                            I made due Personal Service thereof by leaving same in the hands of
                                                           the aforesigned Recipient

                                                          -r/l.ift£6      ti yt11> uS
Instructions:                                              (please write Recipient's name),
                                                            a person of suitable age and discretion, residing at the domicile of the
    Contact the above named Assistant District              person to whom the said process of Court· was issued, who was absent
Attorney upon receipt of this subpoena.                   · at the time, which fact I learned by interrogating the person in whose
                                                   0· ·     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you ,ppear to testify.      ~. :fu{ 1/ 1
                                                   ,...   ~
                                                                        Glhfo Li)              fib/mw:2            Server of Process




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                                                                  101                                            OPDA00239
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 103 of 192




                                                                          SUBPOENA
                                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                               FOR FAIWRE TO OBEY THIS NOTICE.
                                                           Office of the Orleans Parish District Attorney
                                                          CRIMINAL DISTRICT CO\JlT FOR TllE PARIStf OF ORLEANS


  To: Gabrial Washington                                            RETIJRN OF PERSONAL SER.VICE
                                                                    THIS JS TO CERTlfY that on
 G,emA,Lf.
                                                                     Mo11f'A1'< -'t-LI - Ilo
                                                                    I recelvd l~e process of Court of which this ls a duplicate.
  You AR Hcrchy Noti6cd pursuant to                                 ,, 7 / .. :                      \ . -I   .·
  LSA-CCRP u :. 66 to appear before the                             < u;, v,                       ,._g.._.
  Oisuia Anomcy for o:hc Pvish of Orleans, ro                                                                                  Rwp/ent of S•rrlu
  t<Stifym~mMaa:oidi~m~~lcnowkdgc
  in such matter., as may be n:quircd ofyou.                        THIS JS TO CERTIFY that on

  on Tuesday Apn15,2016
                                                                     Mo,.;t:i"''i 4·':l · :h                         (!,...,
                                                                    I made du• Personal Service thereof by \eavln1 -           In the hands of
                                                                    the atom~ Recipient
  at 8:30a.m.                                                               I     I        I
                                                                       "\
                                                                     { .,~t,r· '°" L/ , .:'(\.i; ~
  to Assistant District Attomey:                                                       .....
                                                                    (pk- '"""' Rrdpienr'S nomd,
                                                                                                     .         ,:;

                                                                    the p~rsqn to1who"1 the J>roteSS Is directed.
  AllieSSIJ)as                                                           ( : ~ \ ,.- ,-'t                .
                                                                          -.J.J '.•·   J       u       -
                                                                                ·1                                               Se_, of Proces,
  phone#: 50<1-822-2414                                                        V
                                                                    RETURN OF DOMICILIA RY SERVJC£
  al 619 South White Street
                                                                    THIS IS TO CERTIFY that on
  In the case or:
                                                                    I roc•lved the proceu of Cou,t of whkh thl• Is • dupWcate.
  State of LA vs. Brinell Carter
                                                                                                                               R«lpkntofxr vla
  Item# J.25257-15

  Case # 526853 F                                                   THIS IS TO CERTIFY that on

  Olarxe(s): R.S. 14:34 • Aggravated                                I rnade due Personal Service thereof by loavlng sarn• In the hands of
                                                                    the afomlsned Rocfplenl
   Battery

                                                                     (p/tou wrlle R<Ciplent's name),
   Instructions;
                                                                     a ~,son or suitable •P and discretion, IHidlng al the domklle of the
    ( 11111,l<l he• Jbov, 11 unt d       ,i<,..,,-.t mt   01<.lmt
                                                                     person to whom the said process of Court wu lssu•d, who WIS 11Json1
    /\11 01- ,,·,   ,)11   •r•ct•, t uf !1•1, ,~ l1pcn n,1           1t the tlm•, which fad I l11med by lntrrro11t1nr the person In whose
                                                                                                                                      ~ ~
                                                                     hands tht said procoss WIS Id.
    Our ,;; th .., ',u lJp ,1 n l _.,., '/Ot lo 't'. P U1\tr1c:
    Altornev., O!hff• i.•, 111•11 vo11 up1w~r to h1 'i. t1fy
                                                                                                                                 S•rwr of Pro~•




                                                                                                         CERTIFIED DA OFFICE COPY




                                                                                                                                                   ,




                                                                                                      102                                              OPDA00127
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 104 of 192




                                                                     SUBPOENA
                                                     A RNE AND IMPRISONMENT MAY BE IMPOSED
                                                         FOR FAtLURE TO OBEY THIS NOTICE.
                                                      Office of the Orleans Parish District Attorney
                                                     CRIMINAL DISTRICT COURT FOR THE PARISH Of ORl.£ANS


   To: Lashandn Anderson                                      RETURN OF PERSONAL SERVICE
                                                              THIS IS TO CERTIFY that on


  You Are Hereb, Notified pursuan1 10
  !.SA-CCRP u 1. 66 10 apl)Qr before the
  District Attomtt      ro,
                         die Parish ofOrleans, m
                                                                                                                   Rtclpltttf of ~rvfa
  testify m die ""' h according 10 your knowledge
  in Nch manrrs ,. m2y be ~uired ofyou.                       THIS IS TO CERTIFY that on
  on 4/19/16
                                                             I made due l'lrsonal Service thmor by leaving same In the liands or
     9:00a.m.
  at _ ___________                                           the aroreslrned Recipient
                                                       ~




                                                             (p/tOSf writ• R•dpltnt'S nomt),
  to Assistant District Attorney:
                                                             the J)erson to whom th• process Is directed.
  Alexis Taylor

  phone#: 504-_82_7_-6
                     _3_1_0_ _ _ __                                                                                  ~rm- of Process

  at 619 South Y.bite Street                                 RETURN OF DOMICILIARY SERVICE
                                                             THIS lSTO CERTIFY that on
  In the case or:

                  --------
  State of LA vs Kefon Reed
  llffll • K- 1e21_s._1s_ _ _

  Case# 527-51i1
                    ----------
                                          _ _ _ __
                                                             I ff(efved th• proctss of Court of whidl this ls a dupUcat•.


                                                                                                                   Rtdpltnt of   -e
  0,arge(s):   14: 35.3 (L); 14:35.3; 14:34.1
                                                                                                     leavlnc same In the h~nas of



  Instructions:                                              (pleas, write Rtdpionrs nomd,

  Cont,1<t lr"IC' ilbo:c n.1rncd A~c,1st,1nt 01<,lmt
                                                             a person or s•ltable •1• and discretion, n,sldlnc at the domldle ·or the
                                                             person to wham the said pTOcess of Court was Issued, who was absenr
  Attorney upon 1cc1,;1pt of this subpor-n0                  at th• lime, which fact I le•med by lntenaratlng tht penon In whose
                                                             hands the said process wu left.
  Burie th1'> ~ubpornJ ,r,ih yn ,1 to the 01<,lr1ct
  A'tmrH:y's   O'f1C(' \,/llfl \IIJU   1ppc1.r la :••stify
                                                                                                                    Xt'olff. of Proass




                                                                                          CERTIFIED DA OFFICE COPY




                                                                                        103                                              OPDA00174
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 105 of 192




                                                                        SUBPOENA
                                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                             FOR FAIWRE TO OBEY THIS NOTICE.
                                                        Office of the Orleans Parish District Attorne y
                                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORl.£ANS

     To: Asia Ancrews
                                                                 RETURN OF PERSONAL SERVICE
                                                                 THIS IS TO C£1\TIFY 1h11 on


     You Arr Hcn,(,y No1i6cd pursuant 10                                                                    s Is a dupllcatt.
    I.SA-CCRP an. 66 to appear before the
    Distria Attom:y for ,he Parish of Orleans, to
                                                                                                                        Rtclpltnt of Sttvlc,
    tatify (0 me "' th aa:ording ,. your lcnowlcdg,:
    in such mattct1 as may be n,quircd oryou.
    on 4/19/16
                                                                                                               Ing same In Ille hands o(
    at 9:00a.m.

                                                                (pl•as• writ, R,clpl,nr's namd,
    to Assistant District Attomey:
                                                                th• person to whom 'the process Is dln,cted.
     Alexis Taylo1

    phone #: 504_-8_27~-6_3_1_0_ _ _ __                                                                                  s,,.,., ofPraaSJ
               :ruJ-1.JJ-t,,.
    at 619 South White Stn!et                                   R£TURN 01' DOMICILIARY SER.VICE
                                                               THIS IS TO CERTIFY that on
    In the case of
                                                               I nutwd   the pro~s of Court af ¥Whkh this Is a duplicate.
   State of LA vs _1<e_1o_n_R_ee_d_ _ _ __

   Item# K-1e21_S-_1s_ _ _ _ _ _ __
                                                                                                                      R,c/plenr of Senrla
   Case# 527•5•3_1_ _ _ _ _ _ __                               THIS rs TO CERTIFY that on

   Charge(s): 14:35.3 (L); 14:35.3; 14:34.1
                                                               I made due Personal Seivfu thereof by leavln& same In the hands or
                                                               the aftwslgnod Reclpltnt


   Instructions:                                               (pl,ast wrltt Rtclpltnl's namd,
   Con~J(t :re ,100\l· n,1 r-cd A<.'i s:.-, .. c D15tr1cl                          •&•
                                                              a (l<!rson of sultable     and dlsct<llo~. residing at the domldle or the
                                                              ~on to whom the said process of COUit was lssutd, who was absent
   Al1orn1,;y ..ipon rC'C~1pt of th1 '> si..bpo~"'t.l         at the time, which fact I leamed by Interrogating the person In whose
                                                              hanijs the said process was left.
   8 ,, .. ,: th •s ~ub;iocn,1 :,111 ','J:J fo 1hr O s'r,<:
   At1or11t•y·!. OfhtC' ~·,rr•n you ,1pp( ;u to tcs11ry

                                                                                                                       Slrwr of />roceu




                                                                                            CERTIFIED DA OFFICE COPY




                                                                                          104                                                  OPDA00175
             Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 106 of 192

             Cl
         •        ,I   •

                                                               SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.

                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Dr. Hugo St. Hilaire MD, DDS,                               OF PERSONAL SERVICE
        FACS,
        N.O.La.
                                                       X->t---A== !~::::+--\f:t :==--=:__- ------
    You Are Hereby Notified pursuant to
    LSA-CCRP arc. 66 to appear before the              -X
    District Attorney for the Parish of Orleans, co      ------------- ----R-e-cip -i-en_t_o_f_Se_rv_i_ce
    testify to the truth according to your knowledge
    in such matters as may be required of you.          THIS IS TO CERTIFY that on

    on Wednesday 4-20-16
                                                        I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient
    at _9:00
         __  a.m.
               _ _ _ _ _ _ _ _ _ __

                                                        (please write Recipient's name),
    to Assistant District Attorney:
                                                        the person to whom the process is directed.
    Chris Cortez

             822-2414 exr 6319                                                                                 ·Server of Process
    pone
     h   # : _ _ _ _ _ _ _ _ _ _ __
                                                       RETURN OF DOMICILIARY SERVICE
    at 619 South White Street
                                                       THIS   rs TO CERTIFY that on
    In the case of:
                                                                  the process of Co rt of which this is a duplicate.
                  Simeon
·Stat e of LA vs. _ ___  Hachi
                           _ _ _ _ __

"   Item # A-38227-15

                  524-316
                                                                                                              Recipient of Service


Case #
 '-    ( ) 2nd degree batttery
Cr arge s :                                            I made due Personai Service thereof by leaving same in the hands of
                                                       the aforesigned Recipient


                                                       (please write Recipient's name),
Instructions:
                                                       a person of suitable age and discretion, residing at the domicile of the
    Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
I                                                      hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                                Server of Process




                                                              105                                          OPDA00237
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 107 of 192



                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT. MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                           Office of the Orleans Parish Distri ct Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Dr. Paul Perez DDS                              RETUR N OF PERSO NAL SERVICE
                                                    THIS IS TO CERTIFY that on


                                                    I received the process of Court of which this is a duplicate.
You Are Hereby Notifie d pursuan t to
LSA-CCRP art. 66 to appear before the
                                                                                                           Recipient of Service
District Attorney for the Parish of Orleans, to
testify to the truth accordin g to your knowledge
                                                    THIS IS TO CERTIFY that on
in such matters as may be required of you.

on Wednesday 4-20-16                                                                                           hands of
                                                    I made due Personal Service thereof by leaving same in the
                                                    the aforesigned Recipient
          ___ ___ ___ __
    9:00 a.m.
at ___

                                                    (please write Recipient's name),
to Assistant District Attorney:                     the person to whom the process is directed.
q;hris Cortez
                                                                                                             Server of Process
 l
 h
pone      _ _14
        822-24
     #: _      _ exr
                 __  6319
                      _ _ _ _ __
                                                    RETUR N OF DOMIC ILIARY SERVICE
at 619 South White Street
                                                    THIS IS TO CERTIFY that on
In the case of:                                       'l-/l {-/l ,
State of LA vs. Simeon Hachi
                                                                                                           Recipient of Service
Item# A-38227-15

         524-316                                    THIS IS TO CERTIFY that on
Case #
                                                    t./-l'-1-lv
             2nd       _ _ y_ _ __
                 _ _ _battter
               _degree                              I made due Personal Service thereof by leaving same in the hands
                                                                                                                     of
Charge (s) : _
                                                    the aforesigned Recipient


                                                    (please write Recipient's name),
Instructions:
                                                    a person of suitable age and discretion, residing at t \· domicile of the
 Contact the above named Assista nt District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena..           at the time, which fact I learned by interro ting the person i n whose
                                                    hands the said process was left.
 Bring this subpoena with you to the District                                    '
 Attorney's Office when you appear to testify.                                                               Server of Process




                                                                                                                     •

                                                         106                                           OPDA00238
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 108 of 192




                                                                    SUBPOENA .
                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                         FOR FAILURE TO OBEY THIS NOTICE.
                                                     Office of the Orleans Parish Disuict Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


   To: Brandon Batiste, b/m dob:                              RETURN Of PERSONAL SERVICE
          196
                                                             THIS IS TO CERTIFY that an
       NOLA 70117
                                                             I received the prouu of Court of which this is • duplicate.
  You A,e Hereby Noti6ed pursuant ro
  l.SA.CCRP art. 66 to appn., bcfun: the
  Diitticc A1t0mcy for the Parish of Orleans, to                                                                   R1dplent of ~rvlc,
  r:arilj, 10 the mnh according 10 your l<llowlcdgc
  in such matten as may be rcquin:d of you.                  THIS JS TO CERTIFY that on

  on April 22, 2016
                                                             I mad,; due Personal Serviet ther,o(by leavmg sam• In the hands of
  at 10 am                                                   the af"feslgned Redpl•nt            ·


                                                             (pl••!• write Rulpienl's nomt),
  to Assistant District Att
                                                             t~,'~erson to wham the process Is din,cted.
   Louis Russo

  phone #: 5~6-6598                                                                                                  s,rver of Process

  at 619 South White Street                                  RETURN OF OOMICILIAJtY SERVICE
                                                             THIS IS TO CERTIFY th•t on
  In the case of:
                                                             I rectlved tht process of Court of whkh this Is a duplicate.
  State of IA vs. Rommel Johnson

  Item# A--09977•16                                                                                               Rtclplen/ of ~rvlcr

  Case# M554614                                              THIS IS TO CERTIFY that on

  Charge(s): 14:37.4; 14:94
                                                             I made due Personal Servtce th•"'°' l>y leavlns same in the hands of
                                                             the afo..,slcned Recipient


  Instructions:                                              (please write Rtciplent's name),

  Contact ttic ,1bu\.f' nJmed At.c..1t.t.1nt lMtn<t          a person of suitable age and dlscn,tion, residing at the domicile of the
                                                             person to whom the said process of Court was Issued, who was absent
  Attorney upor1 1t·Ct 1r,t of th,-. suhporr1,1
                         1
                                                             at the tlmt, which fact I learned by lnterro1at1ns the person In whose
                                                             hands the said process was left.
  Br1-.:; l h1s c-.ubpot-'r1a \', th you l o 1~1c 01str,ct
  A1 torrey·~ O"ile \',hl:n )CH, ,1f:?PJf to tPs'•'Y
                                                                                                                    Strwr of P~s,




                                                                                               CERTIFIED DA OFFICE COPY




                                                                                          107                                            OPDA00321
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 109 of 192

         ...
;




                                                 '-   .
                                                                           SUBPOEWA
                                                          A FINE AND IMPRlSONMENT MAY BE IMPOSED
                                                              . FOR FAIWRE TO OBEY THIS NOTICE.
                                                          Office of the Orleans Parish District Attorney
                                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To,. . . .                                                        RETURN OF PERSONAL SERVJCE
                                                                  THIS ISTO CERTIFY that oo


                                                                  I ecelved th         es    f C rt f whlcll thl I a dupllcate.
    Yo11 Arc. Hcrc~y Notified pursuant to
    LSA-CCRP art. 66 .to appear before the
    District Anorm:y for the Parish ofOrleans, to
                                                                              -- -----~
                                                                                                 -
                                                                                                              -            Rtclpltnt of Strvlct
    1cstlfy to the lfUth 1CX10rding to your lcnowlalgc
    in such matters aa may be rcquin:d of you.                    THIS ISTO CERTIFY that on

    on         ff1KJ                                              I made due Personal Ser.,lce thereof by leaving same In the hands of
    at         I -.COftn,,____ _ __                               the aroreslgned Recipient


                                                                  (pleas• writ• Rtcfplont's namd,
    to Assistant O strict Attorney,
                                                                  the p•,.on to whom the process Is directed.
    ~ffi·wi@~                                                                                                                ~rver of Praass
    phone #:~...       'f/._'_..{@y""-'-"~--
                                                                  RETURN OP OOMICIUARY SERVICE
    at 619 South White Street
                                                                  THIS IS TO CERTIFY that on
    In the case of.



    Item,______
                                                                  I   received tho proces• of Court of which this Is a duplicate.
    State of LA vs.
                                                                                                                          Rcclp~nt of Scmc•


    Caso#
                                                                  THIS IS    ,·o Cl:RTIFY that on
    Charge(s):.!1•_4.,_Z.~\_ _ __                                 I made due Personal Service thottof by leaving sam• In the hands of
                                                                  the aforesl1ned Redplenl
                 H:?l1•1
                                                                  (please write Rtdpltnl's nam~.
    Instructions:
          •           I                                           a pt,rson of suitable are and discretion, resldlnr at the domicile of the
    Con\i,Jcl Hw .ibnvc nJm C'd /i.-.s15!Jnl 01str1ct             pe,son to whom the s.ld process of Court was lsslled, who was absent
    AIIQlflt'Y 11nvn 11.Lt:1rit or ll11r., subpu1.:n,,.           at the time. whldt fact I leamed by lnterro,atlng the p•rson In whose
                                                                  hands the said proc,,ss was left.
    o,,11t; 1•1 s ~1.,0pot n;i \'.111• yoll to rh.• 0 1'itr cl
    ;'\!lorn< y's Ollie•~· ,.• f11:11 you 1pp P.1r to lesl fy
                                                                                                                            Sorver ofProcess




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                                                                                                     108                                          OPDA00186
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 110 of 192

       ...


                                                     ,.
                                                     \.
                                                                             SUBPOEN'A·
                                                             A F1NE AND IMPRISONMENT MAY BE IMPOSED
                                                                  FOR FAIWRE TO OBEY THIS NOTICE.
                                                             Office of the Orleans Parish District Attorney
                                                             CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


  To:~                                                                RETURN OF PERSONAL SERVICE
                                                                      THIS IS TO Cl!llTIFY that on
                                                                                                       0 · 69 · l t,
  You Arc Hcrcl•y Notified pursuant to                               w s a d u p l l c a t e.
  1..SA-CCRP an. 66 10 appear before the
  District Attot1>:y fur the Parish ofOrlcaru, to                                                                           Recipient of Servi~
  ccstlfy to die m: th occording m your lcnowlalgc
                                                                     THIS !S TO C~llTIFY that on
  in such~ttc~ u may be required of you.
  on            3     ....c.l.o_ _ _ _ __
                                                                     I made due Personal Service thereof by leaving same In the hands of

  at     [2:00        pm                                             the afo,eslgned Recipient


                                                                     (pl•••• writ• Redp/enl's name),

 ~~~~~ey:                                                            the person to whom lhe process Is directed.


                                                                                                                              Stmr a( Proctss
 pbone       /1:~;.;t:/;...-_½«e._-=------
 at 619 South 11\'l)ite Street                                       RETURN OP DOMICILIARY SER.VICE




                             ...__
                                                                    THIS IS TO CER.TlfY tha( on
 In the case of,
                                                                    I rl!celved the procu.s of Court of which this Is a dupllc•t•.
 Slate of LA j s , , _ . _ _ _

Item                                                                                                                       1/wp/ent a( S•rvl"'

caseft~
                                                                    nil's IS 1'0 CERTIFY that on

01arge(s):           ~fr_,4~i_.\~---                                I mid• due Personal Seivlce thereof by luvlnr same In the hands of

                     \tf. ~.\                                       the 1foreslgned Redplenl


Instructions:                                                       (pitas• write Redplent's name),
                                                                    a person of suitable age and discretion, resldlnc al tlie domicile of th•
1 (011\uct !Ile ohb.r- 11umcd Asc;1s.la111 ,strjll   •              person lo whom lhe said process of Court was Issued, who was absent
I AtlflJOi.:Y ur'H)n tl'(f   ,pt of 1111,;   ,;11UpOC'rl:J          11 lhe time, which facl I learned by Interrogating lhe person In whose
                                                                    hands th• said process was left.
 Bn~& thl~ ~ ulif1Ut•11a \.'J1 l h you lo th(I O,stmt
 AttQu1c y•~ Olftl.C \',ih en \'nu .ippc., r to ltist1(y
                                                                                                                             s,mr of Process




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                                                                                                   109                                            OPDA00185
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 111 of 192



                                                             SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMP  OSED
                                               FOR FAILURE TO OBEY THIS NOTICE.

                                            Office of the Orleans Parish Dis tric t Att orn ey
                                                                                  OF ORLEANS
                                           CRIMINAL DISTRICT COURT FOR THE PARISH


To: JAS MIN E DAN SEY                                   RET URN OF PERSONAL SERVICE
                                                        THI S IS TO CERTIFY that on
                                                               9- 'I- I&____ Ji6 a pm·
       NEW ORL EAN S, LA



You Are Here by Noti fied purs uant to
LSA-CCRP art. 66 to appear before the                                                                         Recipient of Service
District Atto rney for the Parish of Orleans, to
testify to the truth according to your know ledge       THI S IS TO CERTIFY that on
in such matters as may be required of you.
on 5/5/ 16                                                                                      leaving same in the hands of
                                                        I made due Personal Service there of by
                                                        the aforesigned Recipient
     _ _ _ __ _ __ _ _ _ __
at _9AM
   0
                                                                64 :-f ~                ;J I¼ ~
   I
to Asslstant District Atto rney,
                                                        (please write Recipient's name),
                                                                                                I

 ART HUR BER NAR D MIT CHE LL IV
                                                                                                                 Server of Process
           (504 ) 827 -631 6
p hone # : _ _ _ _ _ _ _ _ _ _ __
                                                         RET URN OF DOM ICIL IAR Y SERVICE
 at 619 South White Street
                                                         THI S IS TO CERTIFY that on

 In the case of:
                                                                                                  this is a dupli~ate.
                                                         I received the process of Court of which
                 _ _NEL
           • vs. VER __    _SON
                         NEL
                        L_   _ _ __
 State of LA
                                                                                                                Recipient of Service
 Item # C-3 059 4-15
                 "C"                                     THI S IS TO CERTIFY that on
        526
 Cas e# _ _ -586
             __   _ _ _ _ _ _ _ __

              SIM PLE BAT   _Y;
                          TER                                                                    leavi ng same in the hands of
        s: _ _     __  __     _ _ __                     I made due Personal Service there of by
 Charge ()                                               the aforesigned Recipient
 VIO LAT ION OF PRO TEC TIVE ORD ER

                                                         (plea se write Reci pient 's name ),
  Instructions:                                                                                   , residing at the domicile of the
                                                         a person of suitable age and discretion
                                                                                     process of Cour t was issued, who was absent
   Cont act the abov e nam ed Assi stan t Distr
                                                ict      person to whom the said
                                                                                                    roga ting the person in iwhose
                                    subp oena .          at the time, which fact I learned by inter
   .~tto rney upon rece ipt of this                      hands the said process was left.
                                                                                                                            ·

                                                ict
   Bring this subp oena with you to the Distr
                     e whe n you appe ar to testif y.                                                              Server of Process
   Att~r ney's Offic




                                                              110                                            OPDA00230
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                                                                                    SUBPOENA
                                                                                        MAY BE IMPOSED
                                                        A FINE AND IMPRISONMENT              NOTICE.
                                                             FOR FAILURE TO OBEY THIS
                                                                                        Dis tric t Att orn ey
                                                         Office of the Orl ean s Parish
                                                                     RICT COURT FOR THE PARISH
                                                                                                  Of ORLEANS
                                                         CRIMINAL DIST

                                                                                                  VICE
    To: Gregory Wffliams
                                                                            RETURN OF PERSONAL SER
                                                                            THI S IS TO CERTlr-Y that
                                                                                                      on
                                                                                                              A ~L 21:> 1 2o  I le, '3~5Sf"'
                                                                            W E 0~ '1                                      lcate,
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     You /Ire H<n:hy Nntifio:d puri                                                                                                                       Stma
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     LSA~ CRr arr. 66 ro. 2ppt 2r bcfo
     Dismcr Acromey for ,he Parish
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     rcs1~· 10 rhc muh =rd ing                                              THI S 1$ TO CERTtr-Y that
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     on May 5, 201 6                                                         I mad e due Personal !i.rv ite
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     at _ 9am
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      to Assistant District Attomey
       Bonycle S. Tho   rnto n
                                                                                                                                             S1,w t of Pt0c us

      p/tone #: 827 -603 7
                                                                                                    SERVICE
                                                                              RETURN OF DOMICILIARY
      at 619 South White Street                                               THIS IS TO CER Tll'Y that
                                                                                                        on

       In the case o~                                                                                        t or wt,lch this     ~ a duplicate.
                                                                              I received th• pr;;J ss of Cour
                                  son
       State of LA vs. Karron John                                                                                                          R,clpi,nt of Strvl<I
       Item # G-26462-15
                                                                                                                 on
                                                                               THI S IS TO CERTIFY that
       Case # 525 -997
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        Instructions:                                                                                               discretion. resid ing a: the domlwas abSont
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                                                                                                        CERTIFIED DA OF FIC E




                                                                                                     111                                                            OPDA00203
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 113 of 192




                                                                       SUBPOENA
                                                    A FINE AND IMPRISONMENT 'MAY· BE IMPOSED
                                                         FOR FAILURE TO OBEY nus NOTICE.
                                                     Office of the Orleans Parish District Attorney
                                                    CRIMINAL DISTRICT COURHOR THE°PARISH OF ORLEANS


          To: Terrance ,,enklns                                  RETURN OF P.ERSQNAL SERVICE
                                                                THIS IS TO C:ERTIFY that on
               New Orleans, LA                                      ,p,:rc. ZS. 2 c/ft,
                                                                I received the process or Court of which this is a duplicate.
          Y1lu Arc Hcrch} 1':tltificd punma.nt to
          L~A-CC:RP nrt. 66 m •pp<ar b,fore ,hr
          DiStriet Armmc} for the Parish of Orlt:",ms, to
                                                                 T~- 4.n/r;th$                                        Rotipltnt of 5tMCt
          rt'!rily m rhc mi, 1 ,ccording 10 your knowledge
          in such m:mcn-; s may be raiuittd of you.             TH IS IS TO CERTIFY thal on

          on May 10-11.2016                                          Ap,n:1. ze, 2Dlt.
                                                                I made due Personal Servlte thereof by leavln1 same In lhe hands ol
              9am
          at _______________                                    lhe aro,..,1gned Recipient
                                                                   Tie-iiitil,-ic~          :r~..i1e.:~ t
                                                                (pitas• wr/11 Rtcip~nrs   n•~J.
          to Assistant Oi;trlct Attorney:
                                                                the person to whom the process is directed.
          BonycJe Thornton
                                                                  ~--g
          phone #: 504·_82_2_·2_4_1_4 _ _ _ __                                                                          StfYtr of Proas,


       at 619 South White Street                                'RETURN OF DOMICILIARY SERVICE
                                                                TIJIS 1s ·10 CERl1FY that on
       In the case of·
                                                                I rKelved the proceu of C0u11 of which this Is a duplicate.
      State of LA vs Ernest WIiiiams

      Item# K-30100-15
                           ----------                                                                                 Rtclpienl of Servi«

      Case# 528·0_3_7_ _ _ _ _ _ __                             TMIS IS TO CERTIFY that on

      Charge(s): 14 _e_s._1_ _ _~ - - -                         I made due Personal Service thereof by   leaving same In the hands of
                                                                the aforeslgned Rtcipient


      Instructions:                                             (please write Reciplent·s name),

          Co:1tacl lh~ .1bo\.P n;lmPd Ass1st;i.nt Oistmt
                                                                 a perSon of suitable a1e and discretion. rffidin• al the domicile of the
                                                             , !.person to whom the said process of Court was is.sued. who was absent'
          Altomcy upo~ rNt>1pt of Hus subpoenc1.                 al the time, which fact I learned by interrogating the person in whosf/
                                                                ·~nds· the n ld proces~ wa~ left.
 ..     t'h ng this subpoena with you to the DrsttJ(:t
      · ,•torney'~ Offiu• 1.·.hrn you app(';:ir to testify
      1                I                                                                                                Serwr of Proass·




                                                                                             CERTIFIED DA OFFICE COPY




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             Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 114 of 192


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                                                                                SUBPQENA ·
                                                            A RNE AND IMPRISONMElff MAY BE IMPOSED
                                                                      FOR FAILURE TO OB~ THIS NOTICE.
                                                              Office of the Orleans Parish District Attorney
                                                            CRIMINAL DISTRICT COURT FOR ,TlfE PARISH OF ORLEANS
                                           I

                  To: Elizabeth     Willitms                            RETURN OF PERSONAL SERVICE
                                                                        THIS ts TO CERTI r,y 1h11 on
                       New Orleans, llA                                  1'il11fl~tJ,4'(           '1·2.e.·//.,,          2: 2.S"p,..
                                                                        I .-ct~d lhe pro<ess of CoJrt of which lhis is a dupli<ate.
                  You An: tk«h) Nn< ficd purs11,n1 ,n
                  LSA-CCRJ' •rr. 66 , appar bcfur, ,i,.,
                  l>imi<t A110<n<) for , • l'aruh of Orleans, 10
                                                                           t~iti)s4d;h Lil t1i I ~                 •                ~clpiMt    of St,vic,
                  1mify 10 ,hc·<N<, ,a: rding ,u yourkn""Yl«lg,
                  in such m:1ttm 1-., ma he: rtquir«I of you.           nus IS TO CER1'1fY lhat on
                  on May 10-11, 20 6                                    :m!PSLIJW '1· Z.9·/b
                                           I                                                                         \• ll •
                                                                        I mad• du• Personal Strvlco thffl!o! by ltaving samt In the hands of


                                                                                                           e"· t~}-t
                      9am ·                                             the aforeslined Recipient
                  at _ _ _ _ _- ; - - - - - - - -                                                          : •

                                                                        (pltos« wrirr Rrdpirnt•s nomt).        "
                                                                                                                 ~ , v, _                        .140\S
                  lo AssiSt<l!lt O_i;trict Attorney:
                                                                        the per1on to
                  Bonycle "Thornton
                                    -..;..----- - -
                  phone #:_504_·822f414
                                                                                Q..
                                                                                                                                      =•, of Prue•«
                                    -!-,- -- - -
                  al 619 South White Street                             RETURN OF DOMICILIARY SERVICE
                                                                        THIS 15 TO CERTIFY that on
                  In the case of:
                                                                        I received the process ·or Court of whlc.h this   ~   a dupllcate.
                  State or lA 115 Em st WIiiiams
                                       I
                  kem # k-30100-15                                                                                                  Rtcipirnt of Sfrvic:.t   .i
                  Case #   s2a-0:_,1__,I_______                         Tl 11S IS TO CE.R'l lFY that on

                          '
                 0,arge (s,:      ---1---------
                               14·95.11                                 I made due Pt!rsonal Service lhtreor by ieavins same In the hands or
                                                                        the arores1cned Recipient


                                                                        (pl•os• wrirt Recipient's name),

                  Co,1an ttw ;ibove namNi As.-,i-,rant District
                                                                        a person or sultable age and discretion, resldlnc at the domlcllt of th•
                                                                       •person to whom w said process of; Court was l55ued. who was absent
                  Attome)' upor, f(>(Cipt of this ~uhpcena.             at the time, which fact I learned by lnlerroptinc the.ptrSon in whose
                                                                        hands tho said process was loft.
                  Brin~ thi~ sui.lr>oenJ v:Cth you to the Oi.stijrt
                  A:~o:nry'5 041C(' ·,:h(', you .1pprJ• !o t est•~-
                                                                                                                                      Serwr of Proc.tss




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 115 of 192




                                                      'SUBPOENA
                                       A FINE AND IMPRISONMENT MAY BE IMPOSED
                                            FOR FAIWRE TO OBEY THIS NOTICE• .
                                        Office of the Orleans Pa rish Distric t Attorne y
                                                                                f ORLEANS
                                       CRIMINAL DISTRICT COURT FOR THE PARISH:O.S-7-.v e.i'
                                                                                       j


 To: Tasjan SUllinm, b/m,
              199" '

     NOLA
 You A,e Hereby ~ otificd purauanl to
 LSA.-CCRP art. GI 10 appear bcfon: the                                                                Rtclp~nt of Sttv/a
 O1.iuicl Attorney 6,r the Paruh of Orleans, 10
 rcstify 11> the uud, ; CXORling to your ~        THIS IS TO CERTIFY that on
 ,n ,uch mancrs a, ; nay be rcquin:d ofyou.
 on May 11, 2013_ _ _ _ _ _ __                                                                                    of
                                                  I made due Personal Sonnee thereof by leaving same In the hands
                                                  the aloresirned Recipient
      _ _ _ _ _ _ _ _ _ _ _ __
 at _10am

                                                  (pk ast writt Rec/JJl«n('s namo),
 to Assistant Dist,ict Attorney:                  the person to whom tht process is directed.
  Louis Russo
                                                                                                          Server of Procou
 phone#:    594-&_~_s_9_a___ ___
                                                  R£TURN OP DOMICILIARY SERVlCE
  at 619 South Whl :e Street
                                                  THIS IS TO CER.TtFY that on

  In the case of:
                                                  I n!celved the process af Court of which this i~ a duplicate.
                    !
  State of LA vs. :ommel johnson
                                                                                                         Redplent of Senrlce
  Item # ~_-1_6_          _ _ _ _ __

               4_ _ _ _ _ __
  Case# M55461 _                              _

                               4 _ _ _ __
                           4:_9_
  Charge(s): 14:3' '_.4_,_1_                       I made due rsonal Seivke th~ •of by leaving same In the hands
                                                                                                                 of
                                                   the !fo?'5l&n •d Recl!)ient
                                                    /V!S( JfllrA               W~ "-'
                                                   (pl,ase write Rtclple"t's nomt),
  Instructions




                                                                                                            Strwr Of PfoCHS




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                                                                               114                                             OPDA00217
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 116 of 192


I.

                                                                        SUBPOENA.
                                                       A FINf AND IMPRISONMENT MAY BE IMPOSED
                                                            FOR FAIWRE TO OBEY THIS NOTICE.
                                                         Office of the Orleans Parish District Attorney ·
                                                       CRIMINAL DISTRICT COURT FOR TIIE PARISH
                                                                                             I
                                                                                               OF ORLEANS


       To: Oominique Oupree, b/                                  RETURN OF PERSONAL SERVJCE
           dob /1990
                                                                 THIS IS TO CERTIFY lhal on
                           .
           Melaine, LA
                                                                 I reteived the pr0<ns of Coun ol which this Is a duplicate.
       You Att Hcttby Notified pursuant ro
       LSA-CCRP 1r1. 66 10 appar bcfon: the
       Dinricr Auorncy fur rhc Parish ofOrlc,ns, ro                                                                    Rtdpltnl ofSer,/ce
       <cstify ro th. 11111h aax>nling 10 your knowledge
       in such matters as may be required ofyou.                 THIS IS TO CERTIFY lhal on

       on May11,2016
                                                                 I made due Personal Se,vlce thereof by leavlng same In th• hands of
      at _10am
           _ _ _ _ _ _ _ _ _ _ __                                the aforeslgnod Reclplon1

       L ,,v      ✓r:r,7
                                                                 (pleasr write Rrdplont's nomt),
      to Asslsttnt District Attorney:
                                                                 the peBon to whom lh• pro~ss Is directed.
       Louis Russo

      phone #: 5~06-6598                                                                                                 SeM!r of P~ss

      at 619 South Whlte Street                                  RETURN OF DOMICILIARY SERVICE
                                                                THIS IS TO CERTIFY that on
      In the CASe of:
                                                                I rwcelvod the pr0<ess of Court or whkh this Is ,r duplicate.
      State of LA vs. Rommel johnson
      Item I   A-099n-16                                                                                              Roc/p/ent of Setvfct

      Cas. # M554814                                            THIS (S TO CERTIFY that on

      Cha,ge(s): 14:37.4, 14:94
                                                                I mado due ~rsonal Service thereof~ leavlnr same !n the hands of
                                                                lhe aforeslgned Recipient


      Instructions:                                             (please write Rtclplent's nomt),

      (tJnl,HI thr .1b0\d' nt1m 7 d Assistant 01~t11ct
                                                                a person or sull1bl1 ••• and discretl•~• residing al lhe domldle of the
                                                                person to whom the said process of Court was Issued, who was absent
      Atturnt'Y upon rru 1pl of tins ~uhporin,1                 at tho time, which ract11..mod by lntorrupllng tho person In whose
                                                                hands the said process was left.
      Rrmr; !hie. <.ubpo,.n:i \'.itli you tn thro 01,;tmt
      AIIOMPy <, OH1{1• ,.-,hr II you JppC',H lo r,, ... t,tv
                                                                                                                        Srrwr of Process




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                                                                                            115                                              OPDA00315
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 117 of 192



                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAIWRE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: SHENETRA BARDELL                                 RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on



You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify co the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTlFY that on

on 5/13/16
                                                          £-5-/(Q
                                                     I made due Personal Service thereof by leaving same in the hands of
    9AM                                              the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       51+&ee,o'l,g. ~
                                                     (please write Recipient's name),
to Assistant District Attorney:
ARTHUR BERNARD MITCHELL IV

           504-827-6316                                                                                       Server of Process
p hone # : _ _ _ _ _ _ _ _ _ _ __

                                                     RETURN OF DOMICIUARY SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:                                         2-3:l·tA
                                                     I received the process of Court of which this is a duplicate.
      . f LA vs. CARLA
                 ____  ROBERTSON
                         _ _ _ _ __
State o
          F-22423-14                                                                                       Recipient of Service
Itern #
          524-233                                    THIS IS TO CERTIFY that on
Case #
            SIMPLE ROBBERY;
      ( ) : _ _ _ _ _ _ _ _ _ __
Charges                                              I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
SECOND DEGREE KIDNAPPING

                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                            116                                           OPDA00233
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 118 of 192




                                                                       SUBPOEII~
                                                A FmE AND IMPRISONMENT MAY BE IMPOSED
                                                              FOR FAILURE,TO OBEY THIS NOTICE.

                                                  Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT f"OR THE PARISH OF ORLEANS



To: 6vt'f"'r      f'..'tv"'•"                                   RETURN OF PERSONAL Sl!RVICE
    S)ll b        ~,,~11 G e<I:                                 THIS ISTO CERTIFY thal on
         Neu 0..-1~,,.,, LA
                           ,,1< ia.111:1>,lf.   Ho.I.SC         I receive~ the process of Court of which this Is a duplicate.
You Arc Hereby Norifica pursuant 10
LSA-CCRP arr. f 6 10 appear h<:forc 1hc
                                                                                                                 x) D           Q..>-   e .s
Oimic, A«orncy for che Parish of Orleans, 10                                                                     I    Rtclpl•nt of S•M«
r:srify 10 1hc m,ch ao:ording to your knowledge
in such mancn as may be required of rou.                        THIS IS TO CERTIFY that on

on       /1Ay I ~i~ ,.,,,
                                                                                   ~-1&•1'-          &? ,/:rr-lA.
                                                                J made due Personal Service thereof by leav,ng same In the hands of
                                                                the aforeslgned Reclp"ent
         /:¢¢Pr,
at
                                                                  '{)                  -L't "'
to Assistant District Attorney:
 B.,-... h     ~!,A' b
                                                                                                                        Serv<r of Protess


                                                                RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                                THIS IS TO CERTIFY that on
In the case or:
                                                                I received the procHs of Court of which this Is a duplicate.
State of lA vs.    J>u"t II     g... lL.J
                                                                                                                      Recipient of Service
             H-r1-8H-lf
Item#
Case #
                      ----- ----
             ~)I.·, I ~_,_.. ;;;__·_ _ __ _                     THIS IS TO CERTIFY that on

Charge(s):    ..'il.:.L....::,_>_ _ _ __                        I made due Personal Service thereof by leaving same In the hands of
                                                                the aforeslrned Recipient


                                                                (please write Recipient's name),
Instructions:
     -                                                          a person or su.table age and discretion, resldlns at the domicile or the
Contact the abova named Assistant D1slrict                      person to whom the said process of Court was Issued, who was absent
Attorney upon rec:,,1pt of this subpoena.                       at the time, which fact J lurned by Interrogating the person In whose
 I                  '                                           hands the said process was left.
!!ring th,s subpo!71a with you to the District
Attorney's Office J,hen you appear to tesl,fy.
                    /
                    I
                                                          .                                                             s~rver of Process




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                                                                                            117                                                OPDA00195
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 119 of 192




                                                                SUBPOEK...
                                              A RNE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEAHS


 To: brl'j'"'r //t1h-.•,.                               RETURN OF PERSONAL SERVICE
                                                        THIS IS TO CERTIFY that on

      N,u 0.-lf'"''' LA                                                  ~-tr-r,
 You Are Hereby Notified pu<$uan1 ro
 LSA-CCRP m . S6 to appear before rhc
 Dimitt Attorney for rhc Parish of Orleans, 10
 tc.stify ro the rru1.li according to your know!,,dgc
 in such mo«crs •, may be rcquircd of you.              THIS IS TO CERTIFY        that on
                                                                          !>-19-J<.         @  !q~I-"(.
 on   /"i.1.y I fl!:-   '-911'
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                                                        I made due Peisoral Setvlce !hereof by leaving same In the hands of
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                                                        {pitas, writ• Rt<lpl,nt'• nomt ),
 to Assistant District Attorney:
  8.;....,, ~1.,._,b______
 phone#:     $'fb"t.~21 - ,n~                                                                                    ~,.,., of Proc,ss

 at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                        THIS IS TO CERTIFY that on
 In the case of:
                                                        I received the process of Court of which this Is a duplicate.
State   or LA vs. _Pu"t II g,.J bJ
Item#     H~ 3nn-,r
              - --------
                                                                                                              Rtdpitnt of   s,,v1,,
case#   ~)t-,,r      --;·
                --'------ --
                                                        THIS IS TO CERTIFY that on


                      ______
Charge(s): :il.Jf-(___>                                 I made due Personal Service thereof by leaving same In the hands of
                                                        the afo,ulgned Recipient


                                                        (pleas, write R,ciplent's namd,
Instructions:
                                                        a person of suitable age and discretion, residing at the domicile of the
 Contact the abo e named Assistant District             pmon to whom the said procoss of Court was Issued, who was absenl
 Atlornt:)' upon r c<'1pt ot th s subpoen l             at the time, which !'Kt I loamed by lnten'ogatlnc the peison In whose
                                                        hands the said process was left.
 Bring th s subpoena   ,·,,th you to the C,str<ct
 Attorney's Ofticel11hen you np~ear to tcst,fy.
                                                                                                                s,rver of Proc,ss




                                                                                      CERTIFIED DA OFFICE COPY




                                                                                  118                                                 OPDA00196
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 120 of 192




                                                         SUB POE NA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAILURE TO OBEY THIS NOTICE.
                                         Office of the Orleans Parish Distric t Attorn ey
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Pershin g Odds                                 RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on
      New Orleans , LA
                                                   April 14, 2016

You Aie Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                          Recipient of Service
testify to the truth according to your knowledge
                                                   THIS IS TO CERTIFY that on
in such matters as may be required ofyou.
                                                   April14 ,2016
on May 31, 2016
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at 9:00AM
                                                   Pershin g Odds
                                                   (please write Recipient's name),
to Assistant District Attorney:
Taylor Gray                                                 -
                                                   the person to whom the process is directed.

                                                      I-~ ]?- '--                                           Server of Process
        504.822 .2414
                  _ _ _ _ _ _ __
pone
 h   #: _ _ _ _
                                                   RETUR N OF DOMIC ILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In   the case of:
                                                   I received the process of Court of which this is a duplicate.
                 Wilfred Lewis
                         _ _ _ _ _ __
Stat e of LA vs. _ _ _
                                                                                                         Recipient of Service
Item# E-00997 -14

          520 517                                  THIS IS TO CERTIFY that on
Case #
         s: _ _ 14:34
            R.S. _ _ _ __ __ __                    I made due Personal Service thereof by leaving same in the hands of
Ch arge ()
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
 Instructions:
                                                    a person of suitable age and discretion, residing at the domicile of the
  Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
  Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                    hands the said process was left.
  Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                        119                                             OPDA00277
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 121 of 192




                                                                             '·

                                                                        SUBPOENA
                                                       A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                            FOR FAIWRE TO OBEY THIS NOTICE.
                                                        Office of the Orleans Parish District Attorney
                                                       CRIMINAL DISTRICT COURT FOR TifE PARISH OF ORLEAMS


    To: Lavern Mcfadden                                         RETURN OF PERSONAL SERVICE
                                                                THIS ISTO CERTIFY Iha! on                     ~
         ~LA                        -
                     1                                          WE.t>~1>Et{                       b · l- t ~
                                                                I recelwd tht process of Coun of which this Is a dupJ;ca1e.
   You Arc Hereby Notified pursuant to
   LSA-CCRP a."t. GG 10 appc1r before the
   Distritt Attorney for the Parish of Orleans, to
                                                                 'i,   f..MeAu dfW.J'1:--                             f/tclp/ont of So,-,1ce
   testify to the uuth •ccording to your knowledge
   in such m•ttcrs as m•y be required ofyou.                   THIS IS TO CERTIFY Ill.ii on

   on Thursda·f, June 2, 2016                                   I.() €:ooJ,600:(                   tp   ·I - U-2
                                                               I made due Personal Service lhereof by l•avlng same In lhe hands or
   at 1 P.M.                                                   tht aforesirned Reclpltnt

                                                                1: L,P'{et115
                                                               (p~• writ• R•dpl,nr•s nom,),
                                                                                            mtf:ttdlt-.u
  to Assistant District Attorney:
   Rachel Hunf

  phone #: 50•1-822-2414                                                                                               Serwr of Process

  at 619 South White Street                                    RETURN OF DOMICILIARY SERVICE
                                                              THIS IS TO CERTIFY Iha! on
  In the case of:
                                                              I received lhe process of Court of which this Is a duplicate.
  State of LA v:;. Lawrlnlsha McFadden

  Item# K-01f>41-15
                   ------ ----
  case # 527~ 53 F                                            THIS IS TO CERTIFY lhal on

 Charge(s): R.-:_._
                :>~ 2_2_
                       : 1_s_24_ _ _ _ __
                                                              I madt due Personal St<Vlce lhtrtol by teav1ng s . - In the hands of
                                                              the aloresl1ned Recipient


 Instructions:                                               (pl,ose   writ• Roclpltnr's namt),
  Cont,1<1 lltt~ .1bovP 11,,m(•d /\-:,s1t.l,rn! 01-;t11ct    a person of sul1ablt aat and dlscrellon. resldlnc 11 tht domiclle of the
  Atto•1lf y unon rNP1rt of 1111.c; s1,hpnr-n~
                                                                                                   or
                                                             person to wkom the said proces5 Court wH Issued, who wH abs~nt
                                                             at the Ume. which fact I learned by lnltrro1at1n1 lh• person In whose
                                                             hands th• said process was Id.
  B• r ,~ 'lit'> <.11br,oc· ., ,·11th v-1u lo the C1st11n
  .i\ltorrH }' ,, oa1r<' :,hrn you ,1pp1 .ir to lC'.,ti!v
                                                                                                                     s,rvor of P10coss




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                                                                                         120                                                   OPDA00199
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 122 of 192




                                                        ___._.., _ _ _ _ _ _ _ _a...._




                                                                 SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                                Office of the Orleans Parish District Attorney
                                               CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


   To: Brian Plc:quet                                     RETIJRN OF PERSONAL SERVICE
        New O~eans, LA
                                                          nm IS TO CERTIFY [hat on

                                                          I received the process of Court of which this ls ,a duplicate.
   You Are Herehy Noti6ed pursuant ro
   LSA-CCRP "''· 66 to appear befo,. the
   Di.strict Anom:y for the Parish of Orleans, to                                                                                           Rtdp~nt of Sew/a
   tcStify 10 the truth aax,rding to your knowledge
   In ,uch m•ttffl os may be n,quired of you.             THIS

   on June 3, 2016
                                                          I made due ~rso~a! ce thereof by leavlnc same In the hands or
   at   11:00am                                           the aforeslgned Reclp
                                                          L.,oll),.,7.,,                      I~-= --e           <
                                                          (please write Reclpltnrs name),
   to Assistant District Attorney:
                                                          the person to whom the ~rocess Is directed.                                        -

                                                           ~:;;(~ ~
   Autumn Cheramie
                                                                  Pr4L-<
   phone #: 827-6004                                                  Strwr of Proass


   at 619 South vn,lte Street                             RETURN OF DOMICILIARY SERVICE
                                                          THIS IS TO CERTl!'Y that on
   In the case of:
                                                          I received   the·protess of Court of which this 15 a duplicate.
   State of LA vs. J~seph Robin
   item# C-07295-16                                                                                                                        Rtclpltnt of StMU

   case# _ _ _ _ _ _ _ _ _ __                             THIS IS TO CERTIFY that on

   Charge(s): 14: (27)30.1
                                                          I made due Personal Service thereor by leaving same In the. hands of
                                                          the aroreslgned Recipient


   Instructions:                                          (p/Nse write Rtclplont's name),
                                                          a peBon of sullable age and discretion, residing at the domldle of the
   Contact the abo•Je nJmed Assistant 01<.tricl
                                                          person to whom the said process of Court l'flS Issued, who was absent
   Attorney upon receJpt of th1~ subpoena.                at the time, which fa<t I learned by Interrogating the person In whost
                                                          ha!'ds the said process was left.
   Brin[! this subpoC'na ~·.1th you to tti:- District
   Altorncy's Office uhen you ,:ippc Jr to lestify
                                                                                                                                              Strnr of Proctss




            '"   , ; - • --   -   - - - ~ - - - • . . - - •. . .-       •   •   •   •   • •    ~   I   -.,   •   ,-.,• - -   ••   ••   •   •~ •




                                                                                                             CERTIFIED DA OFFICE COPY



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                                                                                                   121                                                           OPDA00212
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 123 of 192



                                                                       SUBPOENA
                                                   A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                              FOR FAILURE TO OBEY THIS NOTICE.
                                                    Office of the Orleans Parish District Attorney
                                                   CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


 To:    Doi\ d-r itll -t                                        RETURN OF PERSONAL SERVICE
       t3,oG.ttlre~f                                            THIS IS TO CERTIFY that on
                                                                     'J"u,..;~ '3 2..0li.r
                                                                I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant co
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, co
                                                                &~                   ~                                 Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.                      THIS IS TO"CERTIFY that on
                                                                     ~~£ ~ 2-0l~
1
on      {p / {;//ft                                             I made due Personal Service thereof by leaving same in the hands of

lat     1'. 3o 4/l'l                                            the aforesigned Recipient          ·

                                                                     bt>Nl>~-r £.l,U: 1:>ou\R.~14 u',(.
I                                                               (please write Recipient's name),


                                                                      --
to Assistant District Attorney:

eh' te- :,;:~~? t
                                                                the person to whom the process is directed.

                                                                    -··-- · C ~ ~
phone#:       3,o:;, .. g,i1-7x4, Z                                                                                      Server of Process

at 619.South White Street                                       RETURN OF DOMICILIARY SERVICE
                                                                THIS IS TO CERTIFY that on
In the case of:
                                                                I received the process of Court of which this is a duplicate.
State of LA vs. ..,,1.~c;.:L~...1....--!...:: ...:!!!::!::~

Item # (,, •             r
                "t '?> 30 ~ I t-/                                                                                     Recipient of Service

Case #      ~d 3 .., / 0 lf                                     THIS IS TO CERTIFY that on

Charge(s):       /   l/ ~ f ~. (            C>\ (               I made due Personal Service thereof by leaving same in 'the hands of

                     ,
                                        1
                                                                the aforesigned Recipient
    \se ~r-1
Instructions:                                                   (please write Recipient's name),
                                                                a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District
                                                                person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.                         at the time, which fact I learned by interrogating the person in whose
                                                                hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                        Server of Process




                                                                                                                                    •


                                                                       122                                             OPDA00274
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 124 of 192




                                                               SUBPOENA'
                                            A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                 FOR FAILURE TO OBEY THIS NOTICE.
                                              Office of the Orleans Parish District Attorney
                                            CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

     To: Michael Forester
                                                       RETURN OF PERSONAi. SERVICE
                                                       THIS ISTO CERTIFY that 00


  You Arc Hereby Notified pursuant to                  I received the process of Cou,t of which this ts a dupNcate.
  LSA,CCRP arc, 66 to appear before the
  District Attorney for the ~rish of Orkans, co
  1csrify to ,he uuth aa:onling 10 your knowledge                                                            R,clpi.nt of S•mc•
  in such marten as may be required of you.           THIS ISTO CERTIFY that on
  on June7,20 16
                                                      I made due Personal Service thereof by leaving same In the hands or
 at _9:00
      __  am_ _ _ _ _ _ _ _ _ __                      the arar,slgned Recipient


                                                      (pl,an write R,ciplent's nomt},
 to Assistant District Attorney:
                                                     the person to whom the process Is directed.
 Rachel Hurd

 p             504-827-6
          ne : _ _ _ _304_ _ _ _ _ __
     ho     #                                                                                                 StMf of PrO(t$S

 at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this ls a duplicate.
State of IA vs. Shon Mcleoud-Poteat

Item# J-1141-15, et. at
                                                                                                           Rtdpltnt of Sttvlct
Case# 527-001                                       THIS ISTO CERTIFY that on
     LA R.S. 14:84, relative to Pan,
  ()r g e s = - - - - - - - - - - -
Cha                                                 I made due Personal Service thereof by leaving same In lhe hands of
                                                    the afortslgned Recipient


Instructions:                                       (plean write Rtclpi,nt's namci,

Conlacl the above named Assistanl Olslrlcl          a person of suitable ag• and dlscrellon, residing at the domicile of the
                                                    person to whom !he said process of Court was Issued, who was absent
Attorn~y upon rercrpt of lh,s subpoena.             at the time, which fact I Ceamed by ln1errogatlng the person In whose
                                                    hands the said process was left.
Bun!; this subpoena with you to lhe D,stuct
/\ltotney's OIIJCe when you app,•ar to tesllfy.
                                                                                                            s,rver of Procus




                                                                                  CERTIFIED DA OFFICE COPY




                                                                                123                                               OPDA00176
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 125 of 192




                                                                 SUBPOENA
                                                 A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                      FOR FAIWRE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                 CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


  To: Laverne McFadden                                    RETURN OF PERSONAL SERVICE

       New Orluans, LA                                   THIS JS TO CERTIFY that on
                                                          6/2/16              \•. t)b   l>Y
                                                         I received tho process or Court ol which !his Is• duptlat•.
  You Arc Hcrchy Notified pursuan1 to
   LSA-CCRP '" . 66 to appear before the
   Oisulc, At,o,n,:y fo, ,he Parish of Orleans, to
                                                         <:/4,nn wcr~                                            R•dp/tnt of Simer
  te<tifyto the cn·th acco,dlng ,o your knowledge
  in such matrcn as may be required of you.              THIS IS TO CERTIFY that on
                                                         6/2/16
  on June 8, 2:1_1_s_ _ __ __ -'-_
                                                         I made due ,..rsonal Service the,.ol by leavf ng same In th• Mnds of
  at _9:00a.m.
       _ _ __ _ _ __ _ _ __ _                            the aforesl1Md Reclp~nt                   tNY'.r... f~ _
                                                         Laverne McFadden           flLtf%d/r.;1 _7"/P!tl/l/l
 to Assistant District Attorney:
  Cr1mlnal District Court Section F

                                                                                                                   Serwr of Proc~ss
 phone#:

 at 619 South White Street
                                                        THIS IS TO CERTIFY that on
 In the case of
                                                        I received the process   at Court of which this is a duplicate.
 State ol LA vs Lawrinlsha McFadden

 Item#                                                                                                          Recip;en1 of s~rvla

 Case # 527-4!>3                                        THIS IS TO CERT IFY that on

 Charge(s): Ins J_ra
                  _ nce
                     __ F,_a_u_d_ _ _ __                I made due Personal Service the,,or by leiving same in the hands of
                                                        the afo,.slgned Recipient


 Instructions:                                          (pleas• writ• 1/tcipitnr's nomt),
                                                        a person ol sul!able a1e and dlsc,.uon, ,.,ldlng at th• domicile or the
 Conta(t the above n;imed Assistant Oj str1ct           person 10 whom the said process or Court was luued, who was absent
 Attorney upon rcu:1pt <ir tl11 s subpcit.•n,1          at th• Umt, which /act I loamed by lntom1gaUng the person In whose
                                                        hands the said process was ldt.
 Bren~ this subpnC'"J \",1th yew to lh<" 01st, cl
 Attor"ev·s 0"1t(' \·,he,, yo~ .ippc,::- to ttst1fy
                                                                                                                  Server of ProaSJ




                                                                                        CERTIFIED DA OFFICE COPY




                                                                                      124                                             OPDA00198
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 126 of 192




                                                                       SUBPOENA
                                                       A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                            FOR FAIWRE TO OBEY THIS NOTICE.
                                                        Office of the Orleans Parish District Attorney
                                                       CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


  To: Glen Pa111dee                                             RETURN OF PERSONAL SERVICE
                                                                THIS IS TO CERTIFY that on


                                                                I received the process of Court of which this Is a duplicate.
  You Are Hereby Notified pursuant to
  LSA-CCRP or:. 66 1t1 appca, before the
  Distria Anom:y for the P.arish ofOrleans,"!                                                                          Rtdpltnt of Ser,ic,
  ...,;{y a, the lnlffl .aoming ID )'Out ~
  In such maacn as 1112)' be required ofyou.                    THIS IS TO CERTIFY that on

  on June 8, 2_0_1s_ _ _ _ _ _ __
                                                                I made due Personal Se,vlce thereof by leaving same In the hands of
  at 9:00am.                                                    the aloreslgned Recipient


                                                                (pwose writ, Rtclpltnt's nom,J,
 to Assistant [,!strict Attorney:
                                                                the person lo wham the process Is dln!ded.
  Criminal District Court Section                 F

 phone#: _ _ _ _ _ _ _ _ _ __                                                                                            Serwr of Process


 at 619 South White Street                                     RETURN OF 00MIOLIAltY SE.RVICE
                                                               THIS IS TO CERTIFY that on
 In the case ol\
                                                               I ll!Celved the process or Court of which this Is I duplicate.
 State of IA V!-. Lawrinlsha McFadden

 Item#                                                                                                                Rtclpltnt of Strvlet

 Case# 527-453                                                 THIS IS TO CERTIFY that on

 Charge(s): lni,ural\Ce Fraud
                                                               I made due Personal Service thereof by leavtnr same In the hands or
                                                               the aforeslgned Recipient

                                                               (p/1011 writ• Reclpltnt's nam,),
 Instructions:
                                                               a person or suitable age and discretion, resldln1 al the domicile of lhe
  (0 1l 1rl 1hr ,7bO\.!' 1',1fllfd A<.<,1c,t 1,1t Dr<.(r1ct
     1
                                                               person to whom the said process of Coult was Issued, who was absent
  /\Ut1111f'V 11prlll 1rrf'1r,! of 11 ,~. i:.11hporr1.1        at the time, which ract I teamed by lnterroplln1 lhe person In whose
                                                               hands the said process was left.
  Bn1•1~ ih.., ',11hp1H 11,1 1:.1111 you to rt1( 01st11(t
 Arto111i•y, Off1rP     :1 1H   11 ynu 1pjH ,"tr In (1 <,hfy
                                                                                                                        Sttvtr of Proc,ss




                                                                                             CERTIFIED DA OFFICE COPY




                                                                                            125                                              OPDA00311
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 127 of 192


                I


                                                                SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Orleans Parish District Attorne y
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Quiana Washington                                RETURN OF PERSONAL SERVICE
         New Orleans, LA                                 THIS IS TO CERTIFY that on
                                                         June 13, 2016

    You Are Hereby Notified pursuant to                                                      hich this is a duplicate.
    LSA-CCR P art. 66 to appear before the
    District Attorney for the Parish of Orleans, to
                                                                                                               Recipient of Service
    testify to the truth according to your knowledge
    in such matters as may he required of you.          THIS IS TO CERTIFY that on
                                                         June 13, 2016
    on June 14, 2016
                                                        I made due Personal Service thereof by leaving same in the hands of
 at _9:00AM
      _ _ _ _ _ _ _ _ _ _ _ __                          the aforesigned Recipient
                                                        Quiana Washington
                                                        (please write Recipient's name),
to Assistant District Attorney:
                                                        the person to whom the process is directed.
    Taylor Gray

         504.822.2414
                                                        ~tS-
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __                                                                                  Server of Process

1
at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                       THIS IS TO CERTIFY that on
    n the case of:

                Ronald Perkins                         I received the process of Court of which this is a duplicate.
State of LA vs. _ _ _ _ _ _ _ _ __
Item# E-31736-15
                                                                                                              Recipient of Service
           527-780                                     THIS IS TO CERTIFY that on
Case #
            R.S.
              _ 14:35.3
Ch arge ()
         s :_    _ _ _ _ _ _ _ __
                                                       I made due Personal Service thereof by leaving same in the hands of
                                                       the aforesigned Recipient



Instructions:                                          (please write Recipient's name),
                                                       a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District
                                                       person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.                at the time, which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                               Server of Process




                                                                                                                           •

                                                               126                                             OPDA00278
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 128 of 192



                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorne y
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: MALCOLM GREEN                                    RETURN OF PERSONAL SERVICE
     NEW ORLEANS, LA                                 THIS IS TO CERTIFY that on


                                                     I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA~CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
                                                     THIS IS TO CERTIFY that on
in such matters as may be required of you.
on 6/16/16
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ __
    9AM

                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process is directed.
A~THUR BERNAR D MITHCE LL IV

          504-827- 6319                                                                                       Server of Process
phone # : _ ___     _ _ _ _ _ _ __

                                                     RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
                 REGINALD_WILSON
                           _ _ _ __
Stat e of LA vs. _ _ _ _
Item# A-20472-15                                                                                           Recipient of Service

         523908                                      THIS IS TO CERTIFY that on
Case #
               ARMED ROBBER Y
Charge (s) :             ·                           I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                            127                                           OPDA00314
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 129 of 192




                                                         SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                                                                   •
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

~ . Courtney Taylor
 0                                                 RETURN OF PERSONAL SERVICE
     ·
         New Orleans, LA                           THIS IS TO CERTIFY that on


                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant ro
LSA-CCRP art. 66 to appear before rhe
Disrrict Arcorney for rhe Parish of Orleans, co                                                          Recipient of Service
testify co the truth according ro your knowledge
in such mJrters a~ may he required of you.         THIS IS TO CERTIFY that on
                                                            1.U, - /G - I G,
 n June 20, 2016
                                                   I made due Personal Service thereof by leaving same ~the hand~ &f

lt   9:00AM
                                                   the ofeFesi~Red Reeipient o.J ·nJ,; ~JQ~;. ol="



to Assistant District Attorney:

Brian Ebarb
                                                                                                            Server of Process
phone#: (504) 827-6322

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Aaron McMillian

Item# C-27245-15                                                                                          Recipient of Service


Case# 524-871       "J"                            THIS IS TO CERTIFY that on


Charge(s) : 14:95.1, 14:94(F)                      I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
· Contact the above named Assistant District       person to whom the said process of Court was issued, who was absent
. Attorney upon receipt of this subpoena.          at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                            128                                               OPDA00304
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 130 of 192


          •
                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Tyrone Jones                                   RETURN OF PERSONAL SERVlCE
                                                   THIS IS TO CERTIFY that on




                                                        r•A_
                                                    June 22, 2016
                                                   I r e ~ processnrt of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on
                                                   June 22, 2016
on June 24, 2016
                                                   I made due Personal Service thereof by leaving same in the hands of
at _____________
    3:00 PM     _                                  the aforesigned Recipient
                                                   Tyrone Jones
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Taylor Gray
                                                         T'--lc ~
phone #: 504.822.2414                                                                                       Server of Process


at 619 South White Street                          RETURN OF DOMICILIARY SERVlCE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
               Byron Long
State of LA vs._·________
Item # H-05042-12                                                                                        Recipient of Service

         513912                                    THIS IS TO CERTIFY that on
Case #
            R.S. 14:64; 95.1
Ch arge ()
        s : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



Instructions:                                      (please write Recipient's name),

                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                          129                                             OPDA00279
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 131 of 192




                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Troy Yvonne Cooks                              RETURN OF PERSONAL SERVICE
     New Orleans, LA                               THIS IS TO CERTIFY that on
                                                   June 23, 2016
                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to
                                                    \Y-~           ½Wt~ ~<-3                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on
                                                   June 23, 2016
on June 24,     2016
                                                   I made due Personal Service thereof by leaving same in the hands of
    3:00 PM                                        the aforesigned Recipient
at _ __   _ _ _ _ _ _ _ _ _ __
                                                   Troy Yvonne Cooks
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Taylor Gray

            504.822.2414
p h one # : _ _ _ _ _ _ _ _ _ __
                                                        ::l'.:!)"'3~'4-t:         ~!,                      Server of Process


at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:                                                        ·   ~~
                                                                           of Court of whr this is a duplicate.
State of LA vs. Byron Long
                  ---------
1t em# H-05042-12                                                                                        Recipient of Service

         513912                                    THIS IS TO CERTIFY that on
Case #
              R.S. 14:64; 951
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



Instructions:                                      (please write Recipient's name),

                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                          130                                             OPDA00280
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 132 of 192

\       t'




                                                                    SUBPOENA
                                                A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                     FOR FAfLURE TO OBEY THIS NOTICE.

                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


     To: JEVON BROWN




     You Arf! Htrel--y Notified punuant rn
     l.SA-CCRP m. 66 10 appear before rhc
     Dimi« Anornoy for chc l',rish of Orlan,, 10                                                                  Rec/p/tnl of Strvl<t
     cc11ify 10 ,l,c truth according 10 your kno1VlcJge
     in such moncrs as m•y be required of you.
                                                           THw;;//wlFY              Iha! on   J1.          "'-9..,_, ~
     on MONDAY 7/11/2016
                                                           1 made due Personal Se,vice thel'l!~B same rn the hinds or
                                                           the aloreslgned Roclple111
     al _9:00am
          _ _ _ _ _ _ _ _ _ _ __
                                                             ..:::ev°""' Broc..QJI\
                                                           (pl,ast wrirt Rtcipltnt's nomt).
     to Assistant District Attorney:
                                                           lho   P'"°" to whom the process Is directed.
     William Dieters

     phone#: (504) 827-6310                                                                                        S•rv•r of Process

                                                           RETURN OF DOMICILIARY SERVICE
    at 6i9 South White Street
                                                          THIS I~ TO CERTIFY that on
    In the case of:
                                                          I rec,lved the ptocoss of Court or which this is a duplicate.
    Slate of LA vs. Patrick Robinson

    llem # K-18109-15                                                                                           Rtc/pltnl of Strvlet

    Case # 528-556                                        THI~ ,s ·ro crnTll'Y lhal on

    Charge(s: Simple Kidnapping, Simple
            ) _ _ _ _ _ _ _ _ _ __                        I made due P01sonal Ser,,lce thel'l!or by leaving same In the hands of
                                                          the aforeslsned Rec"plent
    Robbery, and Dom. Ab. Ballery

                                                          (pf,as, write Reclpienr•s nome),
    Instructions,
                                                          a person of su table ag• .nd discretion, residing at the domltlle of th•
    ConlJct the above named Assistant D1slrltt            person lo whom the said procoss or Gourt was Issued. who was absent
    Attorney upon rec(',pt of lhl~ subpoena.              at the time, which ract I lf8rned by lnterrogattn1 th• person In whoso
                                                          hands the said p,acess wus Ith.
    Brin~ this subpoena w,lh you to the O,strict
    Attorney·-. OHm, \',hPn you apppar to testiry.
                                                                                                                  S~rwr c,f Prac,ss




                                                                                                                                              '
                                                                                                                                         ('
                                                                                         CERTIFIED DA OFFICE COPY




                                                                                       131                                               OPDA00158
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 133 of 192


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                                                                                            SUBPOENA
                                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                         FOR FAILURE TO OBEY THIS NOTICE.
                                                                      Office of the Orleans Parish Diatrlct Attorney
                                                                     CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


          To:                                                                   RETURN OF PERSONAL SERVICE
                                                                                THIS rs TO C'.£RTIFY (hal on
                                                                                -~:i_w_l{~s~i:_.1t~;-"'___                            -~,_·_1~·-:~'~·'--~-~. ,. ,:,____
                                                                                I received the proctss of Court of which this Is a du11llcatt.
          You Aze Hereby Notified pursuan1 to
          LSA-CCRl' art. GG to appur before the
          Olmiet Artorncy fo, the Parish o( Orleans, to
                                                                                                ------·.. - -                                            lrtclplimt of S,iwce
          rcstify to the truth according to your knowled~
          in such mattcrt •• may be required o( you.                            THIS IS TO CERTIFY that on
                                                                                 T!-l\.,@;,.C,A.,'                                    ··,.,·, - •.:   .. -::   ,,
          on Monday, July 11, 2016
                                                                                I mad• dut 1'<!1Son1I Strvlce lh•rtof by l•avln1 same In t~e hands of
         at 9:00a.m.
                                                                                th• aforul1n•d Rrclplent
                                                                                                            ..,.
                                                                                (please writ• Rtflpltnt's namt},
         to Assistant District Attorney:                                        th• pe1Son to whom' the ~recess Is directed.
          Rachel Hurd                                                              :· J '        '   \             ..         •
                                                                                   '        '            ,,,,.   \,.    ...
                                                                                                                                                           Srrv•r of Pro.ess
         phone #: 504-822-2414

                                                                               RETURN OF DOMICILIARY SERVICE
         at 619 South White Street
                                                                               THIS IS TO CERTIFY thal on
         In the case or:
                                                                               I n!ulvtd the pro,ess of Court or whkh lhls Is a dupllcale.
         State of LA vs.

         llern   .,Ji_____ ______                                                                                                                       ltrcfpi,nt of Srrrk~

                                                                               THIS IS          ,·o CERTIFY thal on
         Case~
         Charge(s): R.S. 14:114                                                I mad• due ~onal Strvke lh•reor by IHYlnf s11nf' In lhe hands of
                                                                               the aforeslgntd Redpl•nt


                                                                               (pl•as• write Recipient's nomt),
         Instructions:
                                                                               • pe15on or sultabl• age and dlsu•llon, rrsldlng al lhe domldl• of lh•
          Con'.;Ht !11P ,,bovf' IMmerJ Asc;1s,l;1~t Oi-.hrt                    person lo whom 1hr said procrss of Court WIS IHutd, who was absent
          AHorrlC'y upo·1 1rct• ;,t of thfi; .._ 1hr:>cn.,                     al !he lime, whkh fact I learned by lnter,orallnr lhe p<rson In whost
                                                                               hands 1hr said procrss was left.
         Brmf! lh1s ~11bpo1•r11 ~·11th ynu t(> lhfl Orc,frict
         J\(tor'lE>Y <,   orr,,r v.l'f'I' you   ,ll)jlP,,r !(')   tr- <,l1fy
                                                                                                                                                          St/Ytr of Proctss




                                                                                                                        CERTIFIED DA OFFICE COPY




                                                                                                                   132                                                          OPDA00177
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 134 of 192




                                                            SUBPOE NA
                                            A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                 FOR FAILURE TO OBEY THIS NOTICE.
                                             Office of the Orlean.s Parish District Attorney
                                            CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


            Manuel
To: Cornell                                           RETURN OF PERSONAL SERVICE
                                                      THIS IS TO CERTIFY that on
     New Orleans, LA                                        JJY('     7,   2ollo
                                                      I received the process of Court of whinis is a duplica
y, ll Are He n:by Norined pursuanr ro

 t
L A-CCRP arr. 6 6 co appear before die
[ .~trice A1corney for rhe Parish of'Orlcans,
rc:scify co che m1th according ro your knowledge
                                                 to
                                                          G.e)e'-'-   /.t     Jli.-


                                                      THIS IS TO CERTlfY that on
                                                                                           Ld
in sucli mmc::rs as may be required of you.

on   July 13, 2016                                    I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient
at   10:00AM

to Assistant District Attorney:

Brian C. Ebarb
                                                                                         'Z-i-\l,     i~;o ~~tAit> ~
                                                                                                               Server of Process
phone #:   504.827.6322
                                                      RETURN O DOMICILIARY SERVICE
at 619 South White Street
                                                      TH IS IS TO CERTIFY that on
In the case of:
                                                      I received the process of Court of which this is a duplicate.
State of LA vs. Aaron McMillan

                                                                                                             Recipient of Service
Item# C-27245-15

Case #   524-871 "J"                                  THIS IS TO CERTIFY that on

 I
9harge(s):    14:94(F), 14:95.1                       I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient


 I            Pl~as~ app~ar i_n Section "J" at
                                                      (please write Recipient's name),
Instructions: Criminal District Court.
                                                      a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                               Server of Process




                                                                133                                              OPDA00264
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 135 of 192


                                                                                                                             '•

                                                                                                                             i



                                                            SUBPOENA                                                         Ii
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILU~E TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To: Gina Davis                                      R.ETURN OF PERSONAL SERVICE
                                                      THIS IS TO CERTIFY !hat on
                                                                 . ,'& .. , : ,
                                                      I r.celved,J;e proctss or Court or which this Is a duplicate.          ,,•
  You Arc Hereby Nolified pursuant to
  I.SA-CCR!' art. 66 ,o 1ppca< before ,he
                                                                                                             Rec/pi•nf of s,rv1,e
  District Attorney for the Parish of Orleans, ,o
  ccsdfy 10 ihc tnoth according to your la,owlcdgc
                                                      THIS IS TO CERTIFY that on
  in ,uch mam:n as m•y be ttquired of you.
  on July 21, 2016
                                                      I mad• due Personal Service thl!ll!of by leaving same In tht ~nds of
                                                      the afoll!slcned Recipient
     9:00AM ____ ____ __
  at ____

                                                      (p(tose writ, Ru/pltnt"s name),
  to Assistant District Attorney:
                                                      th• person to whom lhe process Is directed.
   Sarah Dawkins
                                                                                                               Sttvtr of Procus
  phone #: 504-717-7287
                                                      RETURN OF OOMJCIU ARY SERVICE
  at 619 South White S!teet
                                                      THIS IS TO CERTIFY t~t on
   In the case of:
                                                      I received the process of Court of whlc., this !s a duplicate.
   State of LA vs. Terrance WMllams
                                                                                                             Rtdpltnr of Strv/ct
   Item# 0-16207-1 5

   Case # 524-807 'I'                                 THIS IS TO CERTIFY that on                                             •,,
                   79
   Charge(s): _1_4:__ _ _ _ _ _ __                     I made due Personal Servic• thereor by IHvlnt same In th• hands or
                                                       the 1foresl1ned Recipient


                                                       (pitOSt write Recipient"s namt).
   lnstroclions:
                                                       a person of sultablt a1e and dlscll!tlon, residing at the domklle ol:the
    ContJCl th~ above named Assistant Ojstrict         person to whom the said procHs of Court was Issued. who WIS absent
    Ar.orney upon rete1pt of t111s subpoena.           at the tlm,, which loct I loamed by Interrogating th• person In who,e
                                                       hands th• said process was left.
    B,mg thi s ~ubpot?nJ \',1th you to the District
    Attorney's Ofhte \"Jhcn you appcJ.r io testify.                                                             Sttvtr of P,ictss




                                                                                                                            •I




                                                                                     CERTIFIED DA OFFICE COPY




                                                                                  134                                               OPDA00222
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 136 of 192




                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRiCT COURT FOR THE PARISH OF ORLEANS


'ro: Alfred 0 ; White Ill                          RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on
     New Orleans, LA
                                                      ✓vL.y 2.'5,20((,.,
                                                   I received the process of Court of which this is a duplicate.
you Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

on July 25, 2016
                                                     ...J",._,y 2.s, 201<.e
                                                   I made due Personal Service thereof by leaving same in the hands of
         PM                                        the aforesigned Recipient
at _3:00
     __   _ _ _ _ _ _ _ _ _ __
                                                   Alfred D. White Ill
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the person to whom the process is directed.
Taylor Gray
                                                         T..-La.
            504.822.2414
p h one # : _ _ _ _ _ _ _ _ _ _ __                                                                          Server of Process


at 619 South White Street
                                                   RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Samuel Sims

Item. # K-26079-14                                                                                       Recipient of Service

         522740                                    THIS IS TO CERTIFY that on
Case #
              R.S. 14:64
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                         135                                              OPDA00281
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 137 of 192

       ..
                                                           SUBP OENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                            Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


,.,o· Mr. Giovanni Collins
                                                     RETURN OF PERSONAL SERVICE
    ·
      New Orleans, LA                                THIS IS TO CERTIFY that on


                                                     I received the process of Court of which this is a duplicate.
You An: Hereby Notified pursuanr ro
LSt\-CCRP .m. 66 to appear before d1c
D1.~mc1 Anorncy for rhc Parii;h of Orleans, ru                                                              Recipient of Service
rcsril}• co the truth :1ccording to your knowledge
m such m.111crs a.~ m:1y be re(tuired of you.        THIS IS TO CERTIFY that on
                                                                 0 7-2.S"-/(,,     <?: 3o ,A.I{.
on    7/26/16                                        I made due Personal Service Jllereof by leavl(lg same in the hands of
                                                     the aforesigned Recipient   c_µo  A/J'S,,.}~ J
at   9:00 AM
                                                        t.E'Pr r.v f;.o..i, 'l>aa~   aF ~,r:,,,.Jce

to Assistant District Attorney:
Brian Ebarb
phone #:     504.822.2414
                                                     RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA VS.   _s_.c_.- - - - - - -
                                                                                                            Recipient of Service
(tern# D-26327-15
                                                     THIS IS TO CF.RTIFY that on
Case #      526-053 "J"

Charge(s): 14:34, 14:56                              I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              al the lime, which fact I learned by interrogating the person in whose
                                                     hands the said process was le~.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                              Server of Process




                                                             136                                               OPDA00263
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 138 of 192




                                                          SUBPOENA
                                       A FINE AND IMPRISONMENT MAY BE IMPOSED
                                            FOR FAIWRE TO OBEY THIS NOTICE.
                                         Office of the Orleans Parish District Attorney
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Jeanekla Robinson                                                                                                                   ~
                                                  "'-'R.E=T'-'Ua.::R-=-N'-O:;.;F'-'P'-"£"'RS""O:;.;N""AL.=.,S;.:E""'RVl.a..:.::C=-E-------
                                                  THIS IS TO CERTIFY that on                                                               1

                                                  -~....,..     I'-        ....----- ------- -
                                                  I receivod th• pr0<1ss of Court of which this Is a duplicate.                         ~
                                                                                                                                         ~

You Arc Hereby Notified pursuant to
LSA-CCRP an. 66 10 appear before the              ,,_··-·~'··.....::.-'""·..:-;..':-::,_ ,_._'..;.·_,_.-------~..,..-,, ----,--0--,-..J
Dimicr Atrorncy for ,he Pari•h oF Orleans, 10      '-·                                                           Recipient of Se/Viet
1atify 10 1hc 1ruih accotding to your knowledge
in ,uch mac«<> u may be required of you.          THIS rs TO C!:R1'!FY !hat or
                                                                           -, .
on Tuseday, July 26, 2016
                                                  I made duo Personal Sorvlco thereof by leaving same In the hands of
   9:00AM                                         the aforesl~n•d ~octplent
at _ _ _ _ _ _ _ _ _ _ _ __,_
                                                                                                         \   ·. >, •. .
                                                  (pl,ase write Recipienl's name),
to Assistant District Attorney:
                                                  the porson to whom the process ls directed,
Sarah Dawkins

        (504)827-6329 ___                                                                                           Server af Procl55
p one : ________
 h      #
                                                  RETURN OP DOMICILIARY SERVlCE
at 619 South White Street
                                                  THIS IS TO CERTIFY that on
In the case of:
                                                  I received the process of Court or which this Is a dup11ca11.
State of LA vs. Donald Oliver

Item # 0-25970-15                                                                                                Recipient of Servicr

Case # 527-1471                                   THIS IS TO CERTIFY that os

Charge(s): 14:34, 14:95.1, 14:55                  I made due Personal Servke thereof by leaving same In the hands or
                                                  the aforeslgn•d R1clpl1nt


                                                  (p/eou write Recipient's natM),
Instructions:
                                                  a porson of suitable a1e and discretion, r,sldlng at the domicll• of the
 Contact the above named Assistant D,strict       porson to whom th• said process of Court was Issued, who was abstnt
 Attorney upon receipt of this subpoena.          at th• time, which fact I learned by lnllrrogatlnr tho person In whoso
                                                  hands lhl said pr0<1ss was left.
 Bun!; this subpoena ~·11th you to t~Q o:stoct
 Attornef~ Office v,hPn you appear to testify.
                                                                                                                    S,rver of Process




                                                                                   CERTIFIED DA OFFICE COPY




                                                                                  137                                                          OPDA00182
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 139 of 192

           ..
                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To:   B ~ ~0,':::..                                RETURN OF PERSONAL SERVICE
                                                   THIS' IS TO CERTIFY that on
      ~ ~\~\ ~
                                                                                                      e. \s
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of SeNice
testify to the truth according to your knowledge
in such matters as may be required of you.         THIS IS TO CERTIFY that on

o n ~ ~~&"\--'c;-ov) lo
                                                         ~'v'-¼          2sC>, ~"\.P e,                 r~LK
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at        ffis'D
                                                           ~~Q,                       ~'"
                                                   (please write Recipient's name),
to Assistant District Attorney:
                                                   the ~ m the .___ _ __


phone#: _ _ _ _ _ _ _ _ _ _ __                               ~ "t-\Off?JC,....} vR[__'\~                    Server of Process


at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.


Item# _ __ _ _ __ _ __ _ _                                                                               Recipient of Service

                                                   THIS IS TO CERTIFY that on

Charge(s): _ _ _ _ _ _ _ _ __
                                                   I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient



Instructions:                                      (please write Recipient's name),
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District
                                                   person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                         138                                             OPDA00284
            Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 140 of 192

     .r


                                                            SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                FOR FAILURE TO OBEY THIS NOTICE.

                                             Office of the Orleans Parish District Attorney
                                            CRIMINAL DISfRICT COURT FOR THE PARISH OF ORLEANS


To:.              2        34                        RETURN OF PERSONAL SERVICE




      -   New Orleans, LA                           THIS IS TO CERTIFY that on
                                                            7-tl- /l,
                                                    I received the process of Court of which this is a duplicate.
Yo11 Arc Hereby Norified purmant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parisi, ofOrlc::tns, to                                                             Recipient of Service
rcstify to the: truth according ro your knowledge
in such marrcr., as ma)' he required of you.        Tl 11S IS TO Cl:R'l'IFY that on
                                                            7-t/-l(,
on August 9th, 2016                                 I made due Personal Service thereof by leaving same in the hands or
                                                    the oresi ned Recipient
at    10:00 AM

to Assistant District Attorney:
                                                    the person to whom the process Is dire te . --.__....,_
s}ian Ebarb                                            '6-11-)A_J:,   GJcLA-e
                                                                                                               Server of Process
phi ne #: 504.827.6322
                                                    RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                    THIS IS TO CERTIFY lhat on
In the case of:
                                                    I received the process of Court of which this Is a duplicate.
State of LA vs. Charles Douglas
                                                                                                           Recipient of Service
Item # F-08344-15
                      11                            THIS IS TO CERTIFY that on
           . _ _J"_ _ _ _ _ _ __
      529-871
Case# _____

                       :4;.;.;2_;_.l_ _ _ _ _ __
Charge(s): ....:1....:4..;_                         I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


                                                    (please write Recipient's name),_
Instructions:
                                                    a person of suitable age and discretion. residing at the domicile of the
Contact the above named Assistant District          persof\ to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by Interrogating the person in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear lo testify.
                                                                                                              Server of Process




                                                               139                                                 OPDA00269
  Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 141 of 192




                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To:                                                RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTIFY that on


You Are Hereby Notified pursuant to
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                           Recipient of Service
testify to the truth according to your knowledge
in such matters as may b~ required of you.         THIS IS TO CERTIFY that on
                                                                        (¾..§,~ \ \ . ~\\....Q
                                :-z,o\~_u_
on _ _ _A,£+--··~v5~:;r--~'~"-~.....                                                                '
                                                   I made due Personal Service thereof by leaving same in the hands of
                                    I
                                                   the aforesigned Recipient
at _______O<(;'•\ ~/0r!3O
                  =-----------
                                "                  (please write Recipient's name),
                            .
to Assistant District Attorney:



phone#:~ ...         ~9'.cl--'S\L\\                                                          9
                                                                                                            Server o   rocess

at 619 South White Street                          RETURN OF DOMICILIARY SERVICE
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs.   ~LIIV~,...)
                      t

Item#      1>-~\~\°'.-\~                                                                                 Recipient of Service


Case #          '"$\7>-9 \~ 6                      THIS IS TO CERTIFY that on


Charge(s): _    _,_\'4---'--•._\....;3=-~-----     I made due Personal Service thereof by leaving same in the hands ot
                                                   the aforesigned Recipient



Instructions:                                      (please write Recipient's name),
                                                   a. person of suitable age and discretion. residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                           Server of Process




                                                        140                                              OPDA00273
  Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 142 of 192




                                                               SUBPOE NA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSEI •
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orlea:ns Parish District Attorney
                                                                                                              ------
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEAN! i


 To:   T&r      L)' V\ l='r ee..                       RETURN OF PERSONAL SERVICE
       ~                                               THIS IS TO CERTIFY that on
           J.Jo LA
                                                       I received the process of Court of which this is a dup icate.
 You Are Hereby Notified pursuant to
 LSA-CCRP arc. 66 to appear before the
 District Attorney for the Parish of Orleans, to                                                              ?ecipient of Service
 testify to the truth according to your knowledge                                        • I        •

 in such attcrs as may be required of you.            THIS IS TO CERTIFY that,6'rr '
                                                                                    ~   ~.:    ;    ·;


                                                      I made due Personal Servicf th~~e,qf1by leaving same in the hands of
                                                      the aforesigned Recipient - ..
                                                                                   -~ . .r .
                                                      (please write Recipient's name);
to Assistant District Attorney:
                                                      the person to whom the protess is •directed.
'f~A)'kL          f'ATTL
                                                                                                               Server of Process

                                                      RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                      THIS IS TO CERTIFY that on
In the case of:                                                    ~" };}..-/6
                                      bav Ll,         I received the process of Court of which this is a dup icate.


                                                     'x\». hl ~~~~-
State of LAvs.~~ttJ.t cl
Item                  th
       #l)-l(pfp LJ-;t-                                         C ·                            ··            recipi

Case # 6 G & o r?j
                                                      THIS IS TO CERTIFY that on
                                                               t-2---i- )~
Charge(s): is':)....-\                                I made due Personal Service there.of by leaving same in the hands of
                                                      the aforesigned Recipient



Instructions:                                        (please write Recipient's name),

Contact the above named Assistant District
                                                     a person of suitable age and discretion, residing at tt e domicile of the
                                                     person to whom the said process cif Court was issuec , who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the 1,erson in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                              Server of Process

                                                           7 12..4 l<t J r~~
                                                           I

                                                           ~ 'ii




                                                         141                                             OPDA00258
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 143 of 192




                                                                 SUBPOENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Orleans Parish District Attorney
                                              CRIMINAL OISTRICT COURT FOR THE PARISH OF ORLEANS


                                                         RETURN OF PERSONAL SERVICE
                                                         THIS IS TO CERTIFY that on
                                                          N      ye:;S     Mo.."'"''
                                                         I rec   ed the process of Court     which this Is a duplicate.
You Arc Hereby Nocilicd puuuan, 10
LSA-CCRP 2r1. G,; to appear before 1he
District Att0rncy hr ,he Parish ofOrleans, 10
1cstify m the truth .,ccording to your knowledge
                                                          x:ffdU>h tJd~                                            Recipient   of Servi~

in such 012tn:rs as nay be required of you.              T'?f'~U-µ ~RTIFY that on
on 8/25/16
   9:00AM
at ________ ______


to Assistant Dlst1ict AttoTl)ey:
                                                         (pt,r   wrlte-Rtc/pfent's na~J.


Sarah Dawkins
                                                                                                                     ~rwr of Procus
                  -6_3_2_s_ _ _ _ __
phone #: 504-e::_7_

                                                          RETURN OF DOMICILIARY SERVICE
at 6ts, South White Street
                                                         THIS IS TO CERTIFY that on
In the case of:
                                                          I received the 1>roc~ss or Court of whlth this Is   aduplicate.
                               _ _ _ __
State of LA vs. ~-ro_y_M~o~r_g_an

Item# A-153D1·16                                                                                                   Rtdplent of Service

Case #529-111                                            THIS IS TO CERTIFY that on

       s : 14:35,
           _____  14:35.3
                        _ _ _ _ __
Charge()                                                  I ma~• due Personal SeNlce thereof by leaving same In the hands of
                                                          the aforeslgned Recipient


                                                          (pleo$t write Recipient's name),
Jnstructions:
                                                          a person of suitable age and discretion, residing at the domicile of the
 Conlacl the abo           named Assistant D1~111ct       person to whom the said process of Coult was Issued, who was absent
 AttornPy upon recc-1ot of tti s subpoena                 at the time, which fact I teamed by Interrogating the person In whose
                   I                             .        hands the said process was left.
 Bn~~ tl as subp()('~.1 \·..tn you to t he O !>tric~
 Attorney'c, Office \. 1hen you appea~ to t~st•~,'
                       0


                                                                                                                     Server of Praciss




                                                                                       CERTIFIED DA OFFICE COPY




                                                                                     142                                                   OPDA00171
 Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 144 of 192




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                                                                                        .~
                                                               SUBPOENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                              Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


  To:    -r~~d[ e (/JJ.sl111t8~.t1                     RETURN OF PERSONAL SERVICE
                                                       THIS IS TO CERTIFY that on
         YAs!.,;J W,b#,..ttr,,.,\
                                                                        os-2.,-1,
  You Arc Hereby Notified pu rsuan1 10
  lSA-CCRP art. 66 10 •ppcar before ,he
  Oimicr Anorncy ror ,he Palish or Orlc,ns, 10
  1cs1ify 10 ,he uuth aca>rding 10 your knowledge          f   '1A~£,~ ~r1J1..lo-r.
  In such mmcrs as may be required or you.            THIS IS TO CERTIFY fhat on

  on    M.. o!i,'¾}, s/-z.q(l&,                       I made due ~rsonal Service thereor by leavlng same In the hands of
 at     7> ·.oc, pM                                   lhe aforesi,ned Recipient



 to Assistant District Attorney:

 llJ,(1,- 0,e:ko
 phone#: /50':l) 9"i-?•C,'3 10                                                                                s,rv., of Procoss

 at 619 South White Street                           RETURN OF DOMICJUARY SERVICE
                                                     THIS IS TO C:F.RTIFY that on
 In the case of:
                                                     I rocel,ed the process of Court of which this is a duplicate.
State of LA vs.:Ja&!t Perk:..q.
item#      4- lo'£s1-r <e                                                                                  Roclpltnl of Strv/c,

Cm#        5-ZO. · 81./0                            THIS IS TO CeRTlfY that on

Charge(s):   (/40,1&9(1,wd           £-l~           I made due Personal Service thereor by leaving same In the hands of
 oP Iataa 1.,, led         Di-ue ft,,n~             the aforeslgned Recipient


Instructions:                                       (pl,ou writt Recipltnt'1 nomt) ,
                                                    a person or sullable age and dlscrotion, resldlnr at the domicfle o/ the
Contact th~ above named Ass1stJnt Dislucl           person to whom the said process of Court was ,ssued, who was absent
Attorney upon rec('1pt of th,s subpo!'na,           at the time, which racl I learned by lntem,gaUng the person in whose
                                                    hands the said p,ocess was Id.
Brin!! Uw, ~ubpoena VJtlh you to the District
Attorney·~ Office when you appear to testify
                                                                                                            S.rwr    of Proc•ss




                                                                                    CERTIFIE D DA OFFICE COPY




                                                                                       143                                        OPDA00200
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 145 of 192




                                          ,.

                                                                SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                               Office of the Odeans Parish District Attorney
                                               CRIMINAL DISTRICT COURT fOR TIIE PARISH Of ORLEANS


  To: Tenille Washington
                                                        RETURN OF PERSONAL SERVICE
                                                       THIS JS TO CERTIFY that on
                                                                 0~·,22·{~
 You Are Hereby Notified pursuant 10
 LSA-CCRP art. 66 to appear before 1he
 Dimic1 Artorncy for 1he Parish of 0,1..ns, 10
 1cstify to the rrurh :,ca,,ding to your knowkdg,:
 in such mancrs u m:ay be required or you.             THIS IS TO CERTIFY that on
 on Wednesday,August31 , 2016
                                                       I madt d"" Personal S,,vlc• thor,of by luvlng same In th• hands of
 at _9:00am
      _ _ _ _ _ __ _ __ __ _                           the aroroslgn•d R•clpl,nt


                                                       (pl•••• writ• Rtclpl•nl's nomt),
 to Assistant District Attorney:
 WiUiam Dieters

  k one #: _
 p..       (504)
             __  827-6310
                  _ __ __ __ __                                                                               Sttvtt of Procus

 at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                      THIS IS TO CERTIFY that on
In the case of:
                                                      I recotv•d the procns of Court of which this Is a dupllcat,.
State of LA vs. James Perkins

Item # A-10451-16
                                                                                                           Rtclpl•nt of s,rv,ct
      529-840
Case# _ ___   "I'_ _ _ _ _ _ __                      THIS IS TO CERTIFY that on

 ~ . (s) : _
Cuarge     Unauthorize
             ____      d Entry
                         ___   of an
                                  _ __
                                                     I made du• Personal Se,vke th•roof by loving sam• In the hands of
Inhabited Dwelling                                   the aforoslgnod R•clpl•nt


Instructions:                                        (pleast writ• Rtcipltnl's namt),

Contact the above named Assistant District
                                                     a person or suitabl• ag• and dlscrotlon, residing at th• domldl• of the
                                                     person to whom th• said process or CoUfl was lssu•d. who was absent
Attorney upon receipt of lhi~ subporna.              at the Um,, whkh fact I lnrned by lnterro1at1 ng th• petson "' who"
                                                     hands the said pr<>eess was left.
Bring lh1s subpoena ,-.ith you to the 01sfrilt
Attornc,y's Offic~ whr-n you .,ppeJr 10 testify
                                                                                                            Strwr of Proctu




                                                                                          CERTIFIED DA OFFICE COPY




                                                                                          144                                     OPDA00201
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 146 of 192


                                                                 . .
                                                                 SUlrPOENA
                                                                                     -
                                                                                     J    DColoto(i, 7S I ' ? ~
                                               A FINE AND IMPRISONMENT MAY BE                                         ~~
                                                                              IMPOSED
                                                    FOR     FAIWRE TQ. OBEY THIS NOTICE.
                                               Office of the Orl ean s Parish Dis tric t Att
                                                                                                        orn ey
                                            CRIMINAL DISTRICT COURT FOR THE
                                                                            PARISH OF ORLEANS

   To: Wandell West
                                                         RETURN OF PERSONAL SERVICE
       ~ew O,leans: b4t                                  THI S IS TO CERTIFY that on
        (,\-oU?1QJ..1 I 1')(_

  You Arc Hereby Notified pursuant to                   I received the process of Court of whic
                                                                                               h this is a duplicate.
  LSA-CCRP art. 66 to appear before the
  District Attorney for the Parish of Orleans,
                                               to
  testify to the truth according to your knowledg                                                              Recipient of Service
                                                 e
  in such matters as may be required of you.            THI S IS TO CERTIFY that on
  on Wednesday, September 7, 2016
                                                       I made due Personal Service thereof
  at 8:30p.m.                                                                              by leaving same in the hands of
                                                       the aforesigned Recipient



  to Assistant District Attorney:                      (please write Recipient's name),

  Rachel Hurd                                          the person to whom the process is
                                                                                         directed.

           504
 phone # : _ _-827
                _ --63
                   __ 04_ _ _ _ __
                                                                                                                Se,ver of Process
 at 619 South White Street                            RETURN OF DOMICILIARY SERVIC
                                                                                  E
                                                      THI S IS TO CERTIFY that on
 In the case of:

State of LA vs. Adranika Reed                         I received the process of Court of whic
                                                                                             h this is a duplicate.

Item # E-11205-15
                                                                                                            Recipient of Se,vice
Case #
       525346 F
                                                     THI S IS TO CERTIFY that on
            Sec ond Deg
Ch arge (s:
          ) ____      _ree
                        __ Bat_
                              tery
                                _ __
                                                     I made due Personal Service ther eof
                                                                                          by leaving same in the hands of
                                                     the aforesigned Recipient         ·


Instructions:                                        (please write Recipient's name),
Contact the above named Assistant                    a person of suitable age an.d discretio
                                    District                                                 n, residing at the domicile of the
Attorney upon receipt of this subpoena               person to whom the said process of
                                       .                                                   Court was issued, who was absent
                                                     at the time, which fact I learned by
                                                                                          interrogating the person in whose
Bring this subpoena with you to the                  hands the said process was left.
                                    District
Attorney's Office when you appear
                                  to testify.

                                                                                                             Server of Process




                                                           145                                              OPDA00249
                        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 147 of 192

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                                                                                         SUBPOENA
                                .       '
                                            '
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                                                              .
                                                                          A RNE AND IMPRISONMENT MAY BE IMPOSED
                                                    \
                                                                              FOR FAILURE TO OBEY THIS NOTICE.
                               ·', I    '
                               I,   ,   '                '
                                    .                     '
                                    -           .       _.'                Office of the Orleans Parish District Attorney
                                                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                    To: ~ESi-lOAJo.:rA                                            RETURN OF PERSONAL SERVICE
                          '5TACft House
                                                                                  THIS IS TO CERTIFY that /               /
                                                                                                         QC\         0l           I {p
                                                                                  I received the process of Court of which this is a duplicate.
                    You Arc Hereby Notified pursuant to
                    LSA-CCRP art. 66 to appear before the
                    District Attorney for the Parish of Orleans, to                                                                       Recipient of Service
                    testify to the truth according to your knowledge
                    in such matters as may be required of you.•                   THIS IS TO CERTIFY that on/                 /
                                                                                                           oq _ol _l'1,
                        on   5Y4l0A>i' 1                           oq/u /1r_      I made due Personal Service thereof by leaving same in the hands of

                    at       10:00 At,\                                           t!fore1r:ecipf          }1/..
                                                                                   ~- ~CM!~
                                                                                  (please write Recipient's name),
                    to Assistant District Attorney:
                                                                                  the person to ~m the p~ess is directed.
                        -asc:He.et                                PoPovr,H:                       ~w,.Jo                  Bul:Ln            SeNer of Process
                    phone#:             tfO'I - 7do- al.JIii
                        at 619 South White Street                                 RETURN OF DOMICILIARY SERVICE
                                                                                  THIS   rs TO CERTIFY that on
                    In the case of:
                                                                                  I received the process of Court of which this is a duplicate.
                    State of LA vs.                      oeu:cEL #!ELLY
                        Item# _ _ _ _ _ _ _ _ _ __ _                                                                                      Recipient of Service

                                                                                  THIS IS TO CERTIFY that on
                    Case #          O".;ia ~ • , 1.15
                    Charge(s): _ _ _ _ _ _ _ _ __                                 I made due Personal Service thereof by leaving same in the hands of
                                                                                  the aforesigned Recipient


                        Instructions:                                             (please write Recipient's name),
                                                                                                                      •
                                                                                  a person of suitable age and discretion, residing at the domicile of the
                        Contact the above name~ Assistant Distrid                 person to whom the said process of Court was issued, who was absent
                        Attorney upon rece:pt of this subpoena.                   at the time, which fact I learned by interrogating the person in whose
                                                                                  hands the said process was left.
                    !   Bring this subpoena with you to the District

         ,,.        i
                        Attorney's Office when you appear to testify.
                                                                                                                                            Server of Process
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        11..;,. ,
"!. "' ·tr.,,.( ' . '... '




                                                                                     146                                                 OPDA00161
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 148 of 192




                                                           SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS


 To: Det. Tyra Pruitt                                RETURN Of PERSONAL SERVICE
                                                     T HIS IS TO CERTIFY that on


                                                     I rtcelved the process of Coun of which this Is a duplicate.
 You Arc Hereby Norificd pursuant to
 LSA-CCRP m . 66 to appcor before rhe
                                                                                                           Recipltnt of Strvlct
 Dimitt /111omey for the Parish of Orleans, to
 testify to the m.ith according to your knowledge
 in such maucrs as may be required of you.           THIS IS TO CliRTIFY th•t on

 on 9/12/16                                          I made due Personal Service thereof by leaving same In the hands of
                                                     the aforeslgned Recipient
 at _ _ _ _ _ _ _ _ _ _ _ _ __
     5:00PM


 to Assistant District Attorney,
                                                     (picas• write Redpltnt's name),
                                                     the per>on to whom the process Is directed.
                                                                                                                        •.,
  Sarah Dawkins
                                                                                                             s, rver of Pro«ss
 phone#: (504)827-6329
                                                     RETURN OF DOMICILIARY SERVICE
 at 619 South White Street
                                                     THIS JS TO CERTIFY that on
 In the case of:
                                                     I receivtd the process of Court of which this Is a dupUcate.
 State of LA vs. Terrance WIiiiams
                                                                                                           Redpltnt of,Servke
  Item# F-10464-14

  Case # 521-528                                     THIS ISTO CERTIFY that on

                  _ _ _ _ _ _ __
  Charge(s): _14_:43_._1                              I made due Per,;onal Seivlce thereof by leaving same In the hands or
                                                      the aforoslgn•d Recipient


                                                      (pitas, write Recipient's no=),
  Instructions:
                                                      a person of suitable age and discretion, nisldlng al the domicile of the
   Coa!act the above named Assistant Oislroct         person to whom the said process of Court w•s Issued, who was. ab,ent
   A!lorney upon receipt of this subpoena.            al the time, which fact I learned by lnterrocatlng the per,;on In •hose
                                                                                                                         1
                                                      hands the said process was left.
   Brin~ this 5ubpocna \',1lh you to th l' Oistnct
   Attorney's Office when you appear to testify                                                               s,rwr of Proctss




                                                                                  CERTIFIED DA OFFICE COPY


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                                                                              147                                                 OPDA00312
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 149 of 192




                                                                  SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILURE TO OBEY THIS NOTICE.
                                                Office of the Orleans Parish District Attorn ey
                                               CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Paige Davis                                         RETURN OF PERSONAL SERVICE
                                                            THIS IS TO CERTIFY that on


                                                            I received the process or Court or which this Is a dupQcate.
     You Are Hereby Nodfied pursuanr 10
     ISA.CCRP arr. G6 10 appear before rhe                                                                         Reclpi•nt of S•r;/co
     Dis1ricr Attorney for 1he Parish ofOrleans, 10
     rcstify to the rru1h according to your knowlcdg,:
                                                            THIS ISTO CERTIFY that on
     in such matters as may be required of you.
     on Tuesday, September 13, 2016                         I made due Personal Service thereof by leaving same In
                                                                                                                   the hands ·of
                                                            the aroreslgned Recipient
        8:30am___ ___ ___ __
     at ___


     to Assistant Dlstrict Attorney:
                                                            (pl•••• wrltt R•clpftnt's nam•J.
                                                            the person lo whom the process Is dln,cted.
                                                                                                                                •
      Sarah Dawkins
                                                                                                                      S•iwr of Process
               (504)82
     p hone # :_       _ _ _ _ _ _ __
                 _ _7-6329
                                                             RETUR N OF DOMICILIARY SERVICE
     at 619 South White Street
                                                             THIS IS TO CERTIFY that on

      In the case of:
                                                             I n,ceived tht! process of Court of which this Is a duplicate.
      State of LA vs. Terrance Williams
                                                                                                                    1/tclpl•nt o{'StMu
      Item# F-10484-14
                                                             THIS IS TO CERTIFY that on
      Case # 521-528

      Charge(s): _14_:_43_.1_ _ _ _ _ __                                                                                      of
                                                             I made due Personal Service thereof by leaving same In the han6s
                                                             the aforeslcned Recipient


                                                              (pleose write Rtclp/ent's name),
      Instructions:                                                                                                             of the
                                                              a person of sullable age and discretion, residing at the domicile
                                                                                                                          was!absent
                                                              person to whom tht! said pro<l!ss or Court was Issued,   who
       Contact the above named Assistant District                                                                               'f'Ose
       Attorney upon receipt    or this subpoena.             at the time, which fact I learned by lnterrogallng the p<!rson in
                                                              hands tht sold process was left.
        Brin, this subpoena with you to t~e Distrrct
        Attorney's Office \·,hen you app~.:1r to testify.                                                               StNer o{'Proces.s




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Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 150 of 192



                                                                                                                     •


                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FO°'R THE PARISH OF ORLEANS


To: Paige Davis
                                                  RETURN OF PERSONAL SERVICE
                                                  THIS IS TO CERTIFY that on


                                                  I received the process of Court or which this Is a duplicate.
You Arc Hereby Notified pursuanc to
LSA,CCRP arr. 66 to appear bcfon: rh,
District Attorney for che Parish of Orleans, to                                                          Roclp/M/ ofSen,ia,
ratify to the truth according co your knowledge
In such matters as may be n:quin:d ofyou.         THIS IS TO CERTIFY that on
                                                                                                                      '
on Tuesday, September 13, 2016
                                                  I made due Personal Service thereof by leaving same in the hands of
   8:30 am
at ______________                                 the aforeslgned Recipient


                                                  (pleose   writ• Reclpirnt's nomr) ,
to Assistant    District Attorney:
                                                  the person 10 whc,m the process is directed.
 Sarah Dawkins

        (504)827-6329
phone #:__________    _                                                                                    Strver of '.rocess

at 619 South White Street                         RETURN OF DOMICILIARY SERVICE
                                                  THIS JS TO CERTIFY that on
In the case of:
                                                  I received the process or Coult or which this Is a dupllcale.
State of LA vs. Terrance Wlllrams

Item # F-10484-14                                                                                       Recipient of Servlct

Case# 521-528                                     THIS IS TO CERTIFY that on

                 43
Charge(s): _1_4 :~  1 _ _ _ _ _ __
                  _·_                             I made due Personal Service thereof by leaving sarne In the hand~ of
                                                  the aroreslgned Reclplent


Instructions:                                     (please write Recipient's name),
                                                  a person or suitable age and discretion, residing at the domicile of lht
 Contact the above named Assistant D1s1rict       person to whom the said process or Court was issued, who was absent
 Attorney upon receipt of this subpoena.          at the time, which fact I learned by Interrogating the person In whose
                                                  hands the sa!d process was left.
Brin~ this subpoena with you to the District
Atlo,oey's Office 01hen you appear to testify.
                                                                                                          Server of Process

                                                                                                                     •




                                                                                   CERTIFIED DA OFFICE COPY




                                                                               149                                              OPDA00225
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 151 of 192


                                                                                                                              '
                                                                                                                              j




                                                                  SUBPOENA
                                                A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                     FOR FAIWRE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


      To: Gina Davis
                                                           RETURN OF PERSONAL SERVJCE
                                                           THIS IS TO CERTIFY that on
                                                                      .·,   ..
                                                           I received the process of Court of which this Is a duplicate.
      You Arc Hereby Notified pursuant to
      LSA-CCRP art. 66 to appear bcfon: the
      Disuicr Attorney for the Parish of Orleans, to                                                             Recipient of ~rvlcc
      testify to the truth according to your knowlcdg,:
      In such mam:rs as may be rcquin:d of you.           THIS IS TO C!.RTIFY that on
      on Tuesday, September 13, 2016
                                                          t made due Personal Servic• thereof by leaving same In the hands of
         8:30am
      at _ _ _ _ _ _ _ _ _ __ _ __                        the aforeslgned Recipient


                                                          (pitas• write Recipient's name},
      to Assistant District Attorney:
                                                          the person to whom the process Is directed.
      Sarah Dawkins

      phone #: (504)827-6329                                                                                       StM!r of Pro<ess


I     at 619 South White Street                           RhTURN OF DOMICILIARY SERVICE

I·    In the case of:
                                                          THIS IS TO CERTIFY that on

                                                          1 received the process of Court of which this Is a duplicate.
      State of LA vs. Terrance Wlll!ams
      Item# F-10484-14                                                                                           Rtdp/ent of Srrvice
      Case # 521-528                                      THIS IS TO CERTIFY that on
                                                                                                                             •
                                                                                                                             'I

      Charge(s): _14_:4_ 3_•1
                            _ _ _ _ _ __
                                                          I made due Personal Service thtll!of by leavlng same In the hands of
                                                          the afOll!slcned Recipient


      Instructions:                                       (pleas, writ• Recipient's namd,
                                                          a person or suitable age and discretion, resldlng at the domicile 'ot the
      Conta,t the above named Assistant District          person to whom the said process of Court was issued, who was absent
      Attorney upon receipt of this 5ubporna.             at the time, which fact I learned by lnlerrogatlng the person In wrios•
                                                          hands the said process was left.
      Brin£: this StJbpoena \",ith you to lhe Cistnct
      Attorney's O'hce when you appear to :est,fy.
                                                                                                                   Strver of Process




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                                                                                       CERTIFIED DA OFFICE COPY




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                                                                                   150                                                 OPDA00226
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 152 of 192




                                                                   SUBPOENA BE IMPOSED
                                                                NT MAY                                                               ,_
                                            A ANE AND IMPRISONMEEY THIS NOTICE.
                                                  FOR FAIWRE TO OB
                                                                           District Attorney
                                              Office of the Orleans Parish
                                                                     FOR THE PARISH                     OF ORLEANS
                                             CRIMINAL DISTRICT COURT

                                                                                    SERVICE
                                                              RET URN OF PER SON AL                                                  ••
To:
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You Arc Hereby Notified purs       the
                              ar before                                                                               Rtcipl,nt of S•m ct
LSA-CCRP m. 66 to appe
                                h ofOrlC2ns, to
Oin riet Auo mcy for the Par4
                                  )'Our knowledge
testify to the truth aa:ording to                             THIS IS TO CERTIFY that
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          matter. as may be requ ited of
                                         you.
 In ,uch
                                                                                                                              hands .or
 on Tuesday, September 13,
                           201 6                                                               thereof by leavlnc same In the
                                                               I made dUt! Personal S.rvt ka
                                 _                             the aforeslgned Recipien
        am __ __ __ __ _
    8:30__
 at __
                                                                                              ),
                                                               (pleas• writ• Reclpi•nt's na!M
                               :                                                          proc ess is directed.
 to Assistant District Attorney                                the person to who  m  the

  Sarah Dawkins                                                                                                           s,rv ., of Proctss
               ~4)827
              :__ __  -632
                        __ 9 __ ___
  p hone #
                                                                                               IAR Y SER VIC E
                                                                RET URN OF DOM ICIL
  at 619 South White Stree1                                     THI S IS TO CERT IFY that
                                                                                          on

                                                                                                                            .        t,
   In the case or:                                                                           lt or which this Is a duplicate
                                                                I received rhe process of Cou

      State of lA vs.                                                                                                    Recipient of-Service

      Item   #.il•III__ __ __ __
                        _ _ _ _ __
                                                                 THIS IS TO CERTIFY that
                                                                                         on
      Cas e# _ _ _ _ _ _
                                                                                                                              hands of
                                                                                               thereof by leaving same In the
                        -- -- -- -                               l made due Ptrsonal Servt ice                                   •
      Ch ar ge (s >~ --                                          the aforeslgned Recipien

                                                                                                   ),
                                                                  (pitas, write Rulplent's na!M
                                                                                                                             domlcll~ ol the
                                                                                                discretion, residing al the who
       Instructions:                                              a person of suitable age and                   was issued,    wd absent
                                                                                       said  p(Ocess  of Cou  rt                     whose
                                      Assistan t District         person to whom the                 by Interrogating lhe person In
        Contact the above named                                   at the time, which fact I loamed
                                    thi~ subp oena .                                       was left.
        Attorney tJpon H!C<!1pt of                                hands the said process
                                      you to the District
        Bun g thrs subp o('na ,·~1tt1
                                        app ear to test,fy.                                                                   s~rw r ~'   PIOU S$
        Attorney's Office v.hen you




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                                                                                                CERTIFIED DA OFFICE CO




                                                                                           151                                                      OPDA00228
 Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 153 of 192




                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: jT ESHOoOrA                                      RETURN OF PERSONAL SERVICE
         OT Ac: K ,-,Ot..\S E·                       THIS IS TO CERTIFY that on/
                                                                      oq /oa • <,
                                                     I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP arc. 66 to appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.           THIS IS TO CERTIFY that on          /
                                                                          oq/01              l(p
on   WEOoes 08>'1 oq /1q                   /,'6
at   9    :oo AM
to Assistant District Attorney:
                                                     the p~n to who!: process is directed.
:ZACH Bl¥             p0D0'1't CH-                              nm4..              Bukbq
phone#:     Sol.f- 11~~ - ~y I 'I                                                                             Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
St.ate of LA vs.   OA"-ll' 6 l K [LL\/
Item# _ _ _ _ _ _ __ _ _ __                                                                                Recipient of Service

Case #    :$' cl !J .. , I.I 1                       TH IS IS TO CERTIFY that on

Charg_e(s): _ _ _ _ _ _ _ _ __
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient



Instructions:                                        (please write Recipient's name),
                                                     a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.              at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                         152                                              OPDA00162
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 154 of 192
  .
.....




                                                                     SUBPOENA
                                                    A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                         FOR FAIWRE TO OBEY THIS NOTICE.
                                                     Office of the Orleans Parish District Attorney
                                                    CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

           To: Christiar, Bordcre
                                                             RlffURN OF PERSONAL SERVICE
               New Orl:ans, LA                               THIS IS TO CERTIFY 1h41 on
                                                                         s;;~         2.\     ~---\..
                                                             I ruelv<d the proCtSs ~\Courl ofwhl       !his Is a duplicate.
           You Ar, li,re~y NOfi6ed pursuanr ro
           L'iA-CCRP an 66 to appear before the
           Oiuric1 Annm•y fur rhc Parish nrOrJons, ro
                                                                                   111\a_            ::\0-V ----
          cadfy m rhc muh ,crording co )"I"' knowledge                                                              Rrcipfrnt   of s~,vice
          in such nucrc,s u may be raiuiml of you.

          on Septcmb:r 22, 2016 @9am
          at Criminal J)istrict Court Section D

          to Assislant OMr!ct Attorney:
                                                            the person to whom lhe M:,s is dlrecri,
          Reed Poole
                                                                                             ~K: ::,~
          phone #:    504--_8_22_-~24_1_4_ _ _ __                                                             c      St,wr of Procns

         at 6t9 South White Street                          Rl:.TURN OF DOMICILIARY SERVICE
                                                            THIS IS TO CF.RTIFY that on
         In the case o~
                                                            I received t•e process or Court of which this Is a duplicate.
         Start of LA vs. Kevin Green

         Item#                                                                                                    Rttiplrnl of Srtvlct
         case # 525-9!•.c.Sc=D_ _ _ _ _ __                 THIS IS TO C:ERTIFY that on

         Charge(s):   14:7""9_._14_:~37_._7_ _ __          I made due Personal S~rvice thereof by leaving same in the hands of
                                                           the aforeslgn..t Rec!pleot


         lnstruclions:                                     (pleau writ• Reclpltnr', nomt),
                                                           a person of sullablc ase and discretion, resldlns at the domldle or the
         Contact the aboi,,e named Assistant District      person to whom the said process of Court was Issued, who was absent
         Attornev upon ~ce1rt of this subpoena             at the time, which fact I leamod by interro1at,n1 the person In whose
                                                           hands the sald process was left.
         Brm g ttiis subp~ena with you to the 01•Hmt
         Attorney's Oftict 1·,hrn you appear to testify.
                                                                                                                   Strvtt of Pro<tss




                                                                                           CERTIFIED DA OFFICE COPY




                                                                                        153                                                  OPDA00173
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 155 of 192

                  I   I




                                                                       SUBPOENA
                                                  A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.
                                                   Office of the Orleans Parish District Attorney
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To:     :m~ <hafc.t.                                       RETURN OF PERSONAL SERVICE


                                                                                        I'
                                                               Tl II~ L'I TO CERTIF\' lhnl on
                             ~ f lvy(t. {,., t                             q-,22-
                                              ~   ). <I,( f)
                                                               I received the process of Court of whic
    I
      '011 Arc Ht'rcbv
                     ,
                       Norificd 11ursm1nt rn
    LSA-CC:RP art. 66 m ,lppcar before the
    [)jsrrict 1\ttorncy for rhc P:iri.~h of Orleans, to
    rcsri(,· ro the truth :ic.:..:ording m your lmowlcdgc
    in such m.mcr~ a~ m.1y be required of you.                 THIS l'i TO CElffll·Y that on

    on    Monday Seplember 26, 2016
                                                               I made due Personal Service thereof by leaving same in the hands or
                                                               the aforesigned Recipient
    al 2 pm
                                                               (please write Recipient's name),
    to Assistant District Attorney:
                                                               lhe person to whom the process is dir
    Mike Dannan
                                                                 t~~J>                                                  Server of Process
    phone#:    822-2414
                                                               RETURN OF DOMICILIARY SERVICE
    at 619 South White Street
                                                               THIS   rs TO CERTIFY that on
    In the case of:
                                                               I received the process of Court of which this is a duplicate.
State of LA vs.           Russell Alexander

Item# H-08871-14                                                                                                      Recipient of Service
    I                                                          Tl IIS I.<, TO t'.1-:RTI 1-Y that on
~ase # 525-312

Charge(s): _l_4_:6_4_ _ _ _ _ _ __                             1·made due Personc1l Service thereof by leaving sc1me in the hands of
                                                               the aroresigned Recipient


                                                               (please write Recipient's name),
Instructions:
                                                               a person of suitable age and discrelion, residing ill the domicile of the
(contact the above named 't\ssistant District                  person lo whom the said process of Court was issued, who was absent
1-f'ttomey upon receipt of this subpoena.                      at the time, which fact I learned by interrogating the person in whose
                                                               hands the said process was left.
' Bring this subpoena with you to the District .
1

 ·Attorney's Office when you appear to testify.
                                                                                                                       Server of Process




                                                                       154                                             OPDA00262
                Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 156 of 192

   .,




                                                                  SUBPOENA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                    FOR FAILU       RE TO OBEY THIS NOTICE.
                                                Offic e of the Orlea ns Parish District Attor
                                                                                              ney
                                                                                                                                            ·'
                                               CRIMINAL DISTRICT COURT FOR THE PARISH OF
                                                                                         ORLEANS

   To:   Chrystal
         C/0 Resource Bank                                RETURN OF PERSONALSERVICll
                                                                                                                                            .
                                                                                                                                            '-


                                                          THIS IS TO CERTIFY that an
         New Orleans, La                                    (!)0 - '-..)   ?...u \.    c,..
  You Arr Hereby Notified pursuant to                    I roc•lvtd tho process al Cau,1 of which this is
   L<A-CCRP •rr. 66 "' •ppcar before ,he
   Dinrict Aunrncy for rhe Parish ofOrln nJ co
                                           1
                                                                                            '\\. ~
  1csrify n, ihc: tnnh ocxording to y,,ur knowledge                                                               · R~cJpi~nt of S~rvfc,
  1n such n10ncn •• moy be r,quircd of you.              T IIIS ts -.;o <;liRT IFY th1t an
  on Wednesday, Octob er S, 2016                        --~~bc
                                                           --VL..  '-\ 2A \ <io
                                                               --. -r  -- -- -- -- -~
                                                        I made due Ptrsonal Service thereof by leavmr
                                                                                                      same In the hands al                   _
  at 9AM @Cp c Section D                                the alouslc ntd Rt clpltnt
                                                         ~"ls .~l e."-.,-,J,p \. e_                              ,,.J;:;S uf
  to Assistant District Attorney:                       {p/t0<t writ• Redp/1n t'S n<llM),

                                                        th• ~rson to whom th• process Is directed.
  Alexis Taylo r                                                                                   ~


 phone #: S04-231-6S6 I
                                                                                             fv\-e.\ ~           tv'--
                                                                                                                   StfVfr of Pr0<ts>
 at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
    I
 In the case or:
                                                       TH ~I IS TO CF.RTIFY that on

                                                       ---        --- ---
                                                       I reetl••d the process        - - - --- --- --- ''
                                                                              or Court
State of LA vs.    Chessie A. Ayers                                                       or which this Is • duplicale.

Item# C-343 41-16
                                                                                                                Rtclpitn r of   s,,./c, ,
Case # 529-033D                                       THIS IS TO CERTIFY !hat an

Charge(s):   RS 14:71 .l Bank Fraud
                                                      I mad• due Ptrsonal SefVict thereof by leaving
                                                      tht afortsigned Rodpltnl                       same in th• hands al


Instructions:                                         (pl,ast write Rtelpitn t's namt),
                                                                                                                                      11·
Contact the abc,e naned Assistant D,stuct             • pt rson al sull•ble •s• and 111scre1ion, resldlns
                                                      person to whom the said process of Court            al th• damklle al th• , 1
Attorney upa,, rctc>Jpt of th,s subpo~n.J                                                          was Issued. who was absent
                                                      at lhe dmt, whi<II fact I learned by interras
                                                                                                    allns the ~rson In whose •
Bnng- tli1s sub;iot"n.J rnth you to the 01~1r1ct
                                                      hands th• said process was left.
Attorney's Ofhc(> \.,hen you Jpr,rar to te ~llfy.




                                                                                          CERTIFIED DA OFFICE! COPY




                                                                                                        155                                      OPDA00229
              Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 157 of 192


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                                                                                                          S4~             4-i,,,~--woo~ -,t.,z
                                                                        SUBPO·ENA                                         ,..-u.-tu-')l.~• ·fv'i
                                                   A FINE.AND IMPRISONMENT MAY BE IMPOSED '1~-&!os~-~
                                                          FOR FAILURE TO OBEY THIS NOTICE.                                  .
                                                                                                                                             ~
                                                                                                                                             C?-
                                                    Office of the Orleans Parish District Attorney
                                                   CRIMINAL DrSTRICT COURT FOR THE PARISH OF ORLEANS
         ---------------r---------------------- ~
         To: Wandell West                                       RETURN OF PERSONAL SERVICE

              Houston, TX                                       THIS IS TO CERTIFY that on


                                                                I received the proce·ss of Court of which this is a duplicate.
        You Are Hereby Notified pursuant to
        LSA-CCRP art. 66 to. appear before the
        District Attorney for the Parish of Orleans, to                                                                Recipient of Service
        testify to the truth according to your knowledge
        in such matters as may be required of you.       .     THIS rs TO CERTIFY that on

        on Friday, October 14, 2016
                                                               I made due Personal Service thereof by leaving same in the hands of
        at   8:30p.m.                                          the aforesigned Recipient


                                                               (please write Recipient's name),
        to Assistant District Attorney:
                                                               the person to whom the process is directed.
         Bonycle Thornton

                       504-822-2414                                                                                      Server of Process
        phone #=--------------=-
                                                     '         RETURN OF DOMICILIARY SERVICE
        at 619 South White Street
                                                               THIS IS TO CERTIFY that on
        In the case of:
                                                               I received the process of Court of which this is a duplicate.
                         Adranika Reed
        Stat e of LA vs. _ _ _ _ _ _ _ __
        Item # E-11205-15                                                                                             Recipient of Service
                525346 F                                      THIS IS TO CERTIFY that on
    Case #
              Second Degree Battery
    Ch arge()
            s:_ ___   ___     _ _ __                           I made due Personal Service thereof by leaving same in the hands of
                                                             · the afdresigned Recipient



    Instructions:                                             (please write Recipient's name),
                                                              a person of suitable age and discretion, residing at the domicile of the
        Contact the above named Assistant District            person to whom the said process of Court was 'issued, who was absent
        Attorney upon receipt of this subpoena.               at the time, which fact I learned by interrogating the person in whose
                                                              hands the said process was left.
        Bring this subpoena with you to the District
        Jl.ttorney's Office when you appear to testify.
                                                                                                                       Server of Process




'   '




                                                                       156                                              OPDA00253
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 158 of 192
                   ..   '




                                                 Office of the Orleans Parish Di str ict
                                                                                                         At tor ney
                                                CRIMINAL DISTRICT COURT FOR THE
                                                                                PARISH OF 'ORLEANS

    to:   Wandell West
                                                              RETURN OF PERSONAL SERVICE
          Houston, TX                                        THI S IS TO CERTIFY that on


   You Arc Her eby Not ifie d pur sua                        I received the process of Court of whic
                                         nt to                                                      h this is a duplicate.
   i.sA -CC RP art. 66 to app ear befo
                                         re the
   bist rict Atto rney for the Parish of
                                         Orle ans, to
  testify to the truth according to you r kno                                                                       Recipient of Service
                                               wledge
  ln such matters as may be required ofyou                   THI S IS TO CERTIFY that on
                                                 .
  on Friday, October 14, 2016
                                                            I made due Personal Service thereof by
  at 8:30p.m.                                               the aforesigned Recipient              leaving same in the hands of



  to Assistant District Attorr:iey:                         (please write Recipient's name).
   Bonycle Thornton            ... -·
                               ~
                                                            the person to whom the process is
                                                                                              directed.

            504 -82
 ph one # : __   __ 2-2__._
                       4,14__ __
                                 __
                                                                                                                     Server of Process
 at 619 Sou th White Stre et                               RE TU RN OF DOMICILIARY SER
                                                                                                    VICE
                                                           THI S IS TO CERTIFY that on
 In the case of:

 State of LA vs. Adranika Reed                             I received the process of Court of whic
                                                                                                  h this is a duplicate.

Item # E-11205-15
                                                                                                                  Recipient of Service
          525346 F
Case #                                                    THI S IS TO CERTIFY that on
          Second Degree Battery
Charge (s)= -      ----------                             I made due Personal Service thereof
                                                                                              by leaving same in the hands of
                                                          the aforesigned Recipient


Instructions:                                            (please write Recipient's name),
Contact the above nam ed Assista                        . a person of suitable age and disc
                                  nt District                                                retion, residing at the domicile of the
Attorney upon receipt of this sub                         person to whom the said process
                                                                                              of
                                  poena.                  at the time, which fact I learned by Court was issued, who was absent
                                                                                               interrogating the person in whose
Bring this subpoena with you to                           hands the said process was left.
                                 the District
Attorney's Office when you app
                               ear to testify.

                                                                                                                  Server of Process




                                                               157                                              OPDA00254
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 159 of 192




                                                             SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                     RETURN OF PERSONAL SERVICE
                                                     THIS IS T0~C'RTIFY that on
                                                          l,o) \_I \o
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 co appear before the
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth according ro your knowledge
in such matters as may be required of you.

on 10/25/2016
                                                     I made due Personal Service thereof by leaving same in the hands of
         am                                          the aforesigned Recipient
at _9:00
     __   _ _ _ _ _ _ _ _ _ __

                                                     (please write Recipient's name),
to Assistant District Attorney:
 Rachel Hurd

         504-822-2414
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street
                                                     T H TS IS T
In the case of:
                                                     I received the process of Court of which this is a duplicate.
                 Reginald Wilson
State o f LA vs. _ _ _ _ _ __ _ __

Item# _ _ _ _ _ _ _ _ _ _ __

tt      # 523-908                                    THIS   rs TO CERTIFY that on
""ase
Charge(s): _ _ _ _ _ _ _ _ _ __                      I made due Personal Service thereof by leaving same in the
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residin
 Contact the above named Assistant District          person to whom the said process of Court wa
 Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrog
                                                     hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.




                                                             158                                             OPDA00156
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 160 of 192




                                                             _SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                FOR FAILURE TO OBEY THIS NOTICE.

                                            Office of the Orleans Parish District Attorney
                                           CRINllNA~CT COURT FOR THE PARISH OF ORLEANS


                                                      RETURN OF PERSONAL SERVICE
                                                      THIS   Sr~ EjT;:;       that on


                                                     I rec==__;.?S of Court of which this is a duplicate.
 You Are Hereby Notified pursuan c to
 LSA-CCRP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to
                                                        /~~                                                 Recipient of.Service
 testify to the truth according co your knowledge
 in such matters as may be required of you.          THIS IS TO CERTIFY that on

 on 10/25/2016
                                                     I made due Personal Service thereof by leaving same in the hands of
 at _9:00
      __  am
           _ _ _ _ _ _ _ _ _ _ __                    the aforesigned Recipient



,l Assistant District Attorney,
 Rachel Hurd
                                                     (please write Recipient's name),
                                                     the person to whom the process is directed.


pone     504-822-2414                                                                                        Server of Process
 h   # : _ _ _ _ _ _ _ _ _ _ __

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
                   Reginald Wilson
Sta t e o f LA vs. _ _ _ _ _ _ _ _ __

Item# _ _ _ __ _ _ _ _ _ __                                                                               Recipient of Service
         523-908
Case #

Charge(s): _ _ _ _ _ _ _ _ __                       I made d e Per nal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient •

                                                          ~rdl.Jw~
Instructions:                                       (please write Recipient's name),
                                                    a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District          person to whom the said process of Court was issued w       was absent
Attorney upon receipt of this subpoena.             at the time, which fact I learned by interro ·               in whose
                                                    hands the said process was left.
Bring this subpoena with you to the District
Jl.ttorney's Office when you appear to testify.




                                                             159                                            OPDA00157
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 161 of 192




                                                                                                                               ,.
                                                            SUBPOENA
                                       A FINE AND IMPRISONMENTTHI     MAY BE IMPOSED
                                            FOR FAILURE TO OBEY          S NOTICE.
                                                                           tric t Att orn ey
                                        Office of the Orl ean s Parish Dis
                                                                        PARISH OF ORLEANS
                                        CRIMINAL DISTRICT COURT FOR THE

                                                                                  VICE
To: Paige Davis                                        RETURN OF PERSONAL SER
                                                       THIS IS TO CERTIFY that on


                                                                                       of which this is ~ duplic,11e.
                                                       I received the process of Court


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                                 uant 10
You Arc Here by Nod licd purs
                                     e 1hc                                                                     Rteip/~nt of Servi
LSA-CCRP an. 66 10 appe ar befor                           y:,
                                          ns, 10
District Attorney for the Parish of Orlea
                                      knowledge
teS<ify 10 the mnh according 10 your                   THIS IS TO CERTIFY th.it on
                                 red of you.
in such mailers as may be requi
                                                                                                                        s of
                                                                                         of by leaving same In the hand
on Oct 25, 2016                                        I made due Personal Service there
                                                       the aforeslgned Recipient
    8:30
      __  _______
         Am                          _ _ __
 at _

                                                        (pltosr wrltt Rtdp ~nt's name ),
 to Assistant District Attorney:                        the person to whom the process
                                                                                         ls directed.

  Sarah Dawkins
                                                                                                                   Sen,, r of Proc,ss
            _717-
          504-
 phone #: _    __   _ _ _ _ _ __
                  7287
                                                                                    VICE
                                                         RETURN OF DOMICILIARY SER
 at 619 South White Street                               THIS IS TO CERTIFY that on
                                                                                                                               i
  In the case of:                                                                        ol which this is   a dupllcota.
                                                         I received the process of Court
                                  ams
  State of LA vs. Terr ance Willi
                                                                                                                  Rtc/plrnt of Service
  Item # F-10484-14
                                                         THIS IS TO Cf.RTIFY that on
  Case # 521-528
                                                                                                                           s of
                                 _ __                                                       of by leaving same In lhr hand
  Charge(s): _14_:4_3_._1_ _ _ _                          I made due Personal Service there                              ·
                                                          tht aforeslgnad Recipient


                                                          (pita s, wrltt Rtclpi~nt's nom~).
                                                                                                                             of the
                                                                                              etion, residing at the domlcl~ absen
   Instructions:                                          a person of suitable age and discr                                        t
                                                                                           ss of Court was issuod, whon wu
    Contact Hie above name d Assis
                                   tant O,str1ct          person to whom the said proce      by Interr ogati ng the ~rso in whos e
                                        oena .            at the lime, which fact I learned
    AttornPy upon rctt'1pt of lhi~ subp                    hand s the said process was left.
    Buns th,s subpoena \'11th you to
                                      the District
                                      ar to testify.                                                                    Strvor of Proctss
    Attorney's Office ,·,hen you appe




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                                                                                                                                        PY
                                                                                      CERTIFIED DA OF FIC E CO
                                                                                                                              Q




                                                                                  160                                                        OPDA00223
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 162 of 192




                                                                             SUBPOENAY BE IMPOSED
                                                     A FINE AND IMPRISONM ENT MA
                                                                                IS NOTICE.
                                                          FOR FAILURE TO OBEY TH
                                                                                                ish Dis tric t Att orn ey
                                                       Office of the Or lea ns Par
                                                                           RT FOR                THE PARISH OF ORLEANS
                                                      CRIMINAL DISTRICT COU


                                                                                                     AL SERVICE
                                                                        RET UR N Of PERSON
    To.                                                                                     lhal on
                                                                        THI S IS TO CERTIFY




I   You Are Hereby Notified
    LSA-CCRP m . 66 to app
                                  pursuanr ro
                                 ear before the                                                                                  Rteipknt of ~rv ic•
                                    sh ofOrleans. 10
/   District Attorney for rhc Pari
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    tcsrify to 1he truth 2ccordin                                       THI S IS TO CERTIFY
I    insuch mancrs as may be r<qu
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          _ 0A
     at _8:3   _ _ __ _ _ _ _
             _ m
                                                                                              no- ),
                                                                         (pk ou writ• Rcclpi,n r's
                                  y:                                                        the process Is dlrecttd.
     to Assistant District Attorne                                       the person to whom

      Sarah Dawkins                                                                                                                  .kl'W!.r o/ p,.,cr1$

                 504
      p hone # : _ _-71    _ _ _ _ _ __
                        _287
                      _7-7
                                                                                                    RY SERVICE
                                                                          RET UR N OF DOMICILIA
      at 619 South White Stre et                                          THIS IS TO CERTIFY that
                                                                                                  on

                                                                                                                                      .
      In the cas e of:                                                                                 rt or which this ls a dupUcate
                                                                          I received tho process or Cou
                                  WWllams
      Sta te of LA vs. Ter ran ce                                                                                                   Rtcip~nt of Se,v/ct

          Item                                                                                        on
                                                                           TH IS IS TO C ERT IFY that
          Case # 521-528
                                                                                                                               e In lhe hands of
                                                                           I made due Personal Serv   ice lh~ ol by leaving sam
                             _._1_ _ _ _ __ _
          Charge(s}: _14_:_4 3                                                                   lenl       •
                                                                           the alorosigned Roclp
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                                                                            (plt ou writ• Rtd pitn t's nom                                   icile ol lhe
           Instructions:                                                                         ago   and  disc retion, roslding at the dom wa, • ~"       r,
                                                                            a person of suitable        proc ess  ol Cou,t was lssU<'d, who
                                                                            person lo who  m !he  said                                 pers in whos.
                                                                                                                                           on
                                          Assistant D,stricl                                           learned by interrocaling the
            Cor. lact the .Jbo·,e nar.;ed                                   at the time, which facl Iwas
                                           subpoena.                                                       tell.
            Attorney uoon rece,pt of th,~                                   hands the said proc  ess
                                        you to the District
            Bring this subpoena 1·.,111                          ify.                                                                   Scrv,r of Pracas
                                        .•n you app e.,r to test
            Atto rney '~ Offi ce o,.·,IH




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I
                                                                                                      161                                                        OPDA00227
           Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 163 of 192

                                                                                                       ..JTc/'li~r    .1+4>~.,.-

                                                            SUBPOENA                                           ~:Jc>- S-77


                                            A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.

                                             Office of the Orleans Parish District Attorney
                                            CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS

l . Eria LilJy
  0                                                  RETURN OF PERSONAL SERVICE
      ·
          New Orleans, LA                            THIS ISTO CERTIFY that on



You Are Hereby Notified pursuant ro
LSA-CCRP :m. 66 co appear before rhc                    (~e,
                                                            lbroA l".G. .2.6 lo I(,,


                                                               &IL<-~                         c5:
                                                                                                  d:::~~
                                                     I received the p'.ocess of Court of which this is:
                                                                                                                £B-;_
Disrrict Anorney for rhe Parish of Orleans, to                      T                                       Recipient    r Service
reJrify to the truth according to your knowledge
in :5uch matters as may be rcqui red of you.         THIS IS TO CERTIFY that on

on November 1, 2016
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
at 2:00PM

                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process is directed.
Brian Ebarb
                                                       k       .e.b cJc.LA.t.D ~
                                                                                                                     er of Process
phone #: 504.827.6322

at 619 South White Street
                                                     RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which this is a duplicate.
State of LA vs.    Stephen Albert

Item # H-09754-16                                                                                           Recipient of Service

Case#       530~577 "J"                              THIS I.S TO CERTIFY that on


Charge(s): ....:1....:4..;...:3_5_.3_ _ _ _ _ __     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant Dislrid           person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.             at the time, which fact I learned by Interrogating the person in whose
                                                     hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                             Server of Process




                                                           162                                            OPDA00270
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 164 of 192


 -1 .
                                        () °'
                                           A AN ~R l!~ ~N ~~ ~ BE IMPOSED
                                                                                        (j

                                              FOR FAILURE TO OBEY THIS NOTICE.
                                             Office of the Orleans Parish District Attorney
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


  To:    (.}If j So"'- C c\.,l\ I I ~                 RETU RN OF PERSO NAL SERVICE
                                                     THIS IS TO CERTIFY that on


 You Are Hereby Notifie d pursua nt to               I received the process of Court of which this is a duplicate.
 tsA-C CRP art. 66 to appear before the
 District Attorney for the Parish of Orleans, to      0J.LJ&~ Qb U~ !
                                                                                                6
 testify to the truth according to your knowledge                                                           Recipient of Service
 In such matters as may be required of you.          THIS IS TO CERTIFY that on

 on     Jf /    z_,/ t OI {,a                                       Oc:.Jt:. :S\ .,_    j
                                                                                            ?   Dito
                                                     I made due Personal Service thereof by leaving same in the hands
                                                                                                                      of
                                                     the aforesigned Recipient
 at      ~:     OD ~-M ·
                                                             I\ \\f;c tQ CQl\Q m~
  o Assistant District Attorney:                     (please write Recipient's name).




 ~hone #:    So<l - fkt, - U{ l t./                                                                          Server of Process

at 619 South White Street                           RETU RN OF DOMI CILIA RY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
State of LA vs. 'Po,     v;-rl, $'"~"--
Item# _ _ _ _ _ _ _ _ _ _ __
                                                                                                          Recipient of Service

Case #       S1--A -    ttL{ (                      THIS IS TO CERTIFY that on

Charge(s):      I I./: }'2 •2 <-                    I made due Personal Service thereof by leaving same in the hands
 T ti: 1,~.-;                                       the aforesigned Recipient
                                                                                                                     of



Instructions:                                       (please write Recipient's name),

 Contact the above named Assista nt District        a person of suitable age and discretion, residing at the domicile
                                                                                                                      of the
                                                    person to whom the said process of Court was issued, who was
 Attorne y upon receipt of this subpoena.                                                                             absent
                                                    at the time, which fact I learned by interrogating the person in
                                                                                                                     whose
                                                    hands the said process was left.
  Bring this subpoe na wiU1 you to the District
· Attorne y's Office when you appear to testify.
                                                                                                            Server of Process




                                                            163                                             OPDA00271
 Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 165 of 192




                                                            SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                FOR FAILURE TO OBEY THIS NOTICE.

                                            Office of the Orleans Parish District Attorney
                                           CRIMINAL DISTRICT COURT FOR· THE PARISH OF ORLEANS


To:




You Are Hereby Nori6cd pursuant 10
LSA-CCRP arr. 66 to appear before the
Dimic1 Auorney for rhc Parish of Orleans, 10                                                                Rtcipitnl of Strvict
1cstify 10 the tturh nccording 10 your knowlcr.!gc
in .such tnaneu as 1nay he required of you.          THt IS TO CERTIFY lhal on

on Monday,November14,2016
                                                       a ":J-/1':e
                                                     I made due Personal Service ther,ol by leaving same in the hands of
   9:00AM                                            the aloresigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ __


to Assistant 0istrlct Attorney:
                                                     ~·                             7
                                                     (pf•••• wrllt l.,lpitnr's nomt),

Sarah Dawkins

        504-827-6329
p one : _ _ _ _ _ _ _ _ _ _ __
 h   #
                                                     RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                     TMIS 15 TO CERTIFY that on
In the case of:
                                                     I received the process of Court of which !his Is a duplica1e.
State   or LA vs. Ashton Rouzan
                                                                                                            Rteipitnt of StlVICt
Item    #l••••• i.------
Case# _ _ _ _ _ _ _ _ _ _ __                         THIS   rs TO CERTl~Y lhal on

Charges: 14:81.3
     () _ _ _ _ _ _ _ _ __                           I made dut Personal Service thereof bv leavlng same In the hands of
                                                     the aforeslgned Recipient


                                                     (please write Recipient's name),
Instructions:
                                                     a person of suitable age and dlscrellon, residing al the domicile of the
Conlact lhe above named Assistant District           person to whom the said process of Court was issued, who was absent
Attorney upon rernipt of this subpoe!na.             at the time, which facl I learned bV Interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena wilh you to the District
Attorney's Office when you appear lo testify.
                                                                                                              Strvtr of Proctn




                                                                                   CERTIFIED DA OFFICE COPY




                                                                                  164                                              OPDA00221
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 166 of 192




                                                          SUB POE NA
                                        A FINE AND IMPRI SONM ENT MAY BE IMPOS ED
                                             FOR FAILURE TO OBEY THIS NOTICE.

                                         Office of the Orleans Parish Distri ct Attorney
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                     RETUR N OF PERSONAL SERVICE
                                                     THIS IS TO C:ERl;IrY that on
                                                                                             ...   ..   ,.   .
                                                     I received the process of Court of which this is a duplicate.
You Arc Hl'rl'by NotincJ pursu.1n1 to
LSA-CC RP art. 66 to appear before the
                                                                                                                 Recipien t   of Service
District Attorney for the Parish of Ori cans, co
testify to the truth according to your knowledge
                                                     THIS IS TO CERTIFY that on
in such matters as may he required of you.

on . .  Ile)<¼~ AJe1~C z:z.., Z,O(f.,
                   I
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the afo resigned Recipient
at    q, .,Oo    p.N\

                                                     (please write Recipien t's name),
to Assistant District Attorne y:
                                                      the person to whom the process is directed.


                                                                                                                    Server of Process
 phone #:       Csoy) 5 7 <- 2$ b"2
                                                      RETUR N OF DOMIC ILIARY SERVICE
 at 619 South White Street
                                                      TH IS IS TO CERTIFY that on
 In the case of:
                                                      I received the process of Court of which this is a duplicate.
 State of LA vs.       W1 (( Mo ~ I+
                                                                                                                  Recipient    of Service
 Item #      B· tS:°io:Z - I '=,
                                                      THIS IS TO C ERTifY that on
 Case #      5 2.g - J '?Q
 Charge(s):      L2-7) 30. I                           I made due Personal Service thereof by leaving same in the hands of
                                                       the aforesigned Recipient


                                                       (p lease write Recipien t's name) ,
  Instructions:
                                                       a person of suitable age and discretio n, residing at the domicile of the
     Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
     Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
     Bring this subpoena with you to the District
     Attorney's Office when you appear to testify.                                                                   Server    of Process




                                                           165                                                   OPDA00166
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 167 of 192




                                                                    SUBPOE NA
                                               A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                           FOR FAILURE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To:                                                           RETURN OF PERSONAL SERVICE
                                                              THIS IS TO CERTIFY that on
                                                                            ,~-e:;--""2--0.\.A_
                                                                   ived the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant co
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, co                                                                     Recipient of Service
testify co the truth according co your knowledge
in such matters as may be required of you.                   THIS IS TO CERTIFY that on

on _ __.\......                         o___
          Zc:..__~-=---]-0)-"--='-'--"\....
                                                               I made due Personal Service thereof by leaving same in the hands of
                                                            -··the-aforesigned· Recipient---·---·--- ·-··· -   -· ·     - -·· •
at _ _ _ _       . . . .3
              D~<?:1    . . . .D-~o,....:~;"I...--'\~---
                                                                    LQQ.}\JOG\.            3ca: lL-
                                                             (please write Recipient's name),
to Assistant District Attorney:



phone #: 'SQu._. c;;-=; \--z.._~                              'd:tJ"' .    ('--\V(L~o,t--..)
                                                                                                                      Server of Process
                                                                                               ~(l~

at 619 South White Street                                    RETURN OF DOMICILIARY SERVICE
                                                             THIS IS TO CERTIFY that on
In the case of:
                                                             I received the process of Court of which this is a duplicate.
State of LA vs.     ~               ~v+-JaL
Item# _ _ _ _ _ _ _ _ _ _ __                                                                                       Recipient of Service


Case   #_--=5_.:2-~f..-__./......,S3~----                    THIS IS TO CERTIFY that on

Charge(s): _ _ _ _ _ _ _ _ __
                                                             1 made due Personal Service thereof by leaving same in the hands of
                                                             the aforesigned Recipient


Instructions:                                                (pleas'e write Recipient's name),

                                                             a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District
                                                             person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.                      at the time, which fact I learned by interrogating the person in whose
                                                             hands the said process was left.
Bring this subpoena with you to the District
Attorney's Office when you appear to testify.
                                                                                                                     Server of Process




                                                                    166                                            OPDA00272
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 168 of 192




                                                               SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.
                                                                                                •·
                                          Office of the Orlea ns Parish Distr ict Attor ney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Jeanette Greenleaf
                                                        RETURN OF PERSONAL SERVICE
     New Orleans, LA                                    THIS IS TO CER1tIFY\that on
                                                                   ~ {)~                        \, 3
You Aie Hereby N:otified pursuant co                    I received the pro
LSA-CCRP art. 66.to appear before the
District Attorneyfo'i,1he Parish of Orleans,to ·.. \'                             ·,   .:.;,,
                                                                                                                  Recipfent of Service
                               your
testify to the truth ~tdiii g to       knowledge'                 ~
                                                                                  .• «-....74                         ":~·
in such matters as rit,ty be required ofyou.    ·   , THIS IS TO CER TIF n.                                           -.:
                    .." .
                     ~   '
                                                    ·
                                                                         Y~t :
on December 13, 2016                                                      0            .               l3
                                                                                                  >I
                                                        I made due Personal Service thereof by leaving same in the hands of
at _9~30a
     _ _.m.
          _ _ _ _ _ _ _ _ _ __                          the aforesigned Recipient
                                                                        ~e.e,... .Y\-e.. ,.~~ c:;           r-~ l. . ___--(:. .
                                                        (please write Recipient's name),
to Assistant District Attorney:
Alexis Taylor                                       the person to whom the ~ c t ~ ~

          504-23
phone # : _ _ _1-6561
                 _ _ _ _ _ _ __                                                 t.                                 Server of Process

at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:

                 Ronald _ _ _ _ __                  I received the process of Cqurt of which this is a duplicate.
Stat e of LA vs. _ _ _James
Item# D-29511-16
                                                                                                                 Recipient of Service
Case # 529-621                                      THIS IS TO CERTIFY that on

      /,, 14:34. 7
Cnarge\s,: _ _ _
 L.
                   _ _ _ _ _ _ __
                                                    I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient ,


Instructions:                                       (please write Recipienrs n~me),

Contact the above named Assista nt District         a person of suitable age and discretion, residing at the domicile of the
                                                    person to whom the said pcocess of Court was issued, who was absent
Attorne y upon receipt of this subpoe na.           at the time, which fact I learned by interrogating the person In whose
                                                    hands the said process was left.
Bring this subpoena with you to th e District                                                                                            •
Attorn ey's Office when you appear to testify.

                                                                                                                  Server of Process




                                                             167                                                  OPDA00188
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 169 of 192


                                      .e
                                                             SUBPOENA
                                           A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                                                        •
                                                FOR FAILURE TO OBEY THIS NOTICE.
                                            Office of the Orlean s Parisµ Distric t Attorn ey
                                           CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Albert Greenleaf
                                                      RETURN OF PERSONAL SERVICE
     New Orleans, LA                                  THIS IS TO CER"QFY that on
                                                                  ~be ..~                 t ~ 0 2.'J '- 'e
You Are Hereby Notifie4 pursuant to                   I received the p r o ~ w h ~ ~
LSA-CCRP art. 66 to appear before the
District Attorney for the Parish of Orleans, t ~ ·
                                                                                                            Recipient of Service
testify to the truth according to your knowledge
in such matters as may be required of you.      ·    THIS IS TO C E R T I ~ V l -
on December 13, 2016                                                                                ;;;
                                                     I made due Personal Service thereof by leaving same in the hands of
at _9:30
     __    _ _ _ _ _ _ _ _ _ __
         a.m.                                        the aforesigned Recipient

                                                                      M,b--r--+
                                                     (please write Recipient's name),
                                                                                        c:~\.ae-+-
to Assistant District Attorney:
Alexis Taylor                                        the pe~n to whom     hl             ~~
          504-231
phone # : _ ___  -6561
                   _ _ _ _ _ __                                                                               Server of Process

at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                     THIS IS TO CERTIFY that on
In the case of:

                  Ronald                             I received the process of Court of which this is a duplicate.
Stat e of LA vs. _ _ _James
                       _ _ _ _ __
Item# D-29511-16
                                                                                                           Recipient of Service
         529-621                                     THIS IS TO CERTIFY that on
Case #
              14:34.7
Ch arge (s) : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


Instructions:                                        (please write Recipient's name),

Contact the above named Assistant District           a person of suitable age and discretion, residing at the domicile of the
                                                     person to whom the said process of Court was issued, who was absent
Attorney upon receipt of thi s subpoena.             at the time, which fact I teamed by interrogating the person in whose
                                                     hands the said process was left.
Bring this subpoena with you to the District
Attorney"s Office when you appP2~ to testify.
                                                                                                             Server of Process




                                                           168                                              OPDA00189
   Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 170 of 192




                          -                                        SUBPOENA
             I                 <: '              A FINE AND IMPRISONMENT MAY BE
                                                                                IMPOSED
                     I   '\'



             ,, - ,            · :I                   FOR   FAILURE TO OBEY THIS NOTICE.
                                                  Office of the Orleans Parish Dis tric t Att
                                                                                              orney
                                                 CRIMINAL DISTRICT COURT FOR THE PAR
                                                                                    ISH OF ORLEANS

   To: Taj Var nad o                  /199 7)
                                                          RETURN OF PERSONAL SERVICE
          LADL:                                           T-?:    IS TO CERTIFY that on       ti h r-: , O
                                                          H!.O    flt.()Ji~            l 2 ,,n · l _
                                                          I rec eiv ~ process of Court of whic
                                                                                                   ~ ·I D f ~
  You Aie Here by Noti fied pursuant to                                                       h this is a duplicate.
  LSA-CCRP arc. 66 to appear before the
  District Attorney for the Parish of Orleans,
                                                to
                                                             i U'
  testify to the truth according to your know                                                                    Recipient of SeNice
                                              ledge
  in such matters as may be requ.ired of you.            THI S IS TO CERTIFY that on
  on Tue sda y Dec emb er 13, 201 6
                                                         I made due Personal Service thereof
  at _2p.m
       __  . ________                                                                        by leaving same in the hands of
                                                _ __     the aforesigned Recipient


 to Assist ant District Atto rney:                       (please write Recipient's name),
  Bon ycle Thorr:1ton                                    t he person to whom the process is direc
                                                                                                 ted.

         504
 phone : _   -822 -241
                    _4_/ 225 -222
      #    _  __         __    _-663
                                  __ 2
                                                                                                                  SeNer of Process
 at 619 South White Street                              RETURN OF DOMICILIARY SERVIC
                                                                                    E
                                                        T~ JS TO CERTIFY that on
 In the case of:
                                                         7   lf~SDA->1             l Z·~-1 fe
Stat e of LA. vs. _
                  Chr_
                     istia
                       _n_Lew
                           _is_ _ __
          0-16 888 -16
Itern #                    •                                                                                   Recipient of SeNice
       530575 F                                        THI S IS TO CERTIFY that on
Case #

Charges
                 I
            Arm ed Rob bery w/F irea rm
      ( ) : _____        _ _ _ _ __
                                                        THo~tP~                    tl- 2, •le:,

Instructions:

Contact the above named Assistant                      a person of suitable age and discretion
                                    District                                                    , residing at the domicile of the
                                                       person to whom the said process of
Attorney upon receipt of this suo~oena                                                       Court was issued, who was absent
                                       .               at the time, which fact I learned by
                                                                                            interrogating the person in whose
                                                       hands the sa·      cess was left.
Bring this subpoena with you to the
                                    District
Attorney's Office when you appear
                                  to testify.
                                                         . (!__
                                                                                                               SeNer of Process




                                                             169                                              OPDA00247
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 171 of 192



                                                                  SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMP
                                                                               OSED
                                                  FOR     FAIWRE TO OBEY THIS NOTICE.
                                               'Office of the Orleans Parish District Attorn
                                                                                             ey
                                             CRIMINAL DISTRICT COURT FOR THE PAR
                                                                                ISH OF ORLEANS

   To: Taj Varn ado              1997)                    RETURN OF PERSONAL SERVICE
                                                         THI S IS TO CERTIFY that on
                                                         Tue sda y Dec emb er 13, 201 6              4:12 pm
  You Aic Hereby Notified pursuant to                    I received the process of Court of whic
                                                                                                 h this is a duplicate.
  LSA-CCRP art. 66 to appear before the
  District Attorney for the Parish of Orleans, to       'f~·\J~CJ
  testify to the truth accoxd.ing to your knowledge
  in such matters as may be required of you.             THI S IS TO CERTIFY that on
  on Wednesday December 14, 2016                         Tuesday December 13, 2016                  4:12pm
                                                        I made due Personal Service thereof by leavi
                                                                                                     ng same in the hands of
  at 4pm                                                the aforesigned   Recipient


  to Assistant District Attorney:
                                                        x     JGJ \lacnc0c?
                                                        (please write Recipient's name),

  Bon ycle Tho rnto n                                                             process is directed.

            504
 p hone # : _ _ -822
                  __ -241
                       _4_ _ _ _ __
                                                                                                                  Server of Process
 at 619 South White Street                              RETURN OF DOMICILIARY SERVICE
                                                       THI S IS TO CERTIFY that on
 In the case of:

State of LA vs. Chri stian Lew is                      I received the process of Court of whic
                                                                                              h this is a duplicate.

Item # D-16888-16
                                                                                                              Recipient of Service
Case #   530-575 F
                                                      THI S IS TO CERTIFY that on
             Arm ed
                  _Rob
Charge(s) :i _ _    __ bery
                         _ _ _ _ __
                                                      I made due Personal Service ther eofh
                                                                                            y leaving same in the hands of
                                                      the aforesigned Recipient


Instructions:                                         (please write Recipient's name),
Contact the above nam ed Assistant Distr              a p~rson of suitable age and discretion
                                         ict                                                    , residing at the domicile of the
Attorney upon receipt of this subpoena                person to whom the said process of Cour
                                       .                                                           t was issued, who was absent
                                                      at the time , which fact I learned by inter
                                                                                                  rogating the person in whose
Bring this subp oena with you to the                  hands the said process was left.
                                     District
Attorney's Office when you appear to
                                      testi fy.

                                                                                                               Server of Process




                                                             170                                               OPDA00248
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 172 of 192
    ....   \        ...


                                                                                                                                                        ·. : :

                                                                                            SUBPOENA
                                                                       A FINE AND IMPRISONMENT MAY BE
                                                                            FOR FAILURE TO OBEY THIS NOTIMPO  ICE.
                                                                                                                   SED

                                                                       Office of.the Orleans Parish District
                                                                                                             Attorney
                                                                      CRIMINAL OISlltlCT COUllT FOR THE
                                                                                                        PARISH OF Ollt.EANS
                 To: Christy Perkins
                                                                                    RETURN OF PERSONAL SERVICE
                     New Orleans, LA                                                THIS IS TO CERTIFY that on'/
                                                                                                               /;J.
                                                                                                                              !
                                                                                                                     l'f/! _ '-
                You Arc Hereby Nori6cd punu,nr                                      I ~c.lved th• process or cou,:;;,
                                                       to
                LSA-CCRP art, 6', to appear before the
                Dlstrkt Attorney &ir- the Parish ofOr!ca
                                                          n,,
                =ify to d,e truth ,-=cording ro your know 10
                in such matun ., ,nay be IC<!Ulred ofyou.
                                                           ledge                                                                              Rtclpltnt   ~!~MC<
I               on Thursday, December 15, 2016
                                                                                    THIS IS TO CERTIFY 1h11 on

                                                                                I madt due ~rsonal Strvict thereof
                                                                                                                   by leavlni same I• the h~s of

I               at 9:30 am in Section D of CDC

                to Assistant 0lslrict Attorney:
                                                                                th• aforeslgned Recipient


                                                                                tj,/east writ, Rt<ipltnt'J name),
                                                                                                                                           : .




I               Alexis Taylor                                                   the person to whom the p<- s
                                                                                                             Is dl,-ct         ed.



I              phone#: 504-231-6561

               at 619 south White Street                                     RETURN OF DOMICILIARY SERV
                                                                                                       ICE
                                                                                                                                               ~ro (Pro ass


                                                                             THIS IS TO CERTIFY 11111 on!
               In the case   of:                                                                                          /
                                                                                                           12 -/l~ t;,
               State of IA vs. Geo rge Man o                                I   Ncelved !he p,oq u of Court of whl<h
                                                                                                                     ~               •   dupHcate.
               Item# E--01374-16                                                                               "'4 -           '4vt:-lltdpl
                                                                                                                                      ·-:tnl of~rvke
           case# 529-318D                                                   THIS IS TO CERTIFY tha t~
                                                                                                                          /
           Otarge(s): Unauth Entry/SimpAssault                                  I                          f          •+f t¥'
                                                                           I macft due l'fflollll Stm u
                                                                           lhe aforeslgned .Recipient thett of ,by INV!ns s11111• In the handi.af
                                                                                       Le'r-T    ;fll   L>•"4-        -l"( o      ,tl,( .J... J•"' --, ·
           lnstructiOlls:                                                  _(please write R«iplent's nd=J,
           (tY'IJC I !lie ;1bcvt:' r1am( d                                 1 peno n of suli.b le ap and
                                              Ass1s !Jrit D1r;tr1cf
                                                                           person to whom tti. said proce  dlscre<lon, tesldlns 11 the domlcl~'of
           r~1to1nC',', ;,n.i •t.•((1r,t of t:M,                                                             ss                                   the
                                                 !'.t.:llp
                                                        otr,,1             at the time. which l'act I learned byof Court was Issued, who was absent
                                                                           hands lhe said process was ltll.      lnten optln s the                   whose
           Brin£:: lh•s s 1bjJO'"'"J \·:1'.h ',Ot
                                                  •o thr O <:,:· c.!
           J\tiornny's Offit•' \ twr\ yr1u JC'i[)~.1
                                                     1 to h Sl1f,1
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                                                                                                        171                                                        OPDA00204
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 173 of 192




                                                                   SUBPOENA
                                                  A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR .FAIWRE TO OBEY THIS NOTICE.
                                                   Office of the Orleans Parish District Attorney
                                                  CRIMINAL DISTRICT COURT FOR TltE PARISH OF ORLEANS


   To: Nlecey Toole                                         RETURN OF PERSONAL SERVICE
         Cuba, AL                                           THIS IS TO CERTIFY IN! on


                                                            I received the pn,cess of Court of which this Is a duplicate.
   You Arc Hereby Notified punuan1 co
   LSA-CCRP arr. 66 to appear before enc
   Oistticr Anomcy for the Parish of Orlans, 10                                                                   Rtdpltnl of Stflllct
   tt:sdfy to the truth according to your knowledge
   l.n nich m,acrs as may be rcquircd cL you.               THIS IS TO CERTIFY that on
   on Wednesday, Jan. 04, 2017 @9am
                                                            ! made due Personal Service thereof by leavlnc same In th,,hands of
   at CDC Section C                                         the aforeslgned Recipient                                ·

                            {

   to.Assistant District 'Atto,                                                      •om(},

   Missy Bucher
                                         ,?h,.c.J t,._,         u.s rtt-f            process Is directed.


   phone#; 822-2414                                                                                                 ~ - , of Prouss

   at 619 South White Street
                                                                        ~,c..,(      :tUARY SERVICE .
                                                                                     •at an
   In the case of:
                                                                                     :ourt of whkh th1$ Is a dupMcate.
   State of L A V $ . ~
   Item # 1-17167-14                                                                                             R•clp~nt of Strvlct
  Case# 52-4-319C                                          T HIS IS TO CERTIFY that 041

  Charge(s}: RS 14:3-4 Agg. Battery
                                                           I made due Personal Service thereof by l~avlng same In the' liand, of
                                                           the aforeslgned Recipient


  Instructions:                                            Ip/rose write Redp~nt's namt},

   Contact the ,11Jovt' nc3med Assist.int D1str1lt         a person of suitable age and dls~llon, residing at the domldle of tho
                                                           person to whom the said process of Court was Issued, who was absent
   Attor11ry LI 0011 n•c e1pt or this subµurna.            at lht time, whld1 fact I learned by lnterroptlna the perso~_In. 'jVhose
                                                           hands the ..1d process was left.
   P.r n.; t1-w; ~ !JJOPIIJ \"J1lh yOl. lo ti~ 0 str lt
   A":>·,, ys 011 c,• .h-11 ~cu c1:1pr;r I:> !es:1fy
                                                                                                                   S~rvrr of ProdJS




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                                                                                   172                                                   OPDA00168
    Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 174 of 192




                                                                          SUBPOENA                                         D
                                                                           MAY BE IMPOSE
                                                    A RNE ANO IMPRISONMENTTHIS
                                                        FOR FAIWRE TO OBEY     NOTICE.
                                                                                        rict                   Atto rney
                                                      Office of the Orleans Parish Dist
                                                                                      PARISH OF ORLEANS
                                                     CRIMINAL DISTRICT COURT FOR TifE


    To: Crystal Willie                                               RETURN OF PERSONAL SERVICE
                                                                     THIS lSTO CER.TlFY that on
        Edgard, LA
                                                                                                                     is a duplicate.
                                                                     I received the proce u of Court of which this
    You Arc Here by No116cd punu ant
                                     10

    LSA-CCRP •rt. 66 to appn r before the                                                                                      Rtclpltn/ of Strvlc t
                                             ns, 10
    District Anorncy for the Parish ofOrlea
    ratify to the truth a=rd ing to )'Out
                                          knowlldgc
                                        of)'l>U,                     THIS IS TO CER.TIFY lhat on
    in such m21ters as may be required
                                   m                                                                                               tho hands of
    on Wednesday, Jan. 04, 2017@9a                                   I made due Personal SeMc e then,
                                                                                                      of by leavln1 s1m1 In
                                                                     the ,ror.s lgned Redp ltnt
    at _COC
         __ Secl _______ _
             _ lonC              _

                                                                      (pleO R writ• Reclp~nt•s name),
     to Assistant District Attorney:                                  the person to whom the process
                                                                                                     Is dkected.
     Missy Bucher
                                                                                                                                  s,rvr r of Pro~ss
     phon e#: 822-2414
                                                                                                                   ICE
                                                                      RET URN Of DOMICILIARY SERV
     at 619 South White Stre• I
                                                                      THIS rs TO CEit.Ti FY that on

     In the case of:                                                                                      wlllcll this Is a dupll cale.
                                                                       I n,cetved the pr0<ess of Court of
                                     _ _ _ __
      State of IA vs. _T_ra_vls_L_ew_ls
I     Item # 1-17167-14
                                                                                                                                 R•clpltnt ofSffltl u




I     Case# 524-319C

      Charge(s}: RS 14:34 Agg. Battery
                                                                       THIS IS TO CERTIFY that on


                                                                       I made due Personal Service then,of
                                                                                                           by lea•ln c same in the hand s of
                                                                       the 1fom lgned Redp ltnt

I                                                                       (pleose wrltt Recipient's rrome),

I
I
      Instructions:
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                                                                        1 porson of suitable
                                                                        perso n to .,hom  the
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                                                                                                   and discretion, residing at the domic
                                                                                                    proce ss
                                                                        at the llm,,, which Fact I learned by
                                                                                                                                        ile of the
                                                                                                             of Court was Issued, who wu absen
                                                                                                              lnterrocatlng the person In whos
                                                                                                                                                e
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       Attorr wy upnn           lC'1pl of th •, subpo , nJ.
                                                                         hands the said process was left.
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                                          ~•ou In I lic U1s.!r1ct
        811m; !his '>llbn"'(.'il,1 .• ,!h
        A!tcrr i y ~ ortne ~·.h:·1 vn u ,1p1w
                                                  ~u to tc.•<.l1fy                                                                  Srrvrr of Proc~ss




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                                                                                                     173                                                OPDA00169
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 175 of 192

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                                             •' ~       •J




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                                ,,
                                     ,                               SUBPOENA
                                         '        A FINE AND IMPRISONMENT MAY BE IMPOSED
    .                                                  FOR FAILURE TO OBEY THIS NOTICE.
        ~ .. : ,._-: !: ~:_-'<'. -:· -· -.

    ,•"'-'~
          , ", '', '    '_u /11_/
                   ,·· ..          ~                Office of the Orleans Parish District Anomey
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH Of ORLEANS

 To: Wesley Lawrence
                                                             RETURN OF PERSONAL SERVICE
        NewOrteans, LA                                       THIS IS TO CERTIFY that on
                                                              December 22, 2016

 You Arc Hereby Noti6cd pursuanr to                                                   f Court of which this Is I dupllcott.
 LSA-CCRP an. 66 to appear bcfon, the
 DisrrictAm>mcy f'or the Parish ofOrleans, to
 testify ro ,he truth according to your knowledge                                                                   R~cipltnr of Servi,~
 in such matters as may be required ofyou.                   THIS IS TO CERTIFY that on
                                                             December 22, 2016
 on January 4, 2017
                                                             I madt dll<! Personal Service thereof by leaving same in the hands of
    8:15a.m.
 at _ _ _ _ _ _ _ _ _ _ _ __                                 the aforeslgned Recipient

                                                                           N ll9,R1 J
                                                             {pita., writ• Rulplonr's nom>),
                                                                                               I<lM/fY'.'Ci2,
 to Assistant District Attorney:
 Matthew Hamilton

Phane :____
       409-392•51____
                 41   ___
     #                                                                                                                StNtr of Pmctss


at 619 South White Street                                    RETURN OF DOMICILIARY SERVICE
                                                          THIS IS TO CER"l1FY that on
In the case of:
                                                          I r,celved th• process of Court of which this Is • d11111kate.
State of LA vs. Oashooe Reynolds
Item# E-14191-16
                                                                                                                   R,cipi,nt of s,mct
Case # 529-903 'H'                                       THIS IS TO CER-rlFY that on
                La.R.S.14:95.1; 14:37.4
     ()
Charges:                 -                               I made due Personal Sorvlte thereof by leaving same In the hands of
                                                         the afor1slgned Recipient


Instructions:                                            (pitas• writ• Rrclplent's nom,),
Contact the dbovc- named Assistilnt o,stnct              a person" of suitable  •s• ind discretion, r,sldln1 at the domlclle of th•
                                                         person to whon, the said process of Court was issued, who was absent
Attorney upon rccc pt of th,s 5.ubpocna.                 at the time, which ract I leamed by lnterrogattnc the person In whose
                                                         hoods th• said prate» was lert.
Brrng this subpoena w,!h you !o the D1s!ritt
Attorney's Office ,•.hen you appear !O !esti'y.
                                                                                                                    Strv,r of Proc,ss




                                                                                            CERTIFIED DA OFFICE COPY
                                                                                                                                                   ,.




                                                                                           174                                             OPDA00167
Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 176 of 192




                                                            SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorney
                                        CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Alicia Lawrence                                  RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
                                                      December 22, 2016
                                                     I received tM process of Court of whkh this is • dupilute.
You Are Hereby Notified puriuanr co
LSA-CCRP arc. 66 co appear before the
District Auorney for the Puish of Orleans, ,o                                                               Recipient of Ser,,/ct
testify 10 the truth according 10 your knowledge
in such maueis as may be required of you.            THIS JS TO CERTIFY that on
                                                      December 22, 2016
on Janua,y 4, 2017
                                                     I made due Personal Service !her.of by leaving same In Che l!Mds of
     _ _ _ _ _ _ _ _ _ _ __
   8:15a.m.
at _                                                 the aforufsned Recipient


                                                      (pl~as~ wrltr Rtcipltnt's namt),
to Assistant District Attorney:
                                                      the person to whom the process Is dirteced.
Matthew HamMton

          409-392-5141                                                                                        Strvtr of Process
p hon• #: _ _ _ _ _ _ _ _ _ __
                                                      RETURN OF DOMICILIARY SERVlCE
at 619 South White Street
                                                      THIS IS TO CERTll'Y chat on
In the case of:
                                                      I received the process of Court of which this Is a duplicate.
State of LA vs. Oashooe Reynolds

Item# E-14191-16                                                                                            Recipltnt of Service

Case # 529-903 'H'                                    THIS IS TO CERTIFY lhat on

         La.R.S.14:95.1; 14:37.4
     () _ _ _ _ _ _ _ _ _ __
Charges:                                              I made due Personal Service thertof by le1vlnf sarnt in Che hands of
                                                      the afor.slgned Recipient


                                                      (pltoH writ• Rtcipienl'S nomd,
Instructions:
                                                      a person of sultab,e age and dlscr.Uon, residing at the domicile of lhe
 Contact the above named Ass1stanl D1stnrt            person to whom the said p,ocus of Court was issued, who was absent
 Attorney upon receipt of this subpoenJ               at the tirnt, w~ ch f.Kl I lumed bv Interrogating the person In whose
                                                      hands th• said process was left.
  B,,ng this subpoena with you to the D,s tr:ct
  Af1orne,·: '.Jfhce when you appear to testify.
                                                                                                               Ser,,er of Process




                                                                                    CERTIFIED DA OFFICE COPY




                                                                                     175                                            OPDA00309
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 177 of 192

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                                                                       SUBPOENA
                                                                          MAY BE IMPOSED
                                                   A ANE AND IMPRISONMENT THIS NOTICE.
                                                           FOR FAILURE TO OBEY
                                                                                        tric              t Att orn ey
                                                     Office of the Orl ean s Parish Dis
                                                                                THE PARISH OF ORLEANS
                                                    CRIMINAL DISTRICT COURT FOR


        To: Lynen Lawrence                                        RETURN OF l'ERSONAL SERVICE
                                                                  THIS IS TO CERTIFY that on
                                                                  December 22, 2016
                                                                                                   of which this Is a dupl katt,
                                                                  I rectlved !he process of Coun
                                           uant co
        You Arc Here by Noti fied pu11
                                             re rhc                                                                         R,cip/ffl/ of Strvi c,
        1.SA-CCRP an. 66 ro appe ar befo
    I                                              u, ro
        District Attorney for die Parish ofOrlw ledge
                                               know
        testify 10 rhc uu1h ac.ccrding ro you,
    I   in ,uch matters as may be requi

               January 4, 2017
                                          red ofyou.
                                                                  THIS IS TO CERTIFY that on
                                                                   December 22, 2016
                                                                   I made due Personal Seivlce !here
                                                                                                     of by leavi   ng same In the hands of

    I
         on
                                                                   the aforcslgned Recipient
              __
            8:15
         at _      _
                 a.m . _ _ _ _ _ _ _ __

                                                                   (pl,o s, wril• Redp/,nr's nomt
                                                                                                  ),
                                                                                                ss is directed,
         to Assistant District Attorney:                           the person to whom tht proce
          Matt hew Hamilton
                                                                                                                                s,rve, of Proctu
          pho ne# : 409- 392- 5141
                                                                                             VICE
                                                                    RETURN OF DOMICILIARY SER
          at 619 Sout h Whit e Stre et                              THIS IS TO CERTl~-Y that on

          In the    case of:                                                                       t of which this is a duplicate.
                                                                    I rculv ed the p,oce ss of Cour
                                            s
          State of LA vs. Das hone Rey nold
                                                                                                                              R,clpltnt of Strvict
           Item # E-14 191- 16
                                                                     THIS IS TO CERTIFY that on
           Case # 529- 903 'H'
                                                                                                         of by leavi   n1 same in the hand s of
           Charge(s): La.R .S.1 4:95 .1;
                                         14:3 7.4                    I made due Personal Seivl et the,.,
                                                                     tht aforeslgM d Redplent


                                                                     (plea se write Rtclp itnl's name
                                                                                                      ),
                                                                                                                                           of the
              Instructions:                                                  n of suita ble age  and discr etion, residing at the domicile abse nt
                                                                     a perso                            ss of Court was lssut d, who waswhose
                                               star.t District       person to whom the said proce                         th•  perso n In
               Cont3c-t the abov e nJme d Ass1                       al the time, which fact I learned
                                                                                                         by Interrogat ing
                                              subpocnJ
               Attorney upon rete1 pt of th1s                        hand s the said process was left.
                                              to the Oistrict
               Bring th,s subp oena with you
                                                 ar lo tesltfy.                                                                    Se,v, r of Process
               Attorney's Oflice \'Jhen you appe




                                                                                                   CERTIFIED DA OFFICE COPY




                                                                                                   176                                                  OPDA00310
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 178 of 192


                                                         SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                             FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Tina Williams                                  RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTifY that on
                                                                   / / ,7/ / d ' / 7

You Are Hereby Notified pursuant co
LSA-CCRP arc. 66 ro appear before che
   I
                                                   ~•'J ~                 of Co,

Di trier Attorney for rhe Parish of Orleans, ro                                                          Recipient of Service
resrify ro che crurh according ro your knowledge
in such matters ,ls may be required of you.        THIS IS TO CERTIFY that on
                                                                   / / ? ' / /~ / 7
on Monday, January 9, 2017
                                                   I made due Personal Service thereof by leaving same in the hands of
    2PM                                            the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                               - ~f,,,/'4     µ-}~.T#r-r'          5
                                                   (please write Recipient's name).
to Assistant District Attorney:
                                                                        1he process is directed.
Sarah Dawkins

          504-827-6329                                                                                      Server of Process
phone # : _ _ _ _ _ _ _ _ _ _ __

                                                   RETURN OF DOMICILIARY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on
In the case of:
                                                   I received the process of Court of which this is a duplicate.
State of LA vs. Clifford Wiliams

          C-34284-13                                                                                      Recipient of Service
Itern #
          516-674                                  THIS IS TO CERTIFY that on
Case #
   i ()     14:30.1
Ch brge s : _ _ _ _ _ _ _ _ _ _ __                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
   I
                                                   (please write Recipient's name),
· instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District        person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.           at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was left.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                                                            Server of Process




                                                           177                                           OPDA00164
           Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 179 of 192



                                                           SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.

                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Tina Williams
                                                    RETURN OF PERSONAL SERVICE
                                                    THIS ISTO CERTIFY that on
                                                                / //     ,,,,/ A'd/    ~
                                                                                       f w~ich this is a duplicate.
You Are Hereby Notified pursuanr to
LSA-CCRP art. 66 ro appear before the
District Attorney for che Parish of Orleans, to                                                             Recipient of Service
cesrify to che truth according co your knowledge
in such matters as may be requin:d of you.          THIS IS TO CERTIFY that on
                                                                 / // / / ~ /;;:-
on Tuesday, January 17, 2017
                                                    I made due Personal Service thereof by leaving same in the hands of
    9AM                                             the aforesigned Recipient
at _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                   7,r;,,,,-4     ~.?.;(,,Cf4'_-,...Y

                                                    (please write Recipient's name),
to Assistant District Attorney:
                                                    the person to ~ t h e process is directed.
    Sarah Dawkins

         504-827-6329
                                                          ~                                                    Server of Process
pone
 h   # : _ _ _ _ _ _ _ _ _ _ __

at   t9   South White Street
                                                    RETURN OF DOMICILIARY SERVICE
                                                    THIS IS TO CERTIFY that on
In the case of:
                                                    I received the process of Court of which this is a duplicate.
State of LA vs. Clifford Williams

           C-34284-13                                                                                       Recipient of Service
Itern #
           516-674                                  THIS IS TO CERTIFY that on
Case #

        s : _14:30.1
Charge ()      _ _ _ _ _ _ _ _ _ __                 I made due Personal Service thereof by leaving same in the hands of
                                                    the aforesigned Recipient


                                                    (please write Recipient's name),
Instructions:
                                                    a person of suitable age and discretion, residing at the domicile of the
    Contact the above named Assistant District      person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.         at the time, which fact I learned by interrogating the person in whose
I
                                                    hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                               Server of Process




                                                            178                                             OPDA00163
             Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 180 of 192
. "'
                                                             SUBPO·ENA
                                            A FINE AND IMPRISONMENT MAY. BE IMPOSED
                                                 FOR FAILURE TO OBEY THIS NOTICE.

                                              Office of the Orleans Parish District Attorne y
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


   To: Mary Brown                                      RETURN OF PERSONAL SERVICE
       N.0.La.
                                                       THIS IS TO CERTIFY that on


                                                       I received the process of Court of which this is a duplicate.
   You Are Hereby Notified pursuant to
   LSA-CCRP art. 66 to appear before the
   District Attorney for the Parish of Orleans, to
                                                       )(~ ,LE :--                                            Recipient of SeNice
   testify to the truth according to your knowledge
   in such matters as may be required of you.          THIS JS TO CERTIFY that on

   on 1-19-17
                                                       I made due Personal Service thereof by leaving same in the hands of
                                                       the aforesigned Recipient           '
   at _9:00
        __  a:m.
              _ _ _ _ _ _ _ _ _ __


                                                       (please write Recipient's name),
   to Assistant District Attorney:
                                                       the person to whom the process is directed.
       Missy Bucher

             822-2414 ____ ____                                                                                 Server of Process
   phone # : ____

                                                       RETURN OF DOMICILIARY SERVICE
   atj619 South White Street
                                                       THIS IS TO CERTIFY that on
   In the case of:
                                                       I received the process of Court of which this is a duplicate.
   State of LA vs. Troylyn Kennedy

   Item# A-31277- 15                                                                                          Recipient of Service

              528-463                                  THIS IS TO CERTIFY that on
   Case #
               Agg.
            s :_ __ Assault
                      _ _ _ _ _ _ __
   Ch arge ()                                          I made due Personal Service thereo f by leaving same in the hands of
                                                       the aforesigned Recipient


                                                       (please write Recipient's name),
   Instructio ns:
                                                       a person of suitable age and discretion, residing at the domicile of the
       Contact the above named Assistant District      person to whom the said process of Court was issued, who was absent
       Attorney upon receipt of this subpoena.         at the time, which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
       Bring this subpoena with you to the District
       Attorney's Office when you appear to testify.
                                                                                                                Server of Process




                                                              179                                            OPDA00234
             Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 181 of 192

.   '   \




                                                              SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                  FOR FAILURE TO OBEY THIS NOTICE.

                                               Office of the Orleans Parish District Attorne y
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Maia Brown                                      RETURN OF PERSON AL SERVICE
        N.O.La.


                                                        I received the process of Court of which this is a duplicate.
    You Are Hereby Notified pursuant to
    LSA-CCRP art. 66 to appear before the
    District Attorney for the Parish of Orleans, to                                                            Recipient ofService
    testify to the truth according to your knowledge
    in such matters as may be required of you.          THIS IS TO CERTIFY that on

          _ _ _ _ _ _ _ _ _ _ _ __
        1-19-17
    onI _
                                                        I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient
    at _9:00
         __   _ _ _ _ _ _ _ _ _ _ __
             a.m.

                                                        (please write Recipient's name),
    to Assistant District Attorney:
                                                        the person to whom the process is directed.
    Missy Bucher

               822-2414                                                                                          Server of Process '
    p hone # : _ _ _ _ _ _ _ _ _ _ __

                                                        RETURN OF DOMICIL IARY SERVICE
    at 619 South White Street
                                                        THIS IS TO CERTIFY that on
    In the case of:
                                                        I received the process of Court of which this is a duplicate.
    State of LA vs. Troylyn Kennedy

    Item# A-31277- 15                                                                                          Recipient of SeNice

               528-463                                  THIS IS TO CERTIFY that on
    Case #
                Agg.
                  __ Assault
                       _ _ _ _ _ _ _ __
             s :_
    Ch arge ()                                          I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient


                                                        (please write Recipient's name),
    ln~tructio ns:
                                                        a person of suitable age and discretion, residing at the domicile of the
        Contact the above named Assistant District      person to whom the said process of Court was issued, who was allsent
        Attorney upon receipt of this subpoena.         at the time, which fact I learned by interrogating the person in whose
                                                        hands the said process was left.
        Bring this subpoena with you to the District
        Attorney's Office when you appear to testify.
                                                                                                                 Server of Process




                                                               180                                           OPDA00235
            Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 182 of 192



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                                               I                                                          BE L:. '."' (', ~ - ')
                                                                                                          NOTICE.
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                         J-.,; ;--       ---                            .;sh                             rict 1\ l: 1;r;
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To: Tina W illi:-- ·                                                        . , 't '                     ·~vrcE
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You Are Herc h
                                                   ✓.   '\,~~A.1   11l<J2 ~
                                   II'

LSA-CCRP ai :                                      {    L).J VV- (Iv·                                      - - -- -
                                                                                                                                                  'ecipient of Service
Distr ict Atcor n
testify to the tn:
in such mam.:1

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 on                                                                      •, iu
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 at

 to r ssistant Disl ·.                                                          p·           (              direct ed.
 Sara h Daw kin·
      i
                                                                                                                                                          !J ,ver of Process
          50 '
 phon e#: _

 at 619 South ·


  In the case o·
                                                                               ! Co1.                ,   r which th·s          is J c ,: /'r.,l e.

  State of LA V :.
                                                                                                                                                  1
                                                                                                                                                   ~eri,,.,ient of Service
  Item # C-34 282

             516- 67
  Case #

  Charge(s) : _
                 1 t1                                                                                       ,! by     h:.i'.    .....   ~
                                                                                                                                                      in      ·'   hands of
                                                                                ll


                                                                                                            - - - --
  Instruction s:
                                                                                                            ·tion, rrv<•~:                            '   \   ' micile of the
      Contact the.                                                                      r·                      ,r Cnu:-t   '.,,;·1·~ i<::                      o was absent
                                                                                   :,                       I    1rltcrro g,.ting                     f)t.      in in whose
      At1orney ~, ·

      Bring this SU

                .,.
      Attorn ey's O                                                                                                                                            ;er of Process




                                                        181                                                                                   OPDA00165
      Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 183 of 192

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                                                                 SUBPOENA
                                             A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                       FOR FAILURE TO OBEY THIS NOTICE.
                                              Office of the Orleans Parish District Attorney
                                             CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


    To: Dr. Hugo St.Hilaire,                              RETURN OF PERSONAL SERVICE

         LSU Health care clinic,
                        N.O.La.
                                                                                  f Court of which .this is a duplicate.
    You Ar"e H~reby Notified pursuant co
    LSA-CCRP arr. 66 co appear before the
    District Attorney for che Parish of Orleans, ro                                                              Recipient of Service
    testify ro che truth according to your knowledge
    in such matters as may be required of you.           THIS IS TO CERTIFY that on

    on Tuesday 1-31-17                                        J-3 o-/'7
                                                         I made due Personal Service thereof by leaving same in the hands of
         _ _a.m.
    at _9:00  _ _ _ _ _ _ _ _ _ __                       the aforesigned Recipient

                                                         Q,1. f.w 4-o 57:, 1:1:,·kJ,•a.c:-
    to Assistant District Attorney:
    Missy Bucher

    pone
     h
             822-2414 ext.6322
         # : _ _ _ _ _ _ _ _ _ _ __
                                                        ~=':l~'
                                                         (please write Recipient's name),

                                                                                            is dl~cted.

                                                                                                                   Server of Process

    at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                         THIS IS TO CERTIFY that on
    In the case of:
                                                         I received the process of Court _of which this is a duplicate.
    State of LA vs. Lewis
                      ----------
    Item# _ _ _ _ _ _ _ _ _ _ _ __                                                                               Recipient of Service
             524-897                                     THIS IS TO CERTIFY that on
    Case #
                  Aggravated Battery
    Ch arge (s) : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service the·reof by leaving same in the hands of
                                                         the aforesigned Recipient



    Instructions:                                        (please write Recipient's name),
                                                         a person of suitable age and discretion, residing at the dom'icile of the
    Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.              at the time, which fact l learned by interrogating the person in whose
                                                         hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                                  Server of Process




                                                              182                                              OPDA00236
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 184 of 192
., .


                                                                    SUBPOENA
                                                A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                          FOR FAILURE TO OBEY THIS NOTICE.
                                                 Office of the Orleans Parish District Attorney
                                                CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


        To: Kathleen Jones                                   RETURN OF PERSONAL SERVICE




                                                            I received the process of Court of which this is a duplicate.
       You Are Hereby Notified pursuant to
       LSA-CCRP arr. 66 to appear before the
       District Attorney for the Parish of Orleans, co
                                                                    l :Bo-1:1                                      Recipient of Service
       testify to the truth according to your knowledge
       in such matters as may be required of you.           THIS IS TO CERTIFY that on

       on 1-31-2017                                                   Z-3o-O
                                                            I made due Personal Service thereof by leaving same in the hands of
           9:00 a.m.                                        the aforesigned Recipient
       at ______________
                                                              Sea:n( -1:;w oc,,t ,1Jw::)
                                                            (please write Recipient's name),
       to Assistant District Attorney:
        Missy Bucher

                 822-2414
       phone # : _ _ _ _ _ _ _ _ _ _ __                                                                              Server of Process

       ·at 619 South White Street                           RETURN OF DOMICILIARY SERVICE
                                                            THIS IS TO CERTIFY that on
       In the case of:
                                                            I received the process of Court of which this is a duplicate.
       _State of LA vs. _P_ilo_U_L_e_w_is_ _ _ _ __

       Item # _ _ _ _ _ _ _ _ _ _ _ __                                                                             Recipient of Service
                524-897                                     THIS ·IS TO CERTIFY that on
       Case #
                     2nd degree battery
       Ch arge (s) : _ _ _ _ _ _ _ _ _ __                   I made due Personal Service thereof by leaving same in the hands of
                                                            the aforesigned Recipient



       Instructions:                                        (please write Recipient's name),
                                                            a person of suitable age and discretion, residing at the domicile of the
         Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
       . Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                            hands the said process was left.
       Bring this subpoena with you to the District
       Attorney's Office when you appear to testify.
                                                                                                                    Server of Process




                                                                 183                                              OPDA00240
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 185 of 192




                                                                 SUBP OENA
                                              A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                                Office of the Orleans Parish District Attorney
                                              CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


     To: Egypt Knockum
                                                          RETURN OF PERSONAL SERVICE
         N.O.La.
                                                          TH IS IS TO CERTIFY that on

                                                        X &,(JO ~rrctYl VY(l
                                                          I received the process of Court of which this is a duplicate.
     You Are Hereby Notified pursuant co
     LSA-CCRP art. 66 to appear before the
     District Attorney for the Parish of Orleans, to
                                                            }:iYQ-/1
                                                                                                                Recipient of Service
     testify to the truth according to your knowledge
     in such matters as may be required of you.          THIS IS TO CERTIFY that on

     on 01-31-2017                                             /-3ti>-l1
                                                         I made due Personal Service thereof by leaving same in the hands of
     at _9:00
          __  a.m.
               _ _ _ _ _ _ _ _ _ __                      the aforesigned Recipient

                                                           s E,i,J ko.l QC')(.lJW\
                                                         (please write Recipient's name),
     to Assistant District Attorney:
     Missy Bucher

    pone     822-2414
     h   # : _ _ _ _ _ _ _ _ _ _ __                                                                               Server of Process

    at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                        THIS IS TO CERTIFY that on
    In the case of:
                                                        I received the process of Court of which this is a duplicate.
    State of LA vs. Pilot/ Lewis-
                      - - - --- --- -
    Item# _ _ _ _ _ _ _ _ _ _ _ __                                                                             Recipient of Service
             524-897                                    THIS IS TO CERTIFY that on
    Case #
                  2nd degree battery
    Ch arge (s) : _ _ _ _ _ _ _ _ _ __                  I made due Personal Service thereof by leaving same in the hands of
                                                        the aforesigned Recipient


    Instructions:                                       (please write Recipient's name),
                                                        a person of suitable age and discretion, residing at the domicile of the
    Contact the above named Assistant District      ,
1
                                                        person to whom the said process of Court was issued, who was absent
    Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                        hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.
                                                                                                                 Server of Process




                                                              184                                              OPDA00241
           Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 186 of 192
f   •
            •

                                                                      SUBPOE NA
                                                  A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                            FOR FAILURE TO OBEY THIS NOTICE.
                                                   Office of the Orleans Parish District Attorney
                                                  CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


         To: Sean Knockum
                                                              RETURN OF PERSONAL SERVICE

                                                              ~rs IS TO CERTIF~M" t/1'1. ~
                                                             1_::_   '5el~O          [Ju.,., (Jvll m
                                                              I received the process of Court of which this is a duplicate.
         You Are Hereby Notified pursuant co
         LSA-CCRP arc. 66 co appear before the
         District Attorney for the Parish of Orleans, co
                                                                     1-3-o-11
                                                                                                                     Recipient of Service
         testify co che truth according to your knowledge
         in such matters as may be required of you.           THIS IS TO CERTIFY that on                   <7
         on _ _ _ _ _ _ _ _ _ _ _ _ __
            1-31-2017                                           Se )tzsS        Kai i e¥ 1o~ 1 t2 -r-
                                                              ' made due Personal Service thereof by leaving same in the hands of
         at _9:00
              __  a.m.
                   _ _ _ _ _ _ _ _ _ __                       the aforesigned Recipient

                                                                S e&f ~oc.l6wJ
                                                              (please write Recipient's name),
         to Assistant District Attorney:
         Missy Bucher

         pone     822-2414                                                                                             Server of Process
          h   # : _ _ _ _ _ _ _ _ _ _ __

         at 619 South White Street                            RETURN OF DOMICILIARY SERVICE
                                                              THIS IS TO CERTIFY that on
        In the case of:
                                                              I received the process of Court of which this is a duplicate.
        State of LA vs. PiloULewis
                          - - - -- - - - - -
        Item# _ _ _ _ _ _ _ _ _ _ _ __                                                                              Recipient of Service
                 524-897                                     THIS IS TO CERTIFY that on
        Case #
                   2nd
                     _degree battery
        Ch arge()
                s: _   ___    _ _ _ _ __
                                                             I made due Personal Service thereof by leaving same in the hands of
                                                             the aforesigned Recipient



        Instructions:                                        (please write Recipient's name),
                                                             a person of suitable age and discretion, residing at the domicile of the
         Contact the above named Assistant District          person to whom the said process of Court was issued, who was absent
         Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                             hands the said process was left.
         Bring this subpoena with you to the District
        1Attorney's Office when you appear
                                           to testify. ·
                                                                                                                      Server of Process




                                                                     185                                           OPDA00242
          Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 187 of 192


       .,.,.
                  ''
                                                          SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                              FOR FAILURE TO OBEY THIS NOTICE.

                                          Office of the Orleans Parish District Attorney
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


lo: Nick Geraci                                    RETURN OF PERSONAL SERVICE
                                                   THIS IS TO CERTJFY that on
      Metairie, La

                                                   I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuam ro
LSA-CCRP arr. 66 to appear before rhc
i)isrrict Atcorncy for the Parish of Orleans, to                                                          Recipient of Service
rescify co chc truth according ro your knowledge
In such matters as may be required of you.         THIS IS TO CERTIFY that on

on Thursday February 16, 2017                      I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient
at 8:30am
                                                   (please write Recipient's name),
tp   Assistant District Attorney:
                                                   the person to whom the process is directed.
Joe Zanetti
 I
                                                                                                           Server of Process
phone#:         504-432-8372
                                                   RETURN OF DOMICILIA RY SERVICE
at 619 South White Street
                                                   THIS IS TO CERTIFY that on

In the case of:                                    ,,Z ~ Lrl   ,/2   A:   L /?. '.s..Vei
                                                   I ,eceived the process of Court of which this is a dup~:;; :
State of LA vs. Cuong Nguyen
                                                                                             ~~Service
Item#          J-24665-13
                                                   THIS IS TO CERTIFY that on
case #         519-604
Charge(s): _1_4_:7_1_ _ _ _ _ __ _                 I made due Personal Service thereof by leaving same in the hands of
                                                   the aforesigned Recipient


                                                   (please write Recipient's name),
Instructions:
                                                   a person of suitable age and discretion, residing at the domicile of the
Contact the above named Assistant District         person to whom the said process of Court was issued, who was absent
Attorney upon receipt of this subpoena.            at the time, which fact I learned by interrogating the person in whose
                                                   hands the said process was lett.
Bring this subpoena with you to the District
Attorney's Office when yo'.I appear to testify.
                                                                                                           Server of Process




                                                           186                                             OPDA00292
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 188 of 192



                                                            SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                    >·O!                       FOR FAILURE TO OBEY THIS NOTICE.
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                                                                                 ·c-t_A_t-to_r_n_e_y__ ___
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                                                                                             _
                                                     _H_E_P._'A_RI_S_H_O_F_O_R_LEA_N_S_ _ _ _
    1~----C-RI-M-IN_A_l_D_IS_T_R_ICT_C_O_U_RT_F_O_R_T


 o: Holl y Kauf man                                   RETU RN OF PERS ONA L SERV ICE
I                                                     THIS IS TU CERT IFY that on


                                                                                                       a duplicate.
                                                      I received the process of Court of which this is
You Arc Hc:reby Notif ied pursu anr ro
LS:\-CCRP arr. 66 ro appe:1r before: rhc:                                                                    Recipi ent of SeNice
Disrri cr Atcorney for rhc: PJrish of Orleans. m
testify co the: truth according to your knowlc:Jgc:
                                                      Tl !IS IS TO CERTIFY that on
in such marrers as may be: rc:quired of you.

on     Thur sday Febr uary 16, 2017                   I made due Personal Service there of by leavin
                                                                                                     g same in the hands of
                                                      the aforesigned Recipient
at   8:30am
                                                      (pleas e write Recipient's name).
to Assistant District Attorney:                       the person to whom the process is directed.

Tay)or Anth ony
                                                                                                               Server of Process
phon e    #: 985-5 I 6-2156
                                                      RETU RN Of DOM ICIL IARY SERVICE
at 619 South White Stree t
                                                      THIS l::i TO CERTIFY that on

In the case of:                                             0? -1< -/'7                   AL        3;.5 o/',t
                                                                                                            ;,
                                                                                                               ;\.
                                                                                                       a duplicate.
I                                                     I received the process of Court of which this is
ftate of LA vs.     Gary McCullum
                                                                                                             Recipient of Service
Item #     L-33442-16
                                                      T HIS IS TO CERTIFY that on
case #     532-369
                                                                                                      same in the hands of
Charge(s):    _1_4_:3_5_ _ _ _ _ _ __                 I made due Personal Service thereo f by leaving
                                                      the aforesigned Recip ient



                                                      (please write Recip ient's name ),
 Instructions:                                                                                             at the domicile of 1he
                                                      a person of suitable age and discretion, residi ng
                                                                                             Court  was  issued  , who was Jbsent
    Contact the above named Assistant Distri ct       person to whom the said process of
                                                                         fact I learne d by interro gating the  person in whose
    Attorn ey upon receipt of this subpoena.          at the time, which
                                                      hands the said process was left.
    Bring this subpo ena with you to the Distri ct
    Attorn ey's Office when you appear to testify.                                                              Server of Process




                                                             187                                              OPDA00294
        Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 189 of 192


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                                                           SUBP OENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                               FOR FAILURE TO OBEY THIS NOTICE.
                                           Office of the Orleans Parish District Attorney
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: James Wilson                                     RETURN OF PERSONAL SERVICE
                                                     THIS IS TO CERTIFY that on
                                                     3-7-17
                                                     I received the process of Court of which this is a duplicate.

                                                     ~~C,~~
 You Are Hereby Notified pursuant co
 LSA-CCRP arc. 66 co appear before che
 District Attorney for the Parish of Orleans, co     ~                                                         Recipient of Service
 testify co che truth according co your knowledge
                                                     THIS IS TO CERTIFY that on
 in such matters as may be required of you.
                                                       3-'7-Jr1
 on _
    March __
      _ _8th   _ _ _ _ _ _ _ __
             2017
                                                     I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
 at _8:30
      __   _ _ _ _ _ _ _ _ _ __
          a.m.
                                                       Tttmt s lJJ 't_saJ
                                                     (please write Recipient's name),
 to Assistant District Attorney:
                                                                                        ss is directed.
 Chris Cortez

        822-2414                                                                                                  Server of Process
                   _
 pone
  h   #:___________
                                                     RETURN OF DOMICILIA RY SERVICE
 at 619 South White Street
                                                     THIS IS TO CERTIFY that on
 In the case of:
                                                     I received the process of Court of which this is     a duplicate.
                    Cornelius Barthelemy
 St a te o f LA vs. _____ _____
            1-17175-14                                                                                          Recipient of Service
 Itern #
            523-097                                  THIS IS TO CERTIFY that on
 Case #
            14:34
              _ _ _ _ _ _ _ _ __
 Charge(s): _                                        I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient


                                                     (please write Recipient's name),
 Instructions :
                                                     a person of suitable age and discretion, residing at the domicile of the
     Contact the above named Assistant District      person to whom the said process of Court was issued, who was absent
     Attorney upon receipt of this subpoena.         at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was left.
     Bring this subpoena with you to the District
     Attorney's Office when you appear to testify.
                                                                                                                  Server of Process




                                                                                                                                       •



                                                            188                                                  OPDA00290
         Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 190 of 192




                                                            SUBPOENA
                                         A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish Distri ct Attorn ey
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Fayona Bailey                                    RETUR N OF PERSO NAL SERVIC E
                                                     Tl !IS IS TO CERTIFY that on

      New Orleans , LA                                h1 grcf l            g,I
                                                                                  .;J. e>   I7
                                                      I received the process of Court of which this is   a duplicate.
You Arc Herchy Notified p11rs11:mr ro
LSA-CCRP art. 66 co appear before: che
                                                                                                               Recipient of Service
District Attorne y for the Parish of Orleans, co
testify to che truth according ro your knowledge
                                                      THIS IS TO CERT!f-Y that on
in such marters a.~ may be required of you.
      March 16, 2017
                                                     #1a,u: h o/.2 a 17                                                of
0                                                     I made due Personal Service thereof by leaving same in the hands
                                                      the       igned Recipient
        ___ ___ ___ __
   9:00AM
a ___


to Assista nt District Attorney:
                                                      the person to whom the process is dir~ .


                                                     . . A w ~ .Va-. A'.'---·
 Inga Petrovi ch
                                                                                                                 Server of Process
        827-63 02 _ _ _ _ _ __
pone
 h   #: _ _ _ _ _
                                                      RETUR N OF DOMIC ILIARY SERVIC E
at 619 South White Street
                                                      THIS IS TO CERTIFY that on

In the case of:
                                                      I received the process of Court of which this is a duplicate.
State of LA vs. Janero McBrid e
                                                                                                               -Recipient of Service
Item# E-1637 7-15

           526-09 6, D                                THIS IS TO CERTIFY that on
Case #
              14:30.1                                 I made due Personal Service thereof by leaving same in the hands of
         s : _ _ _ _ _ _ _ _ _ __
 Ch arge ()
                                                      the aforesigned Recipient


                                                      (please write Recipien t's name),
 Instructions:
                                                      a person of suitnble nge and discretion, residing at the domicile of the
     Contact the above named Assistant District       person to whom the said process of Court was issued, who was absent
    .Attorney upon receipt of this subpoena.          at the time, which fact I learned by interrogating the person in whose
                                                      hands the said process was left.
    Bring this subpoena with you to the District
    Attorney's Office when you appear to testify.                                                                 Server of Process




                                                               189                                                OPDA00291
     Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 191 of 192




                                                            SUBPOENA
                                          A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorne y
                                          CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


                                                     RETURN OF PERSONAL SERVICE
                                                     THIS   rs TO CERTlFY that on

                                                     I received the process of Court of which this is a duplicate.
You Are Hereby Notified pursuant to
LSA-CCRP art. 66 co appear before che
District Attorney for the Parish of Orleans, to                                                             Recipient of Service
testify to the truth :ccording to your knowledge
in such matters as may e required of you.
                                                     THIS IS TO CERTIFY that on


on   --+---+.....;; ;.._
                        1r
                   o4__,f- ------ --                 I made due Personal Service thereof by leaving same in the hands of
                                                     the aforesigned Recipient
at_O___     j ·_,.o=-.;;;O_A-_'f\,,_1-'---_
                                                     (please write Recipient's name),
to Assistant District Attorney:
                                                     the person to whom the process is directed.

Pa,1 a~ / Pc1- k) .                                                                                           Server of Process

                                                     RETURN OF DOMICIL IARY SERVICE
at 619 South White Street
                                                     THIS [$ TO CERTIFY that on
In the case of:
                                                     I re~eived the process of Court of which this is a duplicate.
                                                    1£1~
                                                                                                            Recipient of Service
Item#
                                      ,              THIS IS TO CERTIFY that on
                --
Case#                             .
                                                                   Hr- 3-- 11
Charge(s):          4- '2-                           I made due Personal Service thereof by leaving same in the hands of
                                                     the afore · ed    · ·
     Q_°'--'f?::y
Instructions:
                                                     a person of suitable age and discretion, residing at the domicile of the
 Contact the above named Assistant District          person to whom the said process of Court was issued, who was absent
 Attorney upon receipt of this subpoena.             at the time, which fact I learned by interrogating the person in whose
                                                     hands the said process was lelt.
 Bring this subpoena with you to the District
 Attorney's Office when you appear to testify.
                                                                c?:AJv ·    g;,,J   ri l~   ~ <& '-1
                                                                                                              Server of Process




                                                          190                                             OPDA00293
       Case 2:17-cv-10721-JTM-JVM Document 294-14 Filed 12/15/20 Page 192 of 192




                                                            SUBPOENA
                                        A FINE AND IMPRISONMENT MAY BE IMPOSED
                                                   FOR FAILURE TO OBEY THIS NOTICE.
                                          Office of the Orleans Parish District Attorn ey
                                         CRIMINAL DISTRICT COURT FOR THE PARISH OF ORLEANS


To: Kendra LaFranc ~

     New Orleans, LA


You Are Hereby Notified pursuant co
LSA-CCR P arc. 66 to appear before che
Discricc Arcorney for the Parish of Orleans, co
testify co the truth according to your knowledge
in such matters as may be required of you.            THIS IS TO CERTIFY that on

on Tuesda ~April1 8,2017
                                                          11-cQp:r.;J          c}0.1 ~
                                                      I made due Personal Service thereof by leaving same in the hands of
        am_ _ _ _ _ _ _ _ _ __                        the aforesigned Recipient
   9:30
at _ __
                                                      oK_~ol
                                                         -=
                                                            K-CI..., ~ ~d-r-a.nCL,
                                                      (please write Recipient's name),
to Assistant District Attorney:                                                                           ~
                                                      the pe,soo to whom the pcoms,;s d;ceded.
 William Dieters

         (504) 827-6301                                                ..J-r,\ A . I . & ~ ~                 Sewe, of Pmcess
Rone
 h   # : _ _ _ _ _ _ _ _ _ __

at 619 South White Street

In the case of:

State of LA vs. Tarran Heim
                  --- --- ---
                                                                                                              cipient of Service
1t em# D-12707-16

      528-924 "H"                                     THIS IS TO CERTIFY that on
Case# _ ___    _ _ _ _ _ _ __
                       (2x) 14:79
                                                             1.1. ~~ 80-1,+-
           14:35.3( L},_      _ _ __
         s:_
Ch arge ()   ___         __                           I made due Personal Service thereof by leaving same in the hands of
                                                      the aforesigned Recipient

                                                         -1<'--U1cLriC<.....) L.A.J -:}y-CU'\~
                                                      (p~ri te Recipient's name),
 Instructions:
                                                       a person of suitable age and discretion, residing at the domicile of the
  Contact the above named Assistant District           person to whom the said process of Court was issued, who was absent
  Attorney upon receipt of this subpoena .             at the time. which fact I learned by interrogating the person in whose
                                                       hands the said process was left.
  Bring this subpoena with you to the District
  Attorney's Office when you appear to testify.
                                                                      ->1 'M3 ~                ~lc~wcess




                                                               191                                           OPDA00295
